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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                                 )
         In re:                                                                  )    Chapter 11
                                                                                 )
         MVK FARMCO LLC, et al., 1                                               )    Case No. 23-11721 (LSS)
                                                                                 )
                                              Debtors.                           )    (Joint Administration Requested)
                                                                                 )

                             MOTION OF DEBTORS FOR ENTRY OF
                  INTERIM AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO
                USE CASH COLLATERAL, (II) PROVIDING ADEQUATE PROTECTION TO
             PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
             (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

                  The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

         the following in support of this motion.2 In support of this motion, the Debtors respectfully submit

         the Declaration of John Boken, Interim Chief Executive Officer of MVK FarmCo LLC, in Support

         of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed

         contemporaneously herewith and incorporated herein by reference. In further support of this

         motion, the Debtors respectfully state the following:

                                                     Preliminary Statement

                  1.       The Debtors commence these chapter 11 cases with the support of a substantial

         majority of the Prepetition Secured Parties. 3 As described more fully in the First Day Declaration,



         1
              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
              number, are: MVK FarmCo LLC (5947); MVK Intermediate Holdings LLC (6016); Gerawan Farming LLC
              (1975); Gerawan Supply, Inc. (6866); Gerawan Farming Partners LLC (0072); Gerawan Farming Services LLC
              (7361); Wawona Farm Co. LLC (1628); Wawona Packing Co. LLC (7637); and GFP LLC (9201). The location
              of the Debtors’ service address is: 7700 N. Palm Ave., Suite 206, Fresno, CA 93711.
         2
              Capitalized terms used but not otherwise defined in this motion shall have the meanings ascribed to them in the
              First Day Declaration or the Interim Order, as applicable.
         3
              A lender support agreement was entered into by and among the Prepetition PropCo Lenders signatory thereto, the
              Prepetition OpCo Lenders signatory thereto, the Prepetition Bridge Lenders signatory thereto, the Prepetition
              PropCo Agent, the Prepetition OpCo Agent, and the Prepetition Bridge Agents.
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         the Debtors are pursuing one or more value-maximizing sale transactions, or, in the alternative, an

         equitization transaction with the Debtors’ Prepetition Secured Parties via confirmation of a

         chapter 11 plan (the “Plan”).

                2.      In the months preceding the Petition Date (as defined herein), the Debtors, their

         advisors, and the Prepetition Secured Parties worked diligently and negotiated in good faith to

         secure bridge financing that would provide the Debtors with sufficient runway to reach the

         growing and harvest season—the time that generates the vast majority of the Debtors’ revenue—

         and conduct a robust out-of-court sale and marketing process. Despite the parties’ best efforts,

         however, an out-of-court transaction could not be effectuated, and the Debtors have pivoted to

         implement the terms of a value-maximizing restructuring through a chapter 11 process.

                3.      Given the level of consensus for the Debtors’ dual-tracked path to exit, the Debtors

         have reached agreement with the Prepetition Secured Parties on the terms of the Debtors’

         consensual use of Cash Collateral (as defined herein). The Debtors need access to cash on hand

         and cash flow from operations to fund their working capital needs, capital expenditures, for other

         general corporate purposes, and for the administrative expenses of these chapter 11 cases. The

         ability to satisfy these expenses as and when due is necessary for the Debtors’ continued operation

         of their businesses during the pendency of these chapter 11 cases and the successful

         implementation of a restructuring process. Accordingly, the Debtors’ access to Cash Collateral

         during these chapter 11 cases is critical.

                4.      For the reasons detailed herein and in the First Day Declaration, the relief proposed

         in the Interim Order and Final Order (each as defined herein) will maximize the value of the

         Debtors’ estates and provide a smooth transition into chapter 11.




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                                                        Relief Requested

                 5.       The Debtors seek entry of an interim order, substantially in the form attached hereto

         as Exhibit A (the “Interim Order”), and a final order (the “Final Order,” 4 and collectively with the

         Interim Order, the “Cash Collateral Orders”):

                          a.       authorizing the Debtors to use the “Cash Collateral,” as defined in
                                   section 363(a) of the Bankruptcy Code, of the Prepetition Secured Parties;

                          b.       granting adequate protection to the Prepetition Secured Parties, solely to the
                                   extent provided in the Cash Collateral Orders;

                          c.       modifying the automatic stay imposed by section 362 of the Bankruptcy
                                   Code to the extent necessary to implement and effectuate the terms of the
                                   Cash Collateral Orders;

                          d.       scheduling a final hearing (the “Final Hearing”) within approximately
                                   21 days after the commencement of these chapter 11 cases to consider entry
                                   of the Final Order; and

                          e.       granting related relief.

                                                    Jurisdiction and Venue

                 6.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

         jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

         Order of Reference from the United States District Court for the District of Delaware, dated

         February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and the Debtors

         confirm their consent, pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

         Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

         to the entry of a final order by the Court in connection with this motion to the extent that it is later

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution.



         4
             The Debtors will file a proposed form of the Final Order prior to the Final Hearing (as defined herein).

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                7.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                8.        The bases for the relief requested herein are sections 105, 361, 362, 363, 364, 503,

         506, 507, and 552 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

         Code”), rules 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

         (the “Bankruptcy Rules”), and Local Rules 2002-1, 4001-2, 9006-1, and 9013-1.

                                                     Background

                9.        The Debtors are the United States’ largest provider of stone fruit, operating an

         integrated network of farms, ranches, packaging facilities, and grocers. Founded in 1999 and

         headquartered in Fresno, California, the Debtors cultivate approximately 18,000 acres of land

         nestled throughout the San Joaquin Valley. Each year, the Debtors employ over 8,000 ranchers,

         harvesters, warehousers, packers, and shippers who, together, grow, harvest, and sell premium

         quality, fresh stone fruits and tree fruit, including peaches, nectarines, plums, and unique hybrids,

         such as pluots. The Debtors’ reputation for quality has allowed it to establish strong partnerships

         with blue chip customers throughout the United States and internationally, and its products can be

         found in brand name grocery stores, supermarkets, and specialty markets worldwide.

                10.       On October 13, 2023 (the “Petition Date”), each Debtor filed a voluntary petition

         for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their business and

         managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

         Bankruptcy Code. Concurrently with the filing of this motion, the Debtors filed a motion

         requesting procedural consolidation and joint administration of these chapter 11 cases pursuant to

         Bankruptcy Rule 1015(b) and Local Rule 1015-1. No request for the appointment of a trustee or

         examiner has been made in these chapter 11 cases, and no official committees have been appointed

         or designated.


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                         The Debtors Have an Immediate Need for Use of Cash Collateral

                 11.      The Debtors require immediate access to liquidity to ensure that they can continue

         operating their business during these chapter 11 cases, preserve the value of their estates for the

         benefit of all parties in interest, and pursue confirmation and consummation of the Plan. Without

         prompt access to Cash Collateral, the Debtors would be unable to satisfy, for example, payroll

         obligations and trade payables incurred in the ordinary course of business. Absent the ability to

         fund ordinary course operations of the business, the Debtors would be unable to preserve value for

         all stakeholders or administer these chapter 11 cases, all which would cause immediate and

         irreparable harm to the value of the Debtors’ estates to the detriment of all stakeholders.

              Concise Statement Pursuant to Bankruptcy Rules 4001(b) and Local Rule 4001-2 5

                 12.      Pursuant to Bankruptcy Rule 4001(b) and Local Rule 4001-2(a)(ii), the Debtors

         submit the following concise statement of the material terms of this Interim Order:

      Summary of Material Terms                                                                                      Location
      Parties with an Interest   All parties set forth below shall collectively be referred to as the “Prepetition   Annex 1 ¶
      in Cash Collateral         Secured Parties”:                                                                      E
      Bankruptcy Rule
      4001(b)(1)(B)(i)           •   Prepetition PropCo Agent. Wilmington Trust, National Association
                                     (“Wilmington Trust”), in its capacity as successor to Coöperatieve Rabobank
                                     U.A., New York Branch (“Rabobank”), as administrative agent and collateral
                                     agent under the Prepetition PropCo Credit Agreement.
                                 •   Prepetition PropCo Lenders. Each lender under the Prepetition PropCo
                                     Credit Agreement.
                                 •   Prepetition OpCo Agent. Royal Bank of Canada (“RBC”), in its capacity as
                                     administrative and collateral agent under the Prepetition OpCo Credit
                                     Agreement.
                                 •   Prepetition OpCo Lenders. Each lender under the Prepetition OpCo Credit
                                     Agreement.
                                 •   Prepetition Bridge Administrative Agent. Rabobank, in its capacity as
                                     administrative agent under the Prepetition Bridge Credit Agreement.




         5
             The summaries contained in this motion are qualified in their entirety by the provisions of the Interim Order.
             To the extent anything in this motion is inconsistent with the Interim Order, the terms of the Interim Order
             shall control.

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      Summary of Material Terms                                                                                           Location
                              •   Prepetition Bridge PropCo Collateral Agent. Rabobank, in its capacity as
                                  collateral agent with respect to the Prepetition PropCo Collateral under the
                                  Prepetition Bridge Credit Agreement.
                              •   Prepetition Bridge OpCo Collateral Agent. RBC, its capacity as collateral
                                  agent with respect to the Prepetition OpCo Collateral under the Prepetition
                                  Bridge Credit Agreement.
                              •   Prepetition Bridge Lenders.          Each lender under the Prepetition Bridge
                                  Facility.

      Amount of Cash          The Debtors seek authority to use all or substantially all of the Debtors’ cash and            ¶2
      Collateral and          cash equivalents. The Debtors will operate consistent with the Approved Budget,
      Purposes for Use of     and all disbursements of the Debtors will be consistent with the provisions of the
      Cash Collateral         Approved Budget, subject in each case to the Permitted Variance.
      Bankruptcy Rule
                              In accordance with the terms and conditions of the Interim Order, for, among other
      4001(b)(1)(B)(ii)
                              things, (i) working capital and general corporate purposes, (ii) the payment of fees,
      Local Rule
                              interest, payments, and expenses under the Prepetition Bridge Facility and the
      4001-2(a)(i)(A)
                              Prepetition Loan Documents, and (iii) payment of allowed administrative costs and
                              expenses of these chapter 11 cases, in each case, in accordance with the Interim
                              Order and consistent with the Approved Budget (subject to the Permitted
                              Variance).

      Budget                  The initial Approved Budget is attached to the Interim Order as Exhibit A. Prior            Preamble
      Bankruptcy Rule         to the end of the 9-week period covered by the Approved Budget, the Debtors shall              ¶G
      4001(b)(1)(B)(ii)       propose an updated budget for the 9-week period immediately following the 9-
      Local Rule              week period covered by the initial Approved Budget. Such proposed budget shall
      4001-2(a)(i)(E) and     become the “Approved Budget” for such 9-week period once approved in writing
      4001-2(a)(iii)          by each of the Prepetition Agents (at the direction of the applicable Required
                              Lenders). The initial Approved Budget is an integral part of this Interim Order and
                              has been relied upon by the Prepetition Secured Parties to consent to this Interim
                              Order. The Debtors represent that the initial Approved Budget is reasonable under
                              the facts and circumstances as of the date of delivery. The Debtors believe that the
                              initial Approved Budget is achievable and will allow the Debtors to operate in the
                              Cases, consummate the sale process, and pay postpetition obligations as they come
                              due.

      Termination Date        The Debtors are authorized to use Cash Collateral in accordance with                         ¶ 16(a)
      Bankruptcy Rule         the Approved Budget from the period from the Petition Date through the date on
      4001(b)(1)(B)(iii)      which a Termination Event occurs.
      Local Rule
      4001-2(a)(i)(M), (S)



      Termination Events      The events set forth in paragraph 16(a) of the Interim Order are collectively                ¶ 16(a)
      Bankruptcy Rule         referred to as the “Termination Events” and include termination events that are
      4001(b)(1)(B)(iii)      customary in a cash collateral order, such as:
      Local Rule
      4001-2(a)(i)(M)         •   the date that is thirty-five (35) calendar days after the Petition Date, if the Final
                                  Order, in form and substance acceptable to the Prepetition Agents (at the
                                  direction of the applicable Required Lenders), has not been entered by the
                                  Court by such date;



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      Summary of Material Terms                                                                                        Location
                             •    the consummation of any sale of all or substantially all of the assets of, or
                                  equity interests in, the Debtors;
                             •    the effective date of a chapter 11 Plan of any of the Debtors;
                             •    the Debtors’ failure to make any payment under this Interim Order or the
                                  Prepetition Loan Documents (as modified by paragraph 17(c) of the Interim
                                  Order) to any of the Prepetition Secured Parties within 3 Business Days as and
                                  when due and payable hereunder or thereunder (subject to any applicable grace
                                  period, if any, provided for in the Prepetition Credit Agreement) or to timely
                                  perform or comply with any other material term, provision, condition or
                                  obligation under this Interim Order within 5 Business Days of notice from the
                                  applicable Prepetition Secured Parties;
                             •    the filing by the Debtors of any motion without the prior written consent of
                                  Prepetition Agents (at the direction of the applicable Required Lenders) to
                                  obtain financing under section 364 of the Bankruptcy Code that does not
                                  provide for the immediate payment in full in cash of all Prepetition Secured
                                  Obligations;
                             •    the occurrence of any Event of Default under (and as defined in) the
                                  Prepetition Bridge Credit Agreement (as modified by paragraph 17(c) of the
                                  Interim Order and excluding any requirements of the Debtors to obtain entry
                                  and comply with the terms of the Interim Order and Final Order);
                             •    the Interim Order (or after entry of a Final Order, the Final Order), having
                                  been stayed, vacated, reversed, or rescinded, or, without the prior written
                                  consent of the Prepetition Agents (at the direction of the Required Lenders),
                                  revised, amended, or modified, or the Debtors having filed or supported a
                                  motion or other pleading for entry of an order revoking, reversing, staying,
                                  vacating, terminating, extending, rescinding, or seeking reconsideration of any
                                  provision of the Interim Order (or after entry of a Final Order, the Final Order);
                                  and
                             •    the provisions of the Interim Order (or after entry of a Final Order, the Final
                                  Order) for any reason ceasing to be valid, binding, or enforceable against any
                                  of the Debtors, or any of the Debtors shall so state in writing, or shall
                                  commence or join in any legal proceeding to contest in any manner that this
                                  Interim Order (or after entry of a Final Order, the Final Order) constitutes a
                                  valid, binding, or enforceable obligation and liability of the Debtors.

      Adequate Protection    The adequate protection provided to the Prepetition Secured Parties includes:               ¶3
      Bankruptcy Rule
      4001(b)(1)(B)(iv)      •    Adequate Protection Liens. To the extent of, and in an aggregate amount
      Local Rule                  equal to, any aggregate Diminution in Value of their interests in the Prepetition
      4001-2(a)(i)(G), (K)        Collateral, pursuant to sections 361 and 363(e) of the Bankruptcy Code, and
                                  subject in each case to the Carve Out:
                                           o    The Prepetition PropCo Agent and the other Prepetition PropCo
                                                Secured Parties shall have replacement security interests in and
                                                liens upon all Adequate Protection Collateral, which PropCo
                                                Adequate Protection Liens shall be subject to the terms and
                                                conditions in the Interim Order;
                                           o    The Prepetition OpCo Agent and the other Prepetition OpCo
                                                Secured Parties, shall have replacement security interests in and
                                                liens upon all Adequate Protection Collateral, which OpCo


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                                   Adequate Protection Liens shall be subject to the terms and
                                   conditions in the Interim Order;
                               o   The Prepetition Bridge Agent and the other Prepetition Bridge
                                   Secured Parties, on account of the Prepetition Bridge Loans,
                                   shall have replacement security interests in and liens upon on all
                                   Adequate Protection Collateral, which Bridge Loan Adequate
                                   Protection Liens shall be subject to the terms and conditions in
                                   the Interim Order.
                  •   Adequate Protection Superpriority Claims. Subject to the Carve Out,
                      (w) to the extent of any Diminution in Value of the Prepetition Collateral, the
                      Prepetition Bridge Agent and the other Prepetition Bridge Secured Parties
                      shall have, on account of the Prepetition New Money Bridge Loans, allowed
                      superpriority administrative expense claims as provided for in section 507(b)
                      of the Bankruptcy Code, (x) to the extent of any Diminution in Value of the
                      Prepetition Collateral, the Prepetition Bridge Agent and the other Prepetition
                      Bridge Secured Parties shall have, on account of the Prepetition Bridge Roll-
                      Up Loans, allowed superpriority administrative expense claims as provided
                      for in section 507(b) of the Bankruptcy Code, which shall be immediately
                      junior and subject to the New Money Bridge Adequate Protection
                      Superpriority Claims, (y) to the extent of any aggregate Diminution in Value
                      of the Prepetition PropCo Collateral, the Prepetition PropCo Agent and the
                      other Prepetition PropCo Secured Parties shall have allowed superpriority
                      administrative expense claims as provided for in section 507(b) of the
                      Bankruptcy Code, which shall be pari passu with the OpCo Adequate
                      Protection Superpriority Claims and immediately junior and subject to the
                      Bridge Adequate Protection Superpriority Claims and (z) to the extent of any
                      Diminution in Value of the Prepetition OpCo Collateral, the Prepetition OpCo
                      Agent and the other Prepetition OpCo Secured Parties shall have allowed
                      superpriority administrative expense claims as provided for in section 507(b)
                      of the Bankruptcy Code, which shall be pari passu with the PropCo Adequate
                      Protection Superpriority Claims and immediately junior and subject to the
                      Bridge Adequate Protection Superpriority Claims, in each case against each
                      of the Debtors, jointly and severally, and payable from and having recourse to
                      all Adequate Protection Collateral.
                  •   Adequate Protection Payments. The Prepetition Bridge Agent (on behalf of
                      the Prepetition Bridge Lenders) shall receive from the Debtors cash payments
                      in an amount equal to all prepetition and postpetition accrued and unpaid
                      interest on account of the Prepetition New Money Bridge Loans at the rate
                      provided for in the Prepetition Bridge Credit Agreement as and when due
                      under the Prepetition Bridge Credit Agreement.
                  •   Additional Adequate Protection.
                               o   Professional Fees. The Debtors will pay the reasonable and
                                   documented fees, out-of-pocket costs and expenses of the
                                   Prepetition Agents and Steering Committee in accordance with
                                   paragraph 19(a) of the Interim Order. The Debtors shall timely
                                   pay the fees and expenses owing to ACM Management
                                   Company, LLC in accordance with the terms of the letter
                                   agreement, dated October 12, 2023, by and among the
                                   Prepetition Agents and ACM Management Company, LLC.
                               o   Financial Reporting. The Debtors shall comply with the
                                   reporting requirements set forth in paragraph 3(d) of the Interim
                                   Order.

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      Summary of Material Terms                                                                                           Location
      Limitations on Estate     The limitation on estate funds related to the Challenge Period is $50,000.                  ¶8
      Funds Released to the
      Challenge Period
      Local Rule
      4001-2(a)(i)(L)

      Carve-Out                 The Interim Order provides a “Carve Out” of certain statutory fees, allowed                 ¶9
      Bankruptcy Rule           professional fees of the Debtors and any Committee appointed in the chapter 11
      4001(b)(1)(B)(iii)        cases pursuant to section 1103 of the Bankruptcy Code and a Post-Carve Out
      Local Rule                Trigger Notice Cap, all as detailed in the Interim Order.
      4001-2(a)(i)(F)
                                •   Upon the occurrence of a Termination Event, without further notice to,
      Waiver/Modification                                                                                                   ¶ 16
                                    hearing, or order from the Court, the automatic stay provisions of section 362
      of Automatic Stay
                                    of the Bankruptcy Code shall be vacated and modified to the extent necessary
      Bankruptcy Rule
                                    to permit the Prepetition Agents, acting at the request of the applicable
      4001(b)(1)(B)(iii);
                                    Required Lenders to (i) deliver to the Debtors a Termination Notice (as
      Local Rule
                                    defined below) and (ii) declare the termination, restriction or revocation of the
      4001-2(a)(i)(S)
                                    ability of the Debtors to use Cash Collateral, subject to paragraph 16(c) below
                                •   In addition, upon the occurrence and during the continuation of a Termination
                                    Event, the Prepetition Agents, acting at the request of the applicable Required
                                    Lenders and subject to the Intercreditor Agreements, shall provide counsel to
                                    the Debtors, counsel for any Committee appointed in the Cases (if any), and
                                    the U.S. Trustee, five (5) business days’ prior written notice (the “Termination
                                    Notice”) (which may be provided by email or other electronic means) of the
                                    occurrence of the Termination Event.
                                •   Unless the Court has determined that a Termination Event has not occurred
                                    during the Remedies Notice Period (or if the Debtors do not contest the
                                    occurrence of the Termination Event during the Remedies Notice Period),
                                    upon the expiration of the Remedies Notice Period, without further notice to,
                                    hearing or order from the Court, the automatic stay as to the Prepetition Agents
                                    shall automatically be vacated and modified for the purpose of permitting the
                                    Prepetition Agents (acting at the request of the applicable Required Lenders)
                                    to exercise all rights and remedies available under or pursuant to this Interim
                                    Order, the Prepetition Loan Documents, or applicable law with respect to the
                                    Prepetition Collateral and the Adequate Protection Collateral.

      Stipulations of           The Interim Order contains certain stipulations by the Debtors, among other things,       Annex 1
      the Debtors               to:
      Local Rule
      4001-2(a)(i)(B)           •   the amount of the claims of the Prepetition Agents and Prepetition Secured
                                    Parties as of the Petition Date, including accrued and unpaid interest and fees;
                                •   the validity, perfection, and priority of the liens and security interests securing
                                    the Prepetition PropCo Facility, Prepetition OpCo Facility, and Prepetition
                                    Bridge Loans;
                                •   the lack of a basis to challenge or avoid the validity, enforceability, priority,
                                    or perfection of the liens and security interests securing the Prepetition PropCo
                                    Facility, Prepetition OpCo Facility, and Prepetition Bridge Loans;
                                •   the relative priority of the liens securing the Prepetition PropCo Facility,
                                    Prepetition OpCo Facility, and Prepetition Bridge Loans; and

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      Summary of Material Terms                                                                                               Location
                                •   the fact that all cash proceeds, subject to certain exceptions set forth in the
                                    Interim Order, are Cash Collateral of the Prepetition Secured Parties.

      Binding Effect of the     The Debtors’ stipulations, admissions, agreements, releases, and waivers contained            ¶¶ 7, 26
      Debtors’ Stipulations     in the Interim Order, including the Stipulations, are and shall be irrevocably
      on Third Parties and      binding upon the Debtors and any and all of the Debtors’ successors in interest and
      Challenge Period          assigns (including, without limitation, any chapter 7 or chapter 11 trustee,
      Bankruptcy Rule           responsible person, examiner with expanded powers, or other estate
      4001(b)(1)(B)(iii);       representative).
      Local Rule
                                Parties in interest have until no later than the date that is the date that is seventy-five
      4001-2(a)(i)(Q)
                                (75) calendar days following entry of the Interim Order, as such date may be
                                extended to any such party in interest with the consent of the Prepetition Agents
                                (with the consent of the applicable Required Lenders and each applicable
                                Prepetition Secured Party that is the subject of a Challenge) or by any such later
                                date as has been ordered by the Court for cause upon a motion filed and served
                                within the Challenge Period to (i) object to or challenging any of the Stipulations
                                or (ii) otherwise asserting or prosecuting any action against the Prepetition Secured
                                Parties or any of their respective affiliates, agents, attorneys, advisors,
                                professionals, officers, directors, or employees in connection with or related to the
                                matters covered by the Stipulations.
                                In the Debtors’ proposed Final Order, the Debtors will request the Challenge
                                Period be the earliest of (i) the date that is seventy-five (75) calendar days
                                following entry of this Interim Order, (ii) five (5) calendar days prior to any auction
                                to be held in connection with the sale of any assets of the Debtors, solely with
                                respect to any Challenge related to such assets or the Prepetition Secured Parties’
                                interests therein or (iii) five (5) calendar days prior to any hearing with respect to
                                a motion by the Debtors to sell assets, solely with respect to any Challenge related
                                to such assets or the Prepetition Secured Parties’ interests therein.

      Provisions Limiting the   The Interim Order does not seek to limit what parties in interest (other than                 ¶ 16(d)
      Rights of Parties in      the Debtors) may raise at a hearing during the Remedies Notice Period.
      Interest
      Local Rule
      4001-2(a)(i)(T)

      506(c) Waiver             The Debtors shall be deemed, subject to the entry of the Final Order, to have                   ¶ 11
      Local Rule                waived any rights, benefits or causes of action under section 506(c) of the
      4001-2(a)(i)(C))          Bankruptcy Code as they may relate to or be asserted against the Prepetition
                                Secured Parties, the Prepetition Liens, or the Prepetition Collateral. Except to the
                                extent of the Carve Out, no costs or expenses of administration which have been
                                or may be incurred in the Cases at any time shall be charged against, subject to the
                                entry of the Final Order, the Prepetition Secured Parties, any of their respective
                                claims, or the Prepetition Collateral pursuant to sections 105 or 506(c) of the
                                Bankruptcy Code, or otherwise. Nothing contained in the Interim Order, in the
                                Final Order or in the Prepetition Loan Documents shall be deemed a consent by
                                the Prepetition Secured Parties to any charge, lien, assessment or claim against, or
                                in respect of, the Prepetition Collateral under section 506(c) of the Bankruptcy
                                Code or otherwise, and no such consent shall be implied from any other action,
                                inaction, or acquiescence by any such parties.




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      Summary of Material Terms                                                                                              Location
      Provisions Affecting         Subject to the entry of the Final Order, and subject to the priorities set forth in the   ¶¶ 31–32
      Consideration of the         Interim Order, in no event shall the Prepetition Secured Parties be subject to the
      Equities of the Case         equitable doctrine of “marshaling” or any other similar doctrine with respect to any
      under Section 552(b)(1)      of the Prepetition Collateral.
      Local Rule
                                   The Prepetition Secured Parties shall each be entitled to all of the rights and
      4001-2(a)(i)(W)
                                   benefits of section 552(b) of the Bankruptcy Code and, subject to the entry of the
                                   Final Order, the “equities of the case” exception under section 552(b) of the
                                   Bankruptcy Code shall not apply to the Prepetition Secured Parties with respect to
                                   any Prepetition Collateral, or any proceeds, product, offspring or profits thereof.

      Provisions Establishing      The Interim Order provides for the following milestones, among others:                      ¶4
      Sale or Plan Milestones
                                   •    Within 5 days after the Petition Date, the Debtors will file a motion seeking        Annex 3
      Local Rule
      4001-2(a)(i)(H)                   approval of bidding procedures (the “Bidding Procedures Motion”) in a form
                                        and substance reasonably satisfactory to the Prepetition Agents;
                                   •    Within 28 days after the Petition Date, the Court will have entered an order
                                        approving the Bidding Procedures Motion; and
                                   •    Any other obligations under the Bidding Procedures Order.


             Explanation for Inclusion of Significant Provisions Pursuant to Local Rule 4001-2(a)(i)

         II.       The Significant Provisions Are Appropriate and Justified Under the Circumstances
                   of These Chapter 11 Cases.

                   13.      Local Rule 4001-2(a)(i) requires that the Debtors explain the reason for including

         certain significant provisions described in Local Rules 4001-2(a)(i)(N)–(X) (collectively,

         the “Significant Provisions”). 6 The Debtors believe that each of the Significant Provisions and the

         Carve Out is justified and necessary in the context and circumstances of these chapter 11 cases.

                   A.       The Scope of the Carve Out Is Appropriate (Del. Bankr. L.R. 4001-2(a)(i)(F)).

                   14.      The adequate protection proposed in the Interim Order is subject to the Carve Out.

         Without the Carve Out, the Debtors and other parties in interest may be deprived of certain rights

         and powers because the services for which professionals may be paid in these chapter 11 cases

         would be restricted. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990)


         6
               Local Rules 4001-2(a)(i)(N), (O), and (R) are not applicable to the Interim Order. In addition, as further explained
               above, Local Rule 4001-2(a)(i)(P) does not apply, and Local Rules 4001-2(a)(i)(U)–(X) are only applicable upon
               entry of the Final Order.

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         (observing that courts insist on carve-outs for professionals representing parties in interest because

         “[a]bsent such protection, the collective rights and expectations of all parties-in-interest are sorely

         prejudiced”). The Carve Out does not directly or indirectly deprive the Debtors’ estates or other

         parties in interest of possible rights and powers. Additionally, the Carve Out protects against

         administrative insolvency during these chapter 11 cases by ensuring that assets remain for the

         payment of the Clerk of the Court or U.S. Trustee fees and professional fees of the Debtors and

         any statutory committee.

                 B.        The Findings of Validity, Perfection, or Amount of Prepetition Liens and
                           Challenge Period Are Appropriate (Del. Bankr. L.R. 4001-2(a)(i)(Q)).

                 15.       Local Rule 4001-2(a)(i)(Q) requires explicit disclosure of provisions that bind the

         estate or other parties in interest with respect to the validity, perfection, or amount of the secured

         creditor’s prepetition lien or the waiver of claims against the secured creditor without first giving

         parties in interest at least seventy-five (75) days from the entry of the order to investigate such

         matters. Here, the Interim Order complies with this requirement by providing any committee

         appointed in these chapter 11 cases and other parties in interest in each case, with requisite

         standing, with seventy-five (75) days following entry of the Interim Order to file an adversary

         proceeding challenging the validity, extent, perfection, or priority of the Prepetition Liens on the

         Prepetition Collateral, the validity, allowability, priority, or amount of the Prepetition Secured

         Obligations, or the Stipulations. 7




         7
             In the Debtors’ proposed Final Order, the Debtors will request the Challenge Period be the earliest of (i) the date
             that is seventy-five (75) calendar days following entry of this Interim Order, (ii) five (5) calendar days prior to
             any auction to be held in connection with the sale of any assets of the Debtors, solely with respect to any Challenge
             related to such assets or the Prepetition Secured Parties’ interests therein or (iii) five (5) calendar days prior to
             any hearing with respect to a motion by the Debtors to sell assets, solely with respect to any Challenge related to
             such assets or the Prepetition Secured Parties’ interests therein.

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                    C.      The Provisions Modifying the Automatic Stay, Providing for a Remedies
                            Notice Period, and Providing for a Default Notice Hearing Are Appropriate
                            (Del. Bankr. L.R. 4001-2(a)(i)(S), (T)).

                    16.     Local Rules 4001-2(a)(i)(S) and (T) require explicit disclosure of provisions that

         modify the automatic stay upon a Termination Event without a Remedies Notice Period and

         provisions that seek to limit what parties in interest may raise at an emergency hearing during the

         Remedies Notice Period. The Interim Order provides for a five-day Remedies Notice Period for

         all Termination Events, and thus such Remedies Notice Period is appropriate. See Interim

         Order ¶ 16. In addition, as explained above, there is no limit as to what parties in interest may

         raise during an emergency hearing scheduled during a Remedies Notice Period. See id. Thus,

         the Interim Order complies with Local Rule 4001-2(a)(i)(T). In light of the foregoing, the Debtors

         submit that the Significant Provisions are appropriate under the facts and circumstances of these

         chapter 11 cases. Accordingly, the Significant Provisions in the Interim Order should be approved.

                                      The Debtors’ Prepetition Capital Structure

         III.       The Debtors’ Prepetition Capital Structure.

                    17.     As of the Petition Date, the Debtors have approximately $679 million in aggregate

         outstanding principal of funded debt obligations (including amounts owed under the Prepetition

         Bridge Facility, as defined and discussed in greater detail below), as reflected below:

                                       Outstanding Principal
                   Funded Debt                                          Interest Rate                Maturity
                                             Amount
                                                                         Base Rate:
                                                                The greater of (i) Prime, (ii)
                                                                Federal Funds Effective Rate
                                                                + 0.50% and (iii) one-month
                                                                  Adjusted Term SOFR +
             Prepetition PropCo                                            1.00%
                                           $292,188,383                                          September 11, 2026
             Facility
                                                                Adjusted Term SOFR: Term
                                                                    SOFR + Term SOFR
                                                                 Adjustment ((x) one-month
                                                                0.11448%, (y) three-months,
                                                                   0.26161% and (z) six-
                                                                    months, 0.42826%).
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                                          Outstanding Principal
                   Funded Debt                                              Interest Rate               Maturity
                                                Amount

                                                                         Applicable Margin:
                                                                        SOFR loans = 3.75%
                                                                       Base Rate loans = 2.75%
                                                                            Base Rate:
                                                                   The greater of (i) Prime, (ii)
                                                                   Federal Funds Effective Rate
                                                                   + 0.50% and (iii) one-month
                                                                     Adjusted Term SOFR +
                                                                              1.00%

                                                                   Adjusted Term SOFR: Term
             Prepetition OpCo Term                                     SOFR + Term SOFR
                                              $245,542,759                                          September 11, 2026
             Facility                                               Adjustment ((x) one-month
                                                                   0.11448%, (y) three-months,
                                                                      0.26161% and (z) six-
                                                                       months, 0.42826%).

                                                                      Applicable Margin:
                                                                    SOFR loans = 4.50-4.75%
                                                                     Base Rate loans = 3.50-
                                                                             3.75%
                                                                            Base Rate:
                                                                   The greater of (i) Prime, (ii)
                                                                   Federal Funds Effective Rate
                                                                   + 0.50% and (iii) one-month
                                                                     Adjusted Term SOFR +
                                                                              1.00%

                                         $35,992,786 (inclusive of Adjusted Term SOFR: Term
             Prepetition OpCo                                           SOFR + Term SOFR
                                          $901,536 of issued but                                    September 13, 2024
             Revolving Credit Facility                               Adjustment ((x) one-month
                                         undrawn letters of credit)
                                                                    0.11448%, (y) three-months,
                                                                       0.26161% and (z) six-
                                                                        months, 0.42826%).

                                                                      Applicable Margin:
                                                                    SOFR loans = 4.00-4.75%
                                                                     Base Rate loans = 3.00-
                                                                             3.75%




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                                        Outstanding Principal
                   Funded Debt                                           Interest Rate                    Maturity
                                              Amount
                                                                          Base Rate:
                                                                 The greater of (i) Prime, (ii)
                                                                 Federal Funds Effective Rate
                                                                 + 0.50% and (iii) one-month
                                            $23,494,305 of         Adjusted Term SOFR +
                                        Prepetition New Money               1.00%
                                             Bridge Loans
             Prepetition Bridge                                                                   Dependent on Factors Noted
             Facility                                            Adjusted Term SOFR: Term                  Below
                                           $81,500,000 of           SOFR + Term SOFR
                                          Prepetition Bridge      Adjustment (0.11448%).
                                           Roll-Up Loans
                                                                     Applicable Margin:
                                                                   SOFR loans = 10.00%
                                                                  Base Rate loans = 10.00%

             Total Funded Debt
                                                                                                             $678,718,233
             Obligations

                    A.       Prepetition PropCo Facility.

                    18.      Each of PropCo, as borrower, Wilmington Trust, as successor to Rabobank, as

         Prepetition PropCo Agent, and the lenders thereunder are party to the Prepetition PropCo Credit

         Agreement. The Prepetition Propco Credit Agreement provides for a term loan credit facility in the

         aggregate principal amount of up to $340,000,000—the Prepetition PropCo Facility.

                    19.      Pursuant to (a) that certain Amended and Restated Pledge Agreement, dated as of

         September 13, 2019, by and between MVK Intermediate Holdings LLC and the Prepetition

         PropCo Agent, (b) that certain Amended and Restated Pledge and Security Agreement, dated as

         of September 13, 2019, between PropCo and the Prepetition PropCo Agent, (c) the Mortgages (as

         defined in the Prepetition PropCo Credit Agreement), and (d) the other Security Documents

         (as defined in the Prepetition PropCo Credit Agreement) (collectively, and in each case, as

         amended, restated, supplemented, or otherwise modified, the “Prepetition PropCo Security

         Documents”), the obligations incurred under the Prepetition PropCo Credit Agreement and each

         other Loan Document (as defined in the Prepetition PropCo Credit Agreement) are secured by first

         priority liens on and security interests in (the “Prepetition PropCo Liens”) the collateral under
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         the Prepetition PropCo Credit Agreement, which includes substantially all of PropCo’s assets,

         including certain real property and other assets of PropCo, 100% of the equity in PropCo, and

         all proceeds of any of the foregoing and any other assets subject to the Prepetition PropCo Liens.

                20.     The Prepetition PropCo Facility is scheduled to mature on September 11, 2026.

         Interest on the Loans (as defined under the Prepetition PropCo Credit Agreement) accrues either

         quarterly or semi-annually at Term SOFR + applicable credit adjustment spread + 3.75% and Base

         Rate + 2.75. As of the Petition Date, PropCo’s outstanding obligations under the Prepetition

         PropCo Facility total $292,188,383 in aggregate principal amount.

                B.      Prepetition OpCo Facilities.

                21.     Each of MVK Intermediate Holdings LLC and OpCo, as borrowers (collectively,

         the “OpCo Borrowers”), RBC, as administrative and collateral agent (in such capacities,

         the “Prepetition OpCo Agent”), and certain lenders thereunder are party to that certain Credit

         Agreement, dated as of September 13, 2019 (as amended by that certain Incremental Revolving

         Credit Commitment Agreement, dated as of May 26, 2020 (the “Incremental RCF Amendment”)

         and the Prepetition OpCo Credit Agreement.

                22.     The Prepetition OpCo Credit Agreement provides for (a) a revolving credit facility

         in an aggregate principal amount of up to $85,000,000 (which includes (i) an original facility in

         an aggregate principal amount of up to $60,000,000 and an the incremental commitment increase

         of an additional $25,000,000 contemplated by the Incremental RCF Amendment and a $1,000,000

         letter of credit sub-facility that comprises part of, and is not in addition to, the total amount

         available under the revolving credit facility) (the “Prepetition OpCo Revolving Credit Facility”)

         and (b) a term loan facility in the aggregate principal amount of up to $335,000,000

         (the “Prepetition OpCo Term Facility” and, together with the Prepetition OpCo Revolving Credit

         Facility, the “Prepetition OpCo Facilities”).
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                 23.      Pursuant to that certain Subsidiary Guaranty, dated as of September 13, 2019

         (as amended, restated, supplemented or otherwise modified, the “Prepetition OpCo Guaranty”), by

         and among Gerawan Supply, Inc., Gerawan Farming LLC, Gerawan Farming Services LLC,

         Gerawan Farming Partners LLC, and GFP LLC (collectively, the “Prepetition OpCo Guarantors”

         and together with the OpCo Borrowers, the “OpCo Obligors”), the OpCo Guarantors have

         guaranteed the OpCo Borrowers’ obligations under the Prepetition OpCo Facilities on a joint and

         several basis.

                 24.      Pursuant to (a) that certain Pledge and Security Agreement, dated as of

         September 13, 2019, by and among the OpCo Obligors and the Prepetition OpCo Agent, (b) that

         certain Trademark Security Agreement, dated September 13, 2019, by and among OpCo and

         Gerawan Farming LLC in favor of the Prepetition OpCo Agent, (c) that certain Patent Security

         Agreement, dated September 13, 2019, by and among OpCo and Gerawan Farming LLC in favor

         of the Prepetition OpCo Agent, and (d) the other Security Documents (as defined in the Prepetition

         OpCo Credit Agreement) (collectively, and each case as amended, restated, supplemented or

         otherwise modified, the “Prepetition OpCo Security Documents”) and other Prepetition OpCo

         Loan Documents, 8 all of the OpCo Obligors’ obligations under the Prepetition OpCo Loan

         Documents are secured by first priority liens on and security interests in (the “Prepetition OpCo

         Liens”) the Collateral (as defined in the Prepetition OpCo Credit Agreement), which includes

         substantially all of the OpCo Obligors’ assets, including without limitation all present and future

         property and assets, real and personal, tangible or intangible of the OpCo Obligors, including current




         8
             As referred to herein, the “Prepetition OpCo Loan Documents” include the Prepetition OpCo Credit Agreement,
             the Prepetition OpCo Guaranty, the Prepetition OpCo Security Documents and the other Loan Documents under
             (and as defined in) the Prepetition OpCO Credit Agreement, in each case, as amended, restated, supplemented or
             otherwise modified.

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         crops, machinery and equipment, intellectual property, inventory and other goods, accounts

         receivable, certain owned real property and certain leased real property, 100% of the equity in OpCo,

         and all proceeds of any of the foregoing and any other assets subject to the Prepetition OpCo Liens.

                25.     The Prepetition OpCo Term Facility will mature on September 11, 2026. Interest

         on the Term Loans (as defined under the Prepetition OpCo Credit Agreement) accrues monthly,

         quarterly, or semi-annually at Term SOFR + applicable credit adjustment spread + 4.50% to 4.75%

         and Base Rate + 3.50% to 3.75%, subject in each case to various consolidated net leverage ratio

         thresholds. As of the Petition Date, the OpCo Borrowers’ outstanding obligations under the

         Prepetition OpCo Term Facility total $245,542,759 in aggregate principal amount.

                26.     The Prepetition OpCo Revolving Credit Facility is scheduled to mature on

         September 13, 2024. Interest on the Revolving Credit Loans (as defined in the OpCo Credit

         Agreement) accrues monthly, quarterly, or semi-annually at Term SOFR + applicable credit

         adjustment spread + 4.00% to 4.75% and Base Rate + 3.00% to 3.75%, subject in each case to

         various consolidated net leverage ratio thresholds. As of the Petition Date, the OpCo Borrowers’

         outstanding obligations under the Prepetition OpCo Revolving Credit Facility total $35,992,786

         in aggregate principal amount, which amount includes issued but undrawn letters of credit in an

         aggregate amount of $901,536.

                C.      The Prepetition Bridge Facility.

                27.     The Company faced a potential liquidity shortfall in the spring of 2023. To address

         it, the Company worked expeditiously with Steering Committee to secure bridge financing that

         would provide the Company with runway to (a) reach its growing and harvest season, where the




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         vast majority of its revenue is generated and (b) conduct an out-of-court sale and

         marketing process.

                28.    To that end, on April 3, 2023, each of MVK Intermediate Holdings LLC, OpCo,

         and PropCo, as borrowers (collectively, the “Bridge Borrowers”), Rabobank, in its capacity as

         Prepetition Bridge Administrative Agent and PropCo collateral agent (in such capacity, the

         “Prepetition PropCo Collateral Agent”) and RBC, as OpCo collateral agent (the “Prepetition OpCo

         Collateral Agent” and, collectively with the Prepetition Bridge Administrative Agent and

         the Prepetition PropCo Collateral Agent, the “Prepetition Bridge Agents”), and the lenders

         thereunder entered into the Prepetition Bridge Credit Agreement, pursuant to which the Bridge

         Borrowers received a $200 million senior secured bridge financing term loan facility,

         the Prepetition Bridge Facility, and, collectively with the Prepetition PropCo Facility and

         the Prepetition OpCo Facility, the “Prepetition Facilities”). The Prepetition Bridge Facility is

         guaranteed by Gerawan Supply, Inc., Gerawan Farming LLC, Gerawan Farming Services LLC,

         GFP LLC, and Gerawan Farming Partners LLC.

                29.    The Prepetition Bridge Facility is a senior secured, multiple-draw term loan facility

         in an aggregate principal amount of up to $200 million, up to $100 million of which consists of

         new money term loans (the “Prepetition New Money Bridge Loans”). Every dollar of committed

         Prepetition New Money Bridge Loans, once drawn, resulted in the conversion of one dollar of the

         outstanding principal amount of loans under either of the Prepetition PropCo Facility and/or the

         Prepetition OpCo Facilities, as applicable, to a term loan to the Bridge Borrowers under the

         Prepetition Bridge Facility (the “Prepetition Bridge PropCo Roll-Up Loans” and the “Prepetition

         Bridge OpCo Roll-Up Loans,” respectively). With respect to certain items of collateral, the liens

         securing the Prepetition Bridge New Money Loans rank first in priority to the Prepetition Bridge


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         PropCo Roll-Up Loans and the Prepetition Bridge OpCo Roll-Up Loans, at their respective

         obligors.

                 30.      The Prepetition Bridge Facility is guaranteed by Gerawan Supply, Inc., Gerawan

         Farming, LLC, Gerawan Farming Services, LLC, GFP, LLC, and Gerawan Farming Partners, LLC

         on a joint and several basis pursuant to that certain Guaranty Agreement, dated as of April 3, 2023

         (as amended, restated, supplemented or otherwise modified, the “Prepetition Bridge Guaranty”).

         Pursuant to that certain Pledge and Security Agreement, dated as of April 3, 2023, the other

         Security Documents (as defined in the Prepetition Bridge Credit Agreement, and in each case as

         amended, restated, supplemented or otherwise modified, the “Prepetition Bridge Security

         Documents”) and the other Prepetition Bridge Loan Documents, 9 the obligations of the Prepetition

         Bridge Obligors with respect to the Prepetition Bridge Facility are secured by first priority liens

         on and security interests in (the “Prepetition Bridge Liens”) on all of the collateral under the

         Prepetition Bridge Loan Documents, which includes substantially all of the Prepetition Bridge

         Obligors’ assets and all proceeds of any of the foregoing, and any other assets subject to the

         Prepetition Bridge Liens, subject to the terms thereof and of the Intercreditor Agreements




         9
             As referred to herein, the “Prepetition Bridge Loan Documents” include the Prepetition Bridge Credit Agreement,
             the Prepetition Bridge Guaranty, the Prepetition Bridge Security Documents and the other Loan Documents under
             (and as defined in) the Prepetition Bridge Credit Agreement, in each case, as amended, restated, supplemented or
             otherwise modified.

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         (as defined herein). A summary of the priority of the Prepetition Bridge Facility and the other

         Prepetition Facilities is as follows: 10


               Priority              OpCo Collateral                  PropCo Collateral               All Other Collateral


                                 Prepetition Bridge Liens          Prepetition Bridge Liens         Prepetition Bridge Liens
                First            securing Prepetition New          securing Prepetition New         securing Prepetition New
                                   Money Bridge Loans                Money Bridge Loans               Money Bridge Loans


                                                                                                    Prepetition Bridge Liens
                                Prepetition Bridge Liens           Prepetition Bridge Liens        securing Prepetition Bridge
               Second          securing Prepetition Bridge        securing Prepetition Bridge            Roll-Up Loans
                                  OpCo Roll-Up Loans                PropCo Roll-Up Loans


               Third             Prepetition OpCo Liens            Prepetition PropCo Liens

                                Prepetition Bridge Liens           Prepetition Bridge Liens
               Fourth          securing Prepetition Bridge        securing Prepetition Bridge
                                 PropCo Roll-Up Loans                OpCo Roll-Up Loans


                  31.      The obligations of lenders under the Prepetition Bridge Facility to fund each draw

         contemplated thereunder were subject to the satisfaction (or waiver) of certain draw conditions

         related to the Company’s cash flow performance, marketing process, and continued engagement

         with its stakeholders. Specifically, the initial draw under the Prepetition Bridge Facility was

         conditioned on, among other things, completion of certain diligence, payment of certain fees, and

         delivery of a budget in form and substance reasonably satisfactory to the Prepetition Bridge Agents

         (acting at the direction of required lenders under the Prepetition Bridge Facility). After satisfaction

         or waiver of all conditions, the initial draw, in the amount of $39.5 million, was provided on

         April 3, 2023.        The second draw of $30 million became available to the Company on


         10
              As set forth in more detail in the Intercreditor Agreements (defined in the First Day Declaration), with respect to
              certain Prepetition OpCo Collateral, Prepetition Bridge Liens securing Prepetition New Money Bridge Loans and
              Prepetition OpCo Roll-Up Loans and Prepetition OpCo Liens are pari passu and, with respect to certain
              Prepetition PropCo Collateral, Prepetition Bridge Liens securing Prepetition New Money Bridge Loans and
              Prepetition PropCo Roll-Up Loans and Prepetition PropCo Loans are pari passu.

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         April 24, 2023 and the third draw of $12 million became available to the Company on

         May 22, 2023. The fourth and final draw (contemplated to be in the amount of $12 million) was

         conditioned, among other things, upon either the execution of an Acceptable Third-Party APA

         (as defined in the Bridge Credit Agreement) on or before May 31, 2023, or a pivot to an in-court

         restructuring and sale process. The preconditions for the fourth and final draw were not satisfied,

         but, in light of the Company’s strong cash flow performance, the Company elected not to request

         a waiver, and instead opted to continue funding its operations using cash on hand.

                  32.      Pursuant to its terms, the Company began repaying the Prepetition Bridge Facility

         on and from the calendar week starting on July 3, 2023. Repayments are made on a weekly basis

         and to be in an amount equal to the cash or cash equivalents owned or held by the Company in

         excess of $15 million. These payments have been made weekly since that time, with the last

         payment having been made on September 27, 2023, and were calculated based on the immediately

         preceding Friday.       As of the Petition Date, the Company has made 13 payments, totaling

         approximately $68.8 million, with $23,494,305 of Prepetition New Money Bridge Loans

         remaining unpaid, and $81,500,000 of Prepetition Bridge OpCo Roll-Up Loans remaining

         unpaid. 11

                  33.      The Prepetition Bridge Facility was set to mature upon the earliest of: (a) the date

         that is six (6) months from the date the Prepetition Bridge Facility was entered into

         (i.e. October 3, 2023); (b) the date of consummation of a sale of all or substantially all of the assets

         or equity of the Debtors that are party to the Prepetition Bridge Facility; (c) the acceleration of the

         obligations under the Prepetition Bridge Facility and/or termination of the Prepetition New Money



         11
              Certain repayments of the Prepetition Bridge Facility were used to pay fees owed thereunder and, thus, did not
              reduce principal amounts owed under the Prepetition Bridge Facility.

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         Bridge Loan commitments; and (d) if the Company files chapter 11 cases: (i) the effective date of

         a plan of reorganization for the Company that is confirmed pursuant to an order of the Bankruptcy

         Court; (ii) the date that is thirty-five (35) days after the Petition Date, if the Bankruptcy Court has

         not entered the Final DIP Order by such date; (iii) the Interim DIP Order or the Final DIP Order,

         as applicable, ceasing to be in full force and effect for any reason; (iv) the date of the conversion

         or dismissal of any of the chapter 11 cases; and (v) the Company having obtained financing under

         section 364 of the Bankruptcy Code other than the Prepetition Bridge Facility that does not provide

         for the immediate payment in full in cash of the obligations under the Prepetition Bridge Facility

         and all obligations under the OpCo Credit Agreement and the Prepetition PropCo Facility.

         The date set forth in the preceding clause (a) has occurred and, therefore, the Prepetition Bridge

         Facility has matured.

                34.     SOFR loans issued under the Prepetition Bridge Facility bear interest at Term

         SOFR + the applicable credit spread adjustment of 0.11448% + 10% per annum. Base Rate loans

         bear interest at the Base Rate + 10% per annum. Both the SOFR and Base Rate loans contain zero

         floor. As of the Petition Date, the Debtors’ outstanding obligations under the Prepetition Bridge

         Facility total $104,995,664 in aggregate principal amount.

                D.      Intercompany Agreements.

                35.     The relative rights and priorities of the Prepetition Bridge Liens, on one hand, and

         Prepetition PropCo Liens, on the other hand, in respect of the assets of PropCo are set forth in

         (1) that certain Senior Intercreditor Agreement, dated April 3, 2023, among the Prepetition PropCo

         Agent, the Prepetition PropCo Collateral Agent, and PropCo, and (2) that certain Pari Passu

         Intercreditor Agreement, dated April 3, 2023, among the Prepetition PropCo Agent, the Prepetition

         PropCo Collateral Agent, and PropCo (in each case, as amended, restated, supplemented or

         otherwise modified, together, the “Prepetition PropCo Intercreditor Agreements”). The relative
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         rights and priorities of the Bridge Liens, on one hand, and Prepetition OpCo Liens, on the other

         hand, in respect of the assets of the OpCo Obligors are set forth in (1) that certain Senior

         Intercreditor Agreement, dated April 3, 2023, among the Prepetition OpCo Agent, the OpCo

         Collateral Agent, and the OpCo Borrowers, and (2) that certain Pari Passu Intercreditor

         Agreement, dated April 3, 2023, among the Prepetition OpCo Agent, the Prepetition OpCo

         Collateral Agent, and the OpCo Borrowers (in each case, as amended, restated, supplemented or

         modified, together, the “Prepetition OpCo Intercreditor Agreements,” and collectively with the

         PropCo Intercompany Agreements, the “Intercreditor Agreements”).

                  E.       Equity Interests.

                  36.      There is one class of equity in MVK FarmCo, which interests are directly held by

         two unitholders: Wawona Delaware Holdings, LLC, which holds 75% of the equity, and Negocios

         Libertad LLC, which holds 25% of the equity interests of MVK FarmCo. Wawona Delaware

         Holdings, LLC is ultimately majority owned by Paine Schwartz Food Chain Fund IV GP, Ltd.,

         with Smittcamp AG Enterprises, LLC, Daniel Vincent, and certain other co-investors holding a

         portion of the Company’s outstanding equity. Negocios Libertad LLC is ultimately owned by

         Daniel Gerawan.

                                                         Basis for Relief

         I.       The Debtors Should Be Authorized to Use the Cash Collateral.

                  37.      Section 363 of the Bankruptcy Code governs the Debtors’ use of property of their

         estates, including Cash Collateral. 12 Pursuant to section 363(c)(2) of the Bankruptcy Code,




         12
              The Bankruptcy Code defines “cash collateral” as follows:
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         a debtor may use cash collateral as long as “(A) each entity that has an interest in such cash

         collateral consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease

         in accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2). Here, the Prepetition

         Secured Parties consent or are deemed to consent to the Debtors’ use of the Cash Collateral, subject

         to the terms and limitations set forth in the Interim Order.

                 38.      Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

         in property when a debtor uses cash collateral. Further, section 362(d)(1) of the Bankruptcy Code

         provides for adequate protection of interests in property due to the imposition of the automatic

         stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section 361 of

         the Bankruptcy Code provides examples of forms of adequate protection, such as granting

         replacement liens and administrative claims, courts decide what constitutes sufficient adequate

         protection on a case-by-case basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564

         (3d Cir. 1994) (explaining that the “determination of whether there is adequate protection is made

         on a case-by-case basis”); In re Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at *6

         (Bankr. D. Del. Dec. 7, 2012) (same); In re N.J. Affordable Homes Corp., No. 05-60442 (DHS),

         2006 WL 2128624, at *14 (Bankr. D.N.J. June 29, 2006) (“the circumstances of the case will

         dictate the necessary relief to be given”); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992

         WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992) (“what interest is entitled to adequate protection

         and what constitutes adequate protection must be decided on a case-by-case basis”); see also In re



                 Cash, negotiable instruments, documents of title, securities, deposit accounts, or other cash
                 equivalents whenever acquired in which the estate and an entity other than the estate have an interest
                 and includes the proceeds, products, offspring rents, or profits of property and the fees, charges,
                 accounts or other payments for the use or occupancy of rooms and other public facilities in hotels,
                 motels, or other lodging properties subject to a security interest as provided in section 552(b) of this
                 title, whether existing before or after the commencement of a case under this title.
         11 U.S.C. § 363(a).
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         Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (explaining that adequate protection can

         take many forms and “must be determined based upon equitable considerations arising from the

         particular facts of each proceeding” (citing 2 Collier on Bankruptcy ¶ 361.01[1] at 361–66 (15th

         ed. 1993))).

                39.      The concept of adequate protection is designed to shield a secured creditor from

         diminution in the value of its interest in collateral during the period of a debtor’s use.

         See In re Carbone Cos., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the

         secured party’s interest is protected from diminution or decrease as a result of the proposed use of

         cash collateral.”); see also Cont’l Airlines, Inc., 154 B.R. at 180–81 (holding that adequate

         protection for use of collateral under section 363 of the Bankruptcy Code is limited to use-based

         decline in value).

                A.       The Proposed Adequate Protection for the Prepetition Secured Parties Is
                         Sufficient.

                40.      As described more fully herein, and as set forth in the Interim Order, the Debtors

         propose to provide the Prepetition Secured Parties with certain forms of adequate protection to

         protect against the aggregate diminution in value of the interests of the Prepetition Secured Parties

         in the Prepetition Collateral (including any Cash Collateral) from and after the Petition Date,

         resulting from (among other things) the use, sale, or lease by the Debtors of the Prepetition

         Collateral (including the use of Cash Collateral), the subordination of the Prepetition Liens to the

         Carve Out, and the imposition or enforcement of the automatic stay of section 362(a) of

         the Bankruptcy Code (collectively, the “Adequate Protection Obligations”):

                         a.     valid perfected security interests in and liens on the Adequate Protection
                                Collateral (subject to the liens priorities set forth in the Interim Order);

                         b.     allowed, superpriority administrative expense claims under section 507(b)
                                of the Bankruptcy Code (subject to the Carve Out and the priorities set out
                                in the Interim Order);
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                         c.      the payment of all reasonable and documented fees, out-of-pocket costs and
                                 expenses of the Prepetition Agents and the members of the Steering
                                 Committee in accordance with the Interim Order; and

                         d.      the financial reporting requirements set forth in paragraph 3(f) of the
                                 Interim Order.

                 41.     The Debtors submit that the proposed Adequate Protection Obligations are

         sufficient to protect the Prepetition Secured Parties from any potential diminution in value to the

         Cash Collateral. Considering the foregoing, the Debtors further submit, and the Prepetition

         Secured Parties agree, that the proposed Adequate Protection Obligations to be provided for the

         benefit of the Prepetition Secured Parties are appropriate. Thus, the Debtors’ provision of the

         Adequate Protection Obligations is not only necessary to protect against any diminution in value

         but is fair and appropriate under the circumstances of these chapter 11 cases to ensure the Debtors

         are able to continue using the Cash Collateral, subject to the terms and limitations set forth in the

         Interim Order, for the benefit of all parties in interest and their estates.

         II.     Failure to Obtain Immediate Interim Access to Cash Collateral Would Cause
                 Immediate and Irreparable Harm.

                 42.     Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

         use Cash Collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier

         than 14 days after the service of such motion. Upon request, however, the Court may conduct a

         preliminary, expedited hearing on the motion and authorize the use of cash collateral to the extent

         necessary to avoid immediate and irreparable harm to a debtor’s estate. See Fed. R. Bankr. P.

         4001(b)(2); Del. Bankr. L.R. 4001-2(b). Section 363(c)(3) of the Bankruptcy Code authorizes the

         court to conduct a preliminary hearing and to authorize the use of cash collateral “if there is a

         reasonable likelihood that the [debtor] will prevail at the final hearing under [section 363(e) of the

         Bankruptcy Code].” 11 U.S.C. § 363(c)(3).


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                43.     The Debtors have an immediate postpetition need to use Cash Collateral.

         The Debtors cannot maintain the value of their estates during the pendency of these

         chapter 11 cases without access to cash. The Debtors will use cash to, among other things,

         implement and confirm their Plan, continue to operate their business in the ordinary course of

         business, procure goods and services from vendors of their businesses, pay their employees, and

         satisfy other working capital needs during these chapter 11 cases. The Debtors will therefore be

         unable to proceed with their proposed restructuring and sale process, operate their business in the

         near term, or otherwise fund these chapter 11 cases without access to Cash Collateral, and will

         suffer immediate and irreparable harm to the detriment of all creditors and other parties in interest,

         including the Prepetition Secured Parties. In short, the Debtors’ ability to finance their operations

         and the availability of sufficient working capital and liquidity to the Debtors through the use of

         Cash Collateral is vital to preserve and maximize the value of the Debtors’ estates.

                44.     The Debtors, therefore, seek immediate authority to use the Cash Collateral, as set

         forth in this motion and in the Interim Order, to prevent immediate and irreparable harm to their

         estates pending the Final Hearing pursuant to Bankruptcy Rule 4001(b). Accordingly, the Debtors

         respectfully submit that they have satisfied the requirements of Bankruptcy Rule 4001 and Local

         Rule 4001-2 to support an expedited preliminary hearing and immediate Cash Collateral

         availability on an interim basis.

         III.   The Automatic Stay Should Be Modified on a Limited Basis.

                45.     The relief requested herein contemplates a modification of the automatic stay to the

         extent necessary to implement and effectuate the terms and provisions of the Interim Order, and

         specifically permit the Prepetition Agents, each in their sole discretion, to file such financing

         statements, mortgages, security agreements, notices of liens and other similar documents as

         necessary. The Interim Order further provides that, upon the expiration of the Remedies Notice
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         Period, the automatic stay will be automatically modified to permit the Prepetition Secured Parties,

         to immediately retain and apply payments and otherwise enforce their respective rights and

         remedies under and in accordance with the Interim Order and the Prepetition Loan Documents,

         subject and subordinate to the Carve Out.

                                              Request for Final Hearing

                 46.     Pursuant to Bankruptcy Rule 4001(b)(2) and Local Rule 4001-2(c), the Debtors

         request that the Court set a date for the Final Hearing that is as soon as practicable, and in no event

         after twenty-one days after the Petition Date, and fix the time and date prior to the Final Hearing

         for parties to file objections to this motion.

                             The Requirements of Bankruptcy Rule 6003 Are Satisfied

                 47.     Bankruptcy Rule 6003 empowers a court to grant certain relief within the first

         twenty-one days after the Petition Date only “to the extent that relief is necessary to avoid

         immediate and irreparable harm.” For the reasons discussed above, the Debtors believe an

         immediate and orderly transition into chapter 11 is critical to the viability of their operations, and

         the failure to receive the requested relief during the first twenty-one days of these chapter 11 cases

         would severely disrupt the Debtors’ operations at this important juncture. The requested relief is

         necessary for the Debtors to operate their businesses in the ordinary course, preserve the ongoing

         value of their operations, and maximize the value of their estates for the benefit of all stakeholders.

         The Debtors have demonstrated that the requested relief is “necessary to avoid immediate and

         irreparable harm,” as contemplated by Bankruptcy Rule 6003, and the Court should grant the

         requested relief.

                                 Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                 48.     To implement the foregoing successfully, the Debtors request that the Court enter

         an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and
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         that the Debtors have established cause to exclude such relief from the fourteen-day stay period

         under Bankruptcy Rule 6004(h).

                                               Reservation of Rights

                49.     Nothing contained in this motion or any order granting the relief requested in this

         motion, and no action taken pursuant to the relief requested or granted (including any payment

         made in accordance with any such order), is intended as or shall be construed or deemed to be:

         (a) an admission as to the amount of, basis for, or validity of any claim against the Debtors under

         the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any

         other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to

         pay any particular claim; (d) an implication, admission or finding that any particular claim is an

         administrative expense claim, other priority claim or otherwise of a type specified or defined in

         this motion or any order granting the relief requested by this motion; (e) a request or authorization

         to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365 of the

         Bankruptcy Code; (f) other than with respect to the liens in favor of the Prepetition Agents; (g) an

         admission as to the validity, priority, enforceability or perfection of any lien on, security interest

         in, or other encumbrance on property of the Debtors’ estates; or (h) a waiver or limitation of any

         claims, causes of action or other rights of the Debtors or any other party in interest against any

         person or entity under the Bankruptcy Code or any other applicable law.

                                                        Notice

                50.     The Debtors will provide notice of this motion to the following parties or their

         respective counsel: (a) the U.S. Trustee for the District of Delaware; (b) the holders of the

         30 largest unsecured claims against the Debtors (on a consolidated basis); (c) Wilmington Trust

         National Association, as successor to Coöperatieve Rabobank U.A., New York Branch, as

         Prepetition PropCo Agent and counsel thereto; (d) Coöperatieve Rabobank U.A., New York
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         Branch, as Bridge Administrative Agent and Bridge PropCo Collateral Agent and counsel thereto;

         (e) Royal Bank of Canada, as Bridge OpCo Collateral Agent and Prepetition OpCo Agent and

         counsel thereto; (f) Metropolitan Life Insurance Company, in its capacity as Prepetition Lender

         and a member of the Steering Committee and counsel thereto; (g) Compeer Financial, PCA, in its

         capacity as Prepetition Lender and a member of the Steering Committee and counsel thereto;

         (h) AgCountry Farm Credit Services as a member of the Steering Committee and counsel thereto;

         (i) Paine Schwartz Partners and counsel thereto; (j) the office of the attorney general for each of

         the states in which the Debtors operate; (k) the United States Attorney’s Office for the District of

         Delaware; (l) the Internal Revenue Service; (m) Prepetition Secured Parties; and (n) any party that

         has requested notice pursuant to Bankruptcy Rule 2002. As this motion is seeking “first day”

         relief, within two business days of the hearing on this motion, the Debtors will serve copies of this

         motion and any order entered in respect to this motion as required by Local Rule 9013-1(m). The

         Debtors submit that, in light of the nature of the relief requested, no other or further notice need

         be given.

                                                 No Prior Request

                51.      No prior request for the relief sought in this motion has been made to this or any

         other court.




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                 WHEREFORE, the Debtors respectfully request entry of the Interim Order, substantially

         in the form attached hereto as Exhibit A, granting the relief requested herein and such other relief

         as is just and proper.


     Dated: October 13, 2023                 /s/ Joseph Barry
     Wilmington, Delaware                    Joseph Barry (Del. Bar No. 4221)
                                             Kenneth J. Enos (Del. Bar No. 4544)
                                             Andrew A. Mark (Del. Bar No. 6861)
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                             Rodney Square
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone:     (302) 571-6600
                                             Facsimile:     (302) 571-1253
                                             Email:         jbarry@ycst.com
                                                            kenos@ycst.com
                                                            amark@ycst.com

                                             -and-

                                             Ryan Blaine Bennett, P.C. (pro hac vice pending)
                                             Whitney C. Fogelberg (pro hac vice pending)
                                             KIRKLAND & ELLIS LLP
                                             KIRKLAND & ELLIS INTERNATIONAL LLP
                                             300 North LaSalle Street
                                             Chicago, Illinois 60654
                                             Telephone:     (312) 862-2000
                                             Facsimile:     (312) 862-2200
                                             Email:         ryan.bennett@kirkland.com
                                                            whitney.fogelberg@kirkland.com


                                             Proposed Co-Counsel for the Debtors and Debtors in Possession




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                                       Exhibit A

                                 Proposed Interim Order




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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                                  )    Chapter 11
               In re:                                                             )
                                                                                  )    Case No. 23-11721 (LSS)
               MVK FarmCo LLC, et al., 1                                          )
                                                                                  )    (Joint Administration Requested)
                                         Debtors.                                 )
                                                                                  )    Related Docket No. ___

                       INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 503,
                    506, 507, AND 552 AND FED. R. BANKR. P. 2002, 4001, 6003, 6004, AND 9014
                        (I) AUTHORIZING THE DEBTORS TO USE CASH COLLATERAL,
                   (II) PROVIDING ADEQUATE PROTECTION TO PREPETITION SECURED
                               PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
                (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

                        Upon the motion, dated October 13, 2023 (the “Motion”), 2 of MVK FarmCo LLC and its

               subsidiaries, as debtors and debtors-in-possession (collectively, the “Debtors”) in the

               above-captioned chapter 11 cases (the “Cases”) filed in the U.S. Bankruptcy Court for the District

               of Delaware (this “Court”), seeking the entry of this interim order (the “Interim Order”) and a

               Final Order (as defined herein) pursuant to sections 105, 361, 362, 363, 503, 506, 507 and 552 of

               title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”),

               Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure (as

               amended, the “Bankruptcy Rules”), and the Local Bankruptcy Rules for the District of Delaware

               (the “Local Rules”), (I) authorizing the Debtors to use cash collateral, (II) providing adequate


           1
                 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
                 number, are: MVK FarmCo LLC (5947); MVK Intermediate Holdings LLC (6016); Gerawan Farming, LLC
                 (1975); Gerawan Supply, Inc. (6866); Gerawan Farming Partners, LLC (0072); Gerawan Farming Services, LLC
                 (7361); Wawona Farm Co. LLC (1628); Wawona Packing Co. LLC (7637); and GFP, LLC (9201). The location
                 of the Debtors’ service address is: 7700 N. Palm Ave., Suite 206, Fresno, CA 93711.
           2
                 Capitalized terms used but not otherwise defined herein shall have the meanings given to them in Annex 1 or
                 Annex 4 attached hereto, the Motion, or the Declaration of John Boken, Interim Chief Executive Officer of MVK
                 FarmCo LLC in Support of the Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day
                 Declaration”), as applicable.
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            protection to the Prepetition Secured Parties (as defined herein), (III) modifying the automatic

            stay, (IV) scheduling a final hearing, and (V) granting related relief, the Debtors sought, among

            other things, the following relief:

                           (a)      the Court’s authorization for the Debtors to use “cash collateral,” as such

           term is defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”), and all other

           Prepetition Collateral in which any Prepetition Secured Parties (as defined herein) have an interest,

           solely in accordance with (and subject to Permitted Variance (as defined herein) the terms of this

           Interim Order and the 9-week budget and cash flow forecast annexed hereto as Exhibit A (the

           “Approved Budget”); provided that, as of each Variance Testing Date, the Debtors shall not permit

           Tested Net Cash Flow for the Variance Testing Period ended as of such Variance Testing Date to exceed

           $2,000,000 in negative variance compared to the Tested Net Cash Flow set forth in the Approved Budget

           for such period (the “Permitted Variance”);

                           (b)      the granting by the Court of the Adequate Protection Superpriority Claims

           (as defined herein) and Adequate Protection Liens (as defined herein), to the extent of and as

           compensation for any Diminution in Value (as defined herein) of the Prepetition Secured Parties’

           interests in the Prepetition Collateral (as defined herein), and the payment of fees and expenses to

           the Prepetition Agents (as defined herein) and the members of the Steering Committee (as defined

           herein), in each case, subject to the Carve Out (as defined herein) and as set forth more fully below;

                           (c)      modification by the Court of the automatic stay imposed by section 362 of

           the Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions

           of this Interim Order;

                           (d)      subject to the entry of the Final Order, approving the Debtors’ waiver of

           any right to surcharge against the Prepetition Collateral pursuant to section 506(c) of the

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           Bankruptcy Code;

                          (e)     subject to the entry of the Final Order, approving the Debtors’ waiver of

           any “equities of the case” exception under section 552(b) of the Bankruptcy Code with respect to

           the Prepetition Collateral;

                          (f)     the scheduling by the Court of a final hearing (the “Final Hearing”) to

           consider entry of an order (the “Final Order”) granting the relief requested in the Motion on a final

           basis and approving the form of notice with respect to the Final Hearing and the transactions

           contemplated by the Motion;

                          (g)     the waiver by the Court of any applicable stay (including under Bankruptcy

           Rule 6004) and provision for the immediate effectiveness of this Interim Order; and

                          (h)     the Court having jurisdiction to consider the matters raised in the Motion

           pursuant to 28 U.S.C. § 1334; and the Court having authority to hear the matters raised in the

           Motion pursuant to 28 U.S.C. § 157; and venue being proper before the Court pursuant to

           28 U.S.C. §§ 1408 and 1409; and consideration of the Motion and the requested relief being a core

           proceeding that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and due and proper

           notice of the Motion and opportunity for a hearing on the Motion having been given to the parties

           listed therein, and it appearing that no other or further notice need be provided; and the Court

           having reviewed and considered the Motion, the First Day Declaration; and the Court having held

           an interim hearing on the Motion on [●], 2023 (the “Interim Hearing”); and the Court having

           determined that the legal and factual bases set forth in the Motion and presented at the Interim

           Hearing establish just cause for the relief granted herein; and the Court having found the relief

           requested in the Motion to be fair, reasonable, and in the best interests of the Debtors, their

           creditors, their estates, and all other parties in interest; and the Court having determined that the

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           relief requested in the Motion pending the Final Hearing is necessary to avoid immediate and

           irreparable harm to the Debtors and their estates as contemplated by Bankruptcy Rules 4001(b)(2),

           4001(c)(2) and 6003; and all objections, if any, to the entry of this Interim Order having been

           withdrawn, resolved or overruled by the Court; and upon all of the proceedings had before the

           Court; after due deliberation and consideration, and good and sufficient cause appearing therefor:

           THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
           CONCLUSIONS OF LAW: 3

                    A.      Petition Date. On October 13, 2023 (the “Petition Date”), each of the Debtors filed

           voluntary petitions under chapter 11 of the Bankruptcy Code with the Court commencing these

           Cases.

                    B.      Debtors in Possession. The Debtors have continued in the management and

           operation of their businesses and properties as debtors-in-possession pursuant to sections 1107(a)

           and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in the Cases.

                    C.      Jurisdiction and Venue. The Court has jurisdiction over these proceedings,

           pursuant to 28 U.S.C. § 1334. Consideration of the Motion constitutes a core proceeding under

           28 U.S.C. § 157(b)(2). Venue for the Cases and the proceedings on the Motion is proper in this

           district pursuant to 28 U.S.C. §§ 1408 and 1409. Pursuant to Bankruptcy Rule 7008 and Local

           Rule 7008-1, the Debtors consent to the entry of a final order by the Court in connection with the

           Motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

           enter final orders or judgments consistent with Article III of the United States Constitution.

                    D.      Committee Formation. As of the date hereof, no official committee of unsecured


           3
               The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
               pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
               the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
               the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.
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           creditors (a “Committee”) has been appointed in the Cases.

                  E.      Notice. Notice of the Interim Hearing and the relief requested in the Motion has

           been provided by telecopy, email, overnight courier and/or hand delivery, to (i) the United States

           Trustee for the District of Delaware (the “U.S. Trustee”), (ii) those creditors holding the 30 largest

           unsecured claims against the Debtors’ estates (on a consolidated basis), (iii) White & Case LLP

           (as counsel to the Prepetition Bridge Administrative Agent and the Prepetition Bridge PropCo

           Collateral Agent), (iv) Sidley Austin LLP (as counsel to the Prepetition OpCo Agent and the

           Prepetition Bridge OpCo Collateral Agent), (v) Covington & Burling LLP (as counsel to the

           Prepetition PropCo Agent), (vi) the Securities and Exchange Commission, (vii) the Internal

           Revenue Service, (viii) the United States Attorney’s Office for the District of Delaware, (ix) the

           Attorney General for the State of California, (x) the office of the attorney general for each of the

           other states in which the Debtors operate, (xi) all other parties asserting a security interest in the

           assets of the Debtors to the extent reasonably known to the Debtors, and (xii) any party that has

           requested notice pursuant to Bankruptcy Rule 2002 (the “Notice Parties”). Under the

           circumstances, such notice of the Interim Hearing and the relief requested in the Motion constitutes

           due, sufficient and appropriate notice and complies with section 102(1) of the Bankruptcy Code,

           Bankruptcy Rules 2002, 4001(b) and (c) and 9014, and the Local Rules.

                  F.      Stipulations as to Prepetition Secured Obligations. Subject to paragraph 7

           hereof, the Debtors permanently, immediately, and irrevocably acknowledge, represent, stipulate

           and agree to the matters set forth in Annex 1 hereto (the “Stipulations”).

                  G.      Budget. The initial Approved Budget is attached hereto as Exhibit A. Prior to the

           end of the 9-week period covered by the Approved Budget, the Debtors shall propose an updated

           budget for the 9-week period immediately following the 9-week period covered by the initial

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           Approved Budget. Such proposed budget shall become the “Approved Budget” for such 9-week

           period once approved in writing by each of the Prepetition Agents (at the direction of the applicable

           Required Lenders). The initial Approved Budget is an integral part of this Interim Order and has

           been relied upon by the Prepetition Secured Parties to consent to this Interim Order. The Debtors

           represent that the initial Approved Budget is reasonable under the facts and circumstances as of

           the date of delivery. The Debtors believe that the initial Approved Budget is achievable and will

           allow the Debtors to operate in the Cases, consummate the sale process, and pay postpetition

           obligations as they come due.

                   H.      Budget Reporting. The Debtors shall provide weekly variance reporting setting

           forth in reasonable detail actual operating receipts, operating disbursements and non-operating

           disbursements for the applicable Variance Testing Period and all budget variances, in each case,

           on both an individual line item basis and an aggregate basis, as compared to the projected amounts

           set forth in the then applicable Approved Budget (which budget variances shall be tested on a

           cumulative basis as of the end of each Variance Testing Period) and including indications as to

           whether each variance therein is temporary or permanent and an explanation, in reasonable detail,

           of any material variance, and an analysis demonstrating that the Company is in compliance with

           the budget covenants set forth in Section 5.11 of the Prepetition Bridge Credit Agreement, and (ii)

           certified by a Responsible Officer of Borrowers. The Approved Budget Variance Report shall be

           in a form, and shall contain supporting information, reasonably satisfactory to the Agents (at the

           direction of the applicable Required Lenders). 4 Additional variances beyond the Permitted

           Variance, if any, shall be subject to the approval of the Prepetition Agents (at the direction of the


           4
               As used herein, “Required Lenders” shall have the meaning set forth in the applicable Prepetition Credit
               Agreement as defined on Annex 4.
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           applicable Required Lenders). The Debtors shall operate consistent with the Approved Budget

           and all disbursements of the Debtors shall be consistent with the provisions of the Approved

           Budget, subject in each case to the Permitted Variance.

                  I.      Immediate Need for Use of Cash Collateral. The Debtors have requested

           immediate entry of this Interim Order pursuant to Bankruptcy Rules 4001(b)(2), 4001(c)(2) and

           6003 and the Local Rules. Good cause has been shown for entry of this Interim Order. An

           immediate need exists for the Debtors to use Prepetition Collateral, including Cash Collateral, to

           enable, among other things set forth in the Approved Budget, (i) the orderly continuation of their

           operations and preserve the value of their business and estates, (ii) the payment of costs and

           expenses of administering the Cases, and (iii) the funding and consummation of a sale process to

           maximize recoveries to stakeholders. In the absence of the immediate availability of Cash

           Collateral in accordance with the terms hereof, the ability of the Debtors to maintain business

           relationships with their vendors, suppliers, and customers, pay their employees, and otherwise

           finance their operations would not be possible, and immediate and irreparable harm to the Debtors

           and their estates and creditors would occur. Further, the possibility of conducting a successful

           value-enhancing sale process for the benefit of the Debtors’ estates and creditors would be

           jeopardized in the absence of the availability of funds in accordance with the terms of this Interim

           Order. Thus, the ability of the Debtors to preserve and maintain the value of their assets and

           maximize returns for creditors requires the continued use of Cash Collateral.

                  J.      Adequate Protection for Prepetition Secured Parties. The Prepetition Agents

           and the other Prepetition Secured Parties have negotiated in good faith regarding the Debtors’ use

           of Prepetition Collateral (including Cash Collateral) to fund the administration of the Debtors’

           estates, continued operation of their businesses, and the marketing and consummation of the sale

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           process, in accordance with the terms hereof and the Approved Budget (subject to the Permitted

           Variance). The Prepetition Secured Parties have agreed to permit the Debtors to use Prepetition

           Collateral (including Cash Collateral) in accordance with the terms hereof, subject to the terms

           and conditions set forth in this Interim Order. The Prepetition Secured Parties are entitled to

           adequate protection as and to the extent set forth herein pursuant to sections 361, 362, and 363 of

           the Bankruptcy Code (including the protections afforded parties acting in “good faith” under

           section 363(m) of the Bankruptcy Code). Based on the Motion and on the record presented to the

           Court at the Interim Hearing, the terms of the proposed adequate protection arrangements and of

           the use of Prepetition Collateral (including Cash Collateral) are fair and reasonable, reflect the

           Debtors’ prudent exercise of business judgment, and constitute reasonably equivalent value and

           fair consideration for the Prepetition Agents and Prepetition Secured Parties’ consent thereto;

           provided that nothing in this Interim Order shall (i) be construed as an acknowledgement or

           stipulation by any Prepetition Secured Party that its respective interest in the Prepetition Collateral

           is adequately protected pursuant to this Interim Order or otherwise, or a consent by any Prepetition

           Secured Party that it would be adequately protected in the event any debtor-in-possession financing

           is provided or a consent to the terms of any use of Cash Collateral, including the consent to any

           lien encumbering any of the Prepetition Collateral (whether senior or junior) pursuant to any use

           of Cash Collateral, in each case, except under the terms hereof, or (ii) prejudice, limit, or otherwise

           impair the rights of any Prepetition Agents (for the benefit of the respective Prepetition Secured

           Parties) to seek new, different, or additional adequate protection under any circumstances after the

           date hereof. The Prepetition Secured Parties’ consent to the Debtors’ use of Cash Collateral is

           expressly conditioned upon entry of this Interim Order, and does not and shall not constitute

           consent other than pursuant to this Interim Order and the terms set forth herein.

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                  K.      Sections 506(c) and 552(b). The Debtors have agreed that, as a condition to the

           use of Cash Collateral and as a material inducement to the Prepetition Secured Parties’ consent

           to the use of Cash Collateral, and in exchange for (a) the Prepetition Secured Parties’ agreement

           to subordinate the Prepetition Liens (and any Adequate Protection Liens) to the Carve Out and

           (b) the consensual use of Cash Collateral consistent with the Approved Budget and the terms of

           this Interim Order (x) the Prepetition Secured Parties are entitled to all of the rights and benefits

           of section 552(b) of the Bankruptcy Code and, subject to the entry of the Final Order, the “equities

           of the case” exception shall not apply to any of the Prepetition Secured Parties with respect to the

           proceeds, products, rent, issues, or profits of any of the Prepetition Collateral, and no expenses of

           administration of the Cases or any future proceeding that may result therefrom, including

           liquidation in bankruptcy or other proceedings under the Bankruptcy Code, may be charged

           against proceeds, products, offspring, or profits from any of the Prepetition Collateral under

           section 552(b) of the Bankruptcy Code, and (y) subject to the entry of the Final Order, the

           Prepetition Secured Parties are entitled to receive a waiver of the provisions of section 506(c) of

           the Bankruptcy Code, and, subject to the Carve Out, there shall be no surcharge of any costs or

           expenses incurred in connection with the preservation, protection, or enhancement of, or

           realization by Prepetition Secured Parties upon, the Prepetition Collateral.

                  L.      No Liability to Third Parties. The Debtors stipulate and this Court finds that in

           permitting the Debtors to use the Prepetition Collateral, including Cash Collateral, in accepting

           the Initial Budget and any future Approved Budget or in taking any other actions permitted by this

           Interim Order, none of the Prepetition Secured Parties shall be deemed to be in control of the

           operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with

           respect to the operation or management of the Debtors.

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                  M.      Relief Essential; Best Interest. The relief requested in the Motion (and provided

           in this Interim Order), is necessary, essential, and appropriate for the continued operation of the

           Debtors’ businesses and the management and preservation of the Debtors’ assets and property and

           satisfies the requirements of Bankruptcy Rule 6003. It is in the best interest of the Debtors’ estates,

           and consistent with the Debtors’ exercise of their fiduciary duties, that the Debtors be allowed to

           use the Prepetition Collateral, including Cash Collateral, as contemplated herein.

                  N.      Immediate Entry. Sufficient cause exists for immediate entry of this Interim

           Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2).

                          NOW, THEREFORE, on the Motion of the Debtors and the record before the

           Court with respect to the Motion, including the record made during the Interim Hearing, and with

           the consent of the Debtors and the Prepetition Secured Parties and good and sufficient cause

           appearing therefor,

                          IT IS ORDERED that:

                  1.      Motion Granted. The Motion is granted in accordance with the terms and

           conditions set forth in this Interim Order. Any objections to the Motion with respect to entry of

           this Interim Order to the extent not withdrawn, waived, or otherwise resolved, and all reservation

           of rights included therein, are hereby denied and overruled.

                  2.      Authorization and Approval to Use Cash Collateral. Subject to the terms and

           conditions of this Interim Order and in accordance with the Approved Budget (subject to the

           Permitted Variance), each Debtor is authorized to use Cash Collateral and the proceeds thereof in

           compliance with the terms and covenants set forth in this Interim Order, including such terms and

           covenants relating to the Approved Budget (subject to Permitted Variance). The Approved Budget

           may be amended, supplemented, modified, restated, replaced, or extended only in accordance with

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           this Interim Order. Cash Collateral authorized to be used by this Interim Order shall be used for,

           among other things set forth in the Approved Budget, (i) working capital and general corporate

           purposes, (ii) the payment of fees, interest, payments and expenses under the Prepetition Facilities

           and the Prepetition Loan Documents, and (iii) payment of allowed administrative costs and

           expenses of these Cases, in each case, in accordance with this Interim Order and consistent with

           the Approved Budget (subject to the Permitted Variance and the Carve Out). Notwithstanding

           anything herein to the contrary, subject only to the Debtors’ rights under paragraph 16(e), the

           Debtors’ right to use Cash Collateral shall terminate on the Termination Date (as defined herein).

           Nothing in this Interim Order shall authorize the disposition of any assets of the Debtors or their

           estates or other proceeds resulting therefrom outside the ordinary course of business, except as

           expressly permitted herein.

                  3.      Adequate Protection for Prepetition Secured Parties. As adequate protection

           for the aggregate diminution in value of the interests of the Prepetition Secured Parties in the

           Prepetition Collateral (including any Cash Collateral) from and after the Petition Date, resulting

           from (among other things) the use, sale, or lease by the Debtors of the Prepetition Collateral

           (including the use of Cash Collateral), the subordination of the Prepetition Liens to the Carve Out,

           and the imposition or enforcement of the automatic stay of section 362(a) of the Bankruptcy Code

           (collectively, “Diminution in Value”), the Prepetition Agents for the benefit of the respective

           Prepetition Secured Parties shall receive adequate protection as follows (and, in the case of the

           Adequate Protection Liens, with the relative rank and priority set forth below and on Annex 2

           attached hereto):

                          (a)     Adequate Protection Liens. To the extent of, and in an aggregate amount

           equal to, any aggregate Diminution in Value of their interests in the Prepetition Collateral, pursuant

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           to sections 361 and 363(e) of the Bankruptcy Code, and subject in each case to the Carve Out:

                                 (i)     The Prepetition PropCo Agent and the other Prepetition PropCo

                         Secured Parties shall have replacement security interests in and liens upon

                         (the “PropCo Adequate Protection Liens”) all Adequate Protection Collateral (as

                         defined herein), which PropCo Adequate Protection Liens shall be: (1) junior to

                         any pre-existing liens as of the Petition Date of a third party (i.e., a party other than

                         any Prepetition Secured Party) on such Adequate Protection Collateral solely to the

                         extent that such liens were valid, enforceable, perfected and non-avoidable liens as

                         of the Petition Date or were perfected subsequent to the Petition Date as permitted

                         by section 546(b) of the Bankruptcy Code, were senior to the Prepetition Liens and

                         permitted by the terms of the applicable Prepetition Loan Documents (such

                         liens, “Senior Third Party Liens”); (2) junior to any Bridge Loan Adequate

                         Protection Liens (as defined herein) securing Prepetition New Money Bridge Loans

                         and Prepetition Bridge Liens securing Prepetition New Money Bridge Loans, in

                         each case on all Adequate Protection Collateral; (3) with respect to the PropCo

                         Adequate Protection Liens on Adequate Protection Collateral that is neither

                         Prepetition OpCo Collateral nor Prepetition PropCo Collateral, such PropCo

                         Adequate Protection Liens shall be (A) junior to (I) any Bridge Loan Adequate

                         Protection Liens securing Prepetition Bridge Roll-Up Loans and (II) any

                         Prepetition Bridge Liens securing Prepetition Bridge Roll-Up Loans, in each case

                         on such Adequate Protection Collateral, and (B) pari passu with any OpCo

                         Adequate Protection Liens (as defined herein) on such Adequate Protection

                         Collateral; (4) with respect to the PropCo Adequate Protection Liens on Adequate

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            Protection Collateral consisting of Prepetition PropCo Collateral, such PropCo

            Adequate Protection Liens shall be (A) senior to (I) any Bridge Loan Adequate

            Protection Liens securing Prepetition Bridge OpCo Roll-Up Loans, (II) any OpCo

            Adequate Protection Liens and (III) any Prepetition Bridge Liens securing

            Prepetition Bridge OpCo Roll-Up Loans, in each case on such Prepetition PropCo

            Collateral, (B) pari passu with any Prepetition PropCo Liens and (C) junior to (I)

            any Bridge Loan Adequate Protection Liens securing Prepetition Bridge PropCo

            Roll-Up Loans and (II) any Prepetition Bridge Liens securing Prepetition Bridge

            PropCo Roll-Up Loans, in each case on such Prepetition PropCo Collateral; and (5)

            with respect to the PropCo Adequate Protection Liens on Adequate Protection

            Collateral consisting of Prepetition OpCo Collateral, such PropCo Adequate

            Protection Liens shall be junior to (A) any Bridge Loan Adequate Protection Liens

            securing Prepetition Bridge OpCo Roll-Up Loans, (B) any Prepetition Bridge Liens

            securing Prepetition Bridge OpCo Roll-Up Loans, (C) any OpCo Adequate

            Protection Liens and (D) any Prepetition OpCo Liens, in each case on such

            Prepetition OpCo Collateral.

                   (ii)   The Prepetition OpCo Agent and the other Prepetition OpCo

            Secured Parties, shall have replacement security interests in and liens upon

            (the “OpCo Adequate Protection Liens”) all Adequate Protection Collateral (as

            defined herein), which OpCo Adequate Protection Liens shall be: (1) junior to any

            Senior Third Party Liens in such Adequate Protection Collateral; (2) junior to any

            Bridge Loan Adequate Protection Liens securing Prepetition New Money Bridge

            Loans and Prepetition Bridge Liens securing Prepetition New Money Bridge Loans,

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            in each case on all Adequate Protection Collateral; (3) with respect to the OpCo

            Adequate Protection Liens on Adequate Protection Collateral that is neither

            Prepetition OpCo Collateral nor Prepetition PropCo Collateral, such OpCo

            Adequate Protection Liens shall be (I) junior to (A) any Bridge Loan Adequate

            Protection Liens securing Prepetition Bridge Roll-Up Loans, and (B) any

            Prepetition Bridge Liens securing Prepetition Bridge Roll-Up Loans, in each case

            on such Adequate Protection Collateral and (II) pari passu with any PropCo

            Adequate Protection Liens on such Adequate Protection Collateral; (4) with respect

            to the OpCo Adequate Protection Liens on Adequate Protection Collateral

            consisting of Prepetition OpCo Collateral, such OpCo Adequate Protection Liens

            shall be: (A) senior to (I) any Bridge Loan Adequate Protection Liens securing

            Prepetition Bridge PropCo Roll-Up Loans, (II) any PropCo Adequate Protection

            Liens; and (III) any Prepetition Bridge Liens securing Prepetition Bridge PropCo

            Roll-Up Loans, in each case on such Prepetition OpCo Collateral, (B) pari passu

            with any Prepetition OpCo Liens and (C) junior to (I) any Bridge Loan Adequate

            Protection Liens securing Prepetition Bridge OpCo Roll-Up Loans and (II) any

            Prepetition Bridge Liens securing Prepetition Bridge OpCo Roll-Up Loans, in each

            case on such Prepetition OpCo Collateral; and (5) with respect to the OpCo

            Adequate Protection Liens on Adequate Protection Collateral consisting of

            Prepetition PropCo Collateral, such OpCo Adequate Protection Liens shall be

            junior to (A) any Bridge Loan Adequate Protection Liens securing Prepetition

            Bridge PropCo Roll-Up Loans, (B) any Prepetition Bridge Liens securing

            Prepetition Bridge PropCo Roll-Up Loans, (C) any PropCo Adequate Protection

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            Liens and (D) any Prepetition PropCo Liens, in each case on such Prepetition

            PropCo Collateral.

                   (iii)   The Prepetition Bridge Agent and the other Prepetition Bridge

            Secured Parties, on account of the Prepetition Bridge Loans, shall have replacement

            security interests in and liens upon (the “Bridge Loan Adequate Protection Liens”

            and, collectively with the PropCo Adequate Protection Liens and the OpCo

            Adequate Protection Liens, the “Adequate Protection Liens”) on all Adequate

            Protection Collateral (as defined herein), which Bridge Loan Adequate Protection

            Liens shall (1) be junior to any Senior Third Party Liens on such Adequate

            Protection Collateral, (2) in respect of the Bridge Loan Adequate Protection Liens

            securing Prepetition New Money Bridge Loans, be senior and prior to all other liens

            on all Adequate Protection Collateral, and (3) in respect of the Bridge Loan

            Adequate Protection Liens securing Prepetition Bridge Roll-Up Loans, shall have

            the priorities provided in the foregoing clauses (i) and (ii) of this Paragraph 3(a),

            and as further described on Annex 2 hereto.

                   (iv)    As used herein, “Adequate Protection Collateral” shall mean, all

            current or hereafter acquired assets, interests, rights, and property of any nature

            whatsoever, whether real or personal, of the Debtors including, without limitation,

            all Prepetition Collateral, and all cash, any investment of such cash, inventory,

            accounts receivable, including intercompany accounts (and all rights associated

            therewith), other rights to payment whether arising before or after the Petition Date,

            contracts, contract rights, chattel paper, goods, investment property, inventory,

            deposit accounts, “core concentration accounts,” “cash collateral accounts,” and

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                          any bank accounts and in each case all amounts on deposit therein (or credited

                          thereto), equity interests, securities accounts, securities entitlements, securities,

                          commercial tort claims, books, records, plants, equipment, farm products, general

                          intangibles, documents, instruments, interests in leases and leaseholds, interests in

                          real property (whether or not such real property constituted Prepetition Collateral

                          under any of the Prepetition Loan Documents), fixtures, payment intangibles, tax

                          or other refunds, insurance proceeds, letters of credit, letter of credit rights,

                          supporting obligations, machinery and equipment, patents, copyrights, trademarks,

                          tradenames, other intellectual property, all licenses therefor, interests of any Debtor

                          in any foreign subsidiary, and all proceeds, rents, issues, profits, offspring, products

                          and substitutions, if any, of any of the foregoing and, subject to the entry of the

                          Final Order, the actions and proceeds of all of the Debtors’ rights, claims and causes

                          of action under sections 502(d), 506(d), 542, 543, 544, 545, 547, 548, 549, 550, 553

                          and 724(a) of the Bankruptcy Code, and any other avoidance or similar action under

                          the Bankruptcy Code or similar state law, whether received by judgment, settlement

                          or otherwise.

                          (b)     Adequate Protection Superpriority Claims. Subject to the Carve Out,

           (w) to the extent of any Diminution in Value of the Prepetition Collateral, the Prepetition Bridge

           Agent and the other Prepetition Bridge Secured Parties shall have, on account of the Prepetition

           New Money Bridge Loans, allowed superpriority administrative expense claims as provided for in

           section 507(b) of the Bankruptcy Code (the “New Money Bridge Adequate Protection

           Superpriority Claims”), (x) to the extent of any Diminution in Value of the Prepetition Collateral,

           the Prepetition Bridge Agent and the other Prepetition Bridge Secured Parties shall have, on

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           account of the Prepetition Bridge Roll-Up Loans, allowed superpriority administrative expense

           claims as provided for in section 507(b) of the Bankruptcy Code (together with the New Money

           Bridge Adequate Protection Superpriority Claims, the “Bridge Adequate Protection Superpriority

           Claims”), which shall be immediately junior and subject to the New Money Bridge Adequate

           Protection Superpriority Claims, (y) to the extent of any aggregate Diminution in Value of the

           Prepetition PropCo Collateral, the Prepetition PropCo Agent and the other Prepetition PropCo

           Secured Parties shall have allowed superpriority administrative expense claims as provided for in

           section 507(b) of the Bankruptcy Code (the “PropCo Adequate Protection Superpriority Claims”),

           which shall be pari passu with the OpCo Adequate Protection Superpriority Claims (as defined

           herein) and immediately junior and subject to the Bridge Adequate Protection Superpriority

           Claims and (z) to the extent of any Diminution in Value of the Prepetition OpCo Collateral, the

           Prepetition OpCo Agent and the other Prepetition OpCo Secured Parties shall have allowed

           superpriority administrative expense claims as provided for in section 507(b) of the Bankruptcy

           Code (the “OpCo Adequate Protection Superpriority Claims” and, collectively with the Bridge

           Adequate Protection Superpriority Claims and the PropCo Adequate Protection Superpriority

           Claims, the “Adequate Protection Superpriority Claims”), which shall be pari passu with the

           PropCo Adequate Protection Superpriority Claims and immediately junior and subject to the

           Bridge Adequate Protection Superpriority Claims, in each case against each of the Debtors, jointly

           and severally, and payable from and having recourse to all Adequate Protection Collateral.

                          (c)     Status of the Adequate Protection Liens and Adequate Protection

           Claims. The Prepetition Liens, the Adequate Protection Liens, and the Adequate Protection

           Superpriority Claims shall not be (1) subject or subordinate to (A) any lien or security interest that

           is avoided and preserved for the benefit of the Debtors and their estates under section 551 of the

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           Bankruptcy Code or (B) any lien or security interest arising after the Petition Date or (2)

           subordinated to or made pari passu with any other lien or security interest, now or hereafter

           existing and whether authorized under section 363 of the Bankruptcy Code or otherwise; provided,

           however, that the Prepetition Liens, Adequate Protection Liens, and the Adequate Protection

           Superpriority Claims remain subject and subordinate to the Carve Out.

                          (d)     Adequate Protection Payments. The Prepetition Bridge Agent (on behalf

           of the Prepetition Bridge Lenders) shall receive from the Debtors cash payments in an amount

           equal to all prepetition and postpetition accrued and unpaid interest on account of the Prepetition

           New Money Bridge Loans at the rate provided for in the Prepetition Bridge Credit Agreement as

           and when due under the Prepetition Bridge Credit Agreement.

                          (e)     Professional Fees. Promptly upon the entry of this Interim Order, the

           Debtors shall pay all reasonable and documented fees, out-of-pocket costs and expenses of the

           Prepetition Agents and the members of the Steering Committee, including cash payments of all

           reasonable and documented professional and advisory fees, out-of-pocket costs, and expenses of

           the Prepetition Agents and the members of the Steering Committee incurred in connection with

           the negotiation, administration, and monitoring of the Prepetition Loan Documents and Prepetition

           Facilities and in connection with the filing of these Chapter 11 Cases, including, without, limitation,

           the reasonable documented fees, costs and expenses of (i) White & Case LLP (as counsel to the

           former Prepetition PropCo Agent through the date that Rabobank ceased to be the Prepetition

           PropCo Agent), the Prepetition Bridge Administrative Agent, and the Prepetition Bridge PropCo

           Collateral Agent), (ii) Sidley Austin LLP (as counsel to the Prepetition OpCo Agent and the

           Prepetition Bridge OpCo Collateral Agent), (iii) Covington & Burling LLP (as counsel to the

           Prepetition PropCo Agent), (iv) counsel selected by any successor to any agent identified in clauses

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           (i)-(iii), (v) Moore & Van Allen, PLLC and Burr & Forman LLP (as counsel to Compeer Financial,

           PCA, and AgCountry Farm Credit Services, in each case in their respective capacities as

           Prepetition Lender and a member of the Steering Committee), (vi) Morgan Lewis & Bockius LLP

           and Robinson & Cole LLP (as counsel to Metropolitan Life Insurance Company, in its capacity as

           Prepetition Lender and a member of the Steering Committee), (vii) FTI Consulting, Inc. (as

           financial advisor to the Prepetition Bridge Agents, the Prepetition PropCo Agent and the

           Prepetition OpCo Agent), and (viii) any local counsel and other advisors of the Prepetition Agents

           and the members of the Steering Committee as may be reasonably required, to the extent provided

           for in the Prepetition Credit Agreements (the foregoing professionals set forth in clauses

           (i) through (ix), collectively, the “Agent/Steering Committee Professionals”), in each case incurred

           as of the Petition Date and, thereafter, subject to the procedures set forth in paragraph 19(a) hereof,

           promptly upon the receipt of summary invoices therefor, the Debtors shall pay all reasonable and

           documented fees, costs, and expenses of the Prepetition Agents and the members of the Steering

           Committee incurred in connection with the negotiation, execution, administration and monitoring

           of the Prepetition Loan Documents and the Prepetition Facilities and in connection with the Cases,

           including the professional and advisory fees of the Agent/Steering Committee Professionals.

           Payment of any amounts set forth in this clause (c) shall not be subject to disgorgement. The

           Debtors shall timely pay the fees and expenses owing to ACM Management Company, LLC in

           accordance with the terms of the letter agreement, dated October 12, 2023, by and among the

           Prepetition Agents and ACM Management Company, LLC.

                          (f)     Financial Reporting, etc.        The Debtors shall timely provide to the

           Prepetition Agents and the other Prepetition Secured Parties (and, in each case, their respective

           consultants, advisors, and professionals) (i) all financial information required under the Prepetition

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           Loan Documents, and (ii) access upon reasonable notice and during regular business hours to the

           Debtors’ books and records, assets, and properties, for purposes of monitoring the Debtors’

           businesses and the value of the Prepetition Collateral, in each case subject to any limitations on

           such access or disclosure as and to the extent expressly set forth in this Interim Order. The Debtors

           shall also timely provide such reports and information required to be provided in the Prepetition

           Loan Documents (subject to any limitations as and to the extent expressly set forth therein, and

           subject to any cure periods in respect of the covenant to provide such reports and information, to

           the extent applicable, set forth therein) and reasonably cooperate, discuss with, and provide to the

           Prepetition Agents and the other Prepetition Secured Parties (and, in each case, their respective

           professionals) all such information as may be reasonably requested and subject to any limitations

           and conditions set forth in the Prepetition Loan Documents with respect to providing any such

           information. Notwithstanding the foregoing, the financial reporting requirements set forth in

           Section 5.01 of the Prepetition Bridge Credit Agreement shall be deemed modified as follows: (i)

           the deadline for delivery of quarterly consolidated financial results set forth in Section 5.01(b) of

           the Prepetition Bridge Credit Agreement shall be changed from 45 days after the end of the

           applicable quarter to 35 days; and (ii) the deadline for delivery of monthly consolidated financial

           results set forth in Section 5.01(c) of the Prepetition Bridge Credit Agreement shall be changed

           from 45 days after the end of each fiscal month to 30 days. In addition, the Debtors hereby

           authorize their accountants, attorneys, financial advisors, investment bankers, and consultants to

           cooperate, consult with, and provide to the Prepetition Agents and the other Prepetition Secured

           Parties (and, in each case, their respective consultants, advisors and professionals) all such

           information as may be reasonably requested with respect to the business, results of operations, and

           financial condition of any of the Debtors; provided that, to the extent the Debtors reasonably

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           determine that information should be shared on a confidential or professional eyes’ only basis,

           such information can be shared by the Debtors’ accountants, attorneys, financial advisors,

           investment bankers, and consultants with the Agent/Steering Committee Professionals on a

           confidential or professional eyes’ only basis.

                  4.      Milestones. It is a condition to the use of Cash Collateral and as an integral element

           of the adequate protection therefor that the Debtors shall comply with those certain case milestones

           set forth in Annex 3 hereto (the “Milestones”). The failure to comply with any Milestone shall

           constitute a Termination Event (as defined herein).

                  5.      Subordination of Intercompany Liens. All intercompany liens of the Debtors,

           if any (other than any liens granted to the Prepetition Secured Parties), will be contractually

           subordinated to the Adequate Protection Liens on terms satisfactory to the Prepetition Agents.

                  6.      Adequate Protection Replacement Lien Perfection. Automatically upon entry

           of this Interim Order, the Adequate Protection Liens shall be deemed to be valid, perfected,

           enforceable, non-avoidable, and effective by operation of law, and not subject to challenge as of

           the Petition Date, without the need of any further action of any kind. This Interim Order shall be

           sufficient and conclusive evidence of the validity, perfection, and priority of the Adequate

           Protection Liens without the necessity of filing or recording any financing statement, deed of trust,

           mortgage, or other instrument or document which may otherwise be required under the law of any

           jurisdiction or the taking of any other action to create, attach, validate or perfect the Adequate

           Protection Liens or to entitle the Adequate Protection Liens to the priorities granted herein.

           Notwithstanding the foregoing, any Prepetition Agent may, each in their sole discretion, file such

           financing statements, mortgages, security agreements, notices of liens and other similar documents,

           and are hereby granted relief from the automatic stay of section 362 of the Bankruptcy Code in

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           order to do so, and all such financing statements, mortgages, security agreements, notices and other

           agreements or documents shall be deemed to have been filed or recorded at the time and on the

           Petition Date. The Debtors shall execute and deliver to the applicable Prepetition Agent all such

           financing statements, mortgages, security agreements, notices, and other documents as such

           Prepetition Agent may reasonably request to evidence, confirm, validate or perfect, or to insure

           the contemplated priority of the Adequate Protection Liens, and the Debtors shall take all such

           further actions that may be required under any applicable law, or that any Prepetition Agent may

           reasonably request in order to grant, preserve, protect, or perfect the Adequate Protection Liens

           granted pursuant to this Interim Order. Any Prepetition Agent may, in its discretion, file a certified

           copy of this Interim Order as a financing statement or a notice with any recording officer

           designated to file financing statements or with any registry of deeds or similar office in any

           jurisdiction in which any Debtor has real or personal property and, in such event, the subject filing

           or recording officer shall be authorized to file or record such copy of this Interim Order. The

           Prepetition PropCo Agent and the Prepetition OpCo Agent shall each serve as gratuitous bailee for

           each other Prepetition Agent for the purposes of perfecting the Adequate Protection Liens on all

           Adequate Protection Collateral comprised of Prepetition PropCo Collateral and Prepetition OpCo

           Collateral, respectively, that is of a type such that, without giving effect to the Bankruptcy Code

           and this Interim Order, perfection of a security interest therein may be accomplished only by

           possession or control by a secured party. Notwithstanding and without minimizing the force of

           the foregoing, the Debtors are authorized to enter into, and cause the financial institutions servicing

           the Debtors accounts to enter into, such account control agreements and other collateral

           agreements with the Prepetition Agents and such financial institutions as the Prepetition Agent

           may reasonably require.

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                  7.      Reservation of Certain Third Party Rights and Bar of Challenges and Claims.

                          (a)     The Debtors’ stipulations, admissions, agreements, releases, and waivers

           contained in this Interim Order, including the Stipulations, are and shall be irrevocably binding

           upon the Debtors and any and all of the Debtors’ successors in interest and assigns (including,

           without limitation, any chapter 7 or chapter 11 trustee, responsible person, examiner with

           expanded powers, or other estate representative).

                          (b)     The Stipulations and all other admissions, agreements, releases, and waivers

           set forth in this Interim Order also are and shall be binding upon all other persons and entities

           (including any Committee) and each of their respective successors in interest and assigns, unless,

           and solely to the extent that (i) such parties in interest (including any Committee) in each case with

           standing and requisite authority to do so (subject in all respects to any agreement or applicable law

           which may limit or affect such entity’s right or ability to do so) have timely filed the proper

           pleadings, and timely commenced the appropriate proceedings under the Bankruptcy Code and

           Bankruptcy Rules, including, without limitation, as required pursuant to Part VII of the Bankruptcy

           Rules (in each case subject to the limitations set forth below in this paragraph 7), (x) objecting to

           or challenging any of the Stipulations or (y) otherwise asserting or prosecuting any action against

           the Prepetition Secured Parties or any of their respective affiliates, agents, attorneys, advisors,

           professionals, officers, directors, or employees in connection with or related to the matters covered

           by the Stipulations (each such proceeding or appropriate pleading commencing a proceeding or

           other contested matter, a “Challenge”), by no later than the date that is seventy-five (75) calendar

           days following entry of this Interim Order (such period, the “Challenge Period” and the date that

           is the next calendar day after the termination of the Challenge Period shall be referred to as

           the “Challenge Period Termination Date”), as such date may be extended to any such party in

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           interest with the consent of each of the Prepetition Agents (with the consent of the applicable

           Required Lenders and each applicable Prepetition Secured Party that is the subject of a Challenge)

           or by any such later date as has been ordered by the Court for cause upon a motion filed and served

           within the Challenge Period (before giving effect to such extension), and (ii) the Court enters

           judgment in favor of the plaintiff or movant in any such timely and properly commenced Challenge

           proceeding, and any such judgment has become final and is not subject to any further review or

           appeal.

                          (c)    Any Challenge not asserted by the timely and proper filing of a pleading by

           a party in interest with the requisite standing and authority as contemplated herein prior to the

           Challenge Period Termination Date shall be deemed forever waived, released, and barred with

           respect to such party in interest. To the extent a party in interest with requisite standing and

           authority timely and properly commences a Challenge prior to the Challenge Period Termination

           Date, all claims, causes of action and other matters not specifically set forth in such Challenge

           shall be deemed forever waived, released, and barred with respect to such party in interest.

                          (d)    To the extent the Stipulations (or any of them) are (x) not subject to a

           Challenge timely and properly commenced prior to the Challenge Period Termination Date or

           (y) subject to a Challenge timely and properly commenced prior to the Challenge Period

           Termination Date, to the extent any such Challenge does not result in a final and non-appealable

           judgment or order of the Court that is inconsistent with such Stipulations, then, in each case,

           without further notice, motion or application to, or order of, or hearing before, this Court and

           without the need or requirement to file any proof of claim: (i) any and all such Challenges by any

           Committee, or any other party in interest shall be deemed to be forever waived, released, and

           barred (including upon the conversion of any of the Cases to a case under chapter 7 of the

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           Bankruptcy Code or in any other proceedings related to any of the Debtors (such cases or

           proceedings, “Successor Cases”)), and the Prepetition Secured Obligations (as defined herein)

           shall each be deemed to be an allowed secured claim within the meaning of sections 502 and 506

           of the Bankruptcy Code for all purposes in connection with the Cases, and all of the Stipulations

           and all other waivers, releases, and affirmations set forth in this Interim Order (or any not properly

           and timely challenged) shall be in full force and effect and shall be binding, conclusive and final

           on any person, entity or party in interest, including any Committee (in each case, and their

           successors and assigns), in the Cases and in any Successor Case for all purposes, without any

           further order of the Court, and shall not be subject to challenge or objection by the Committee or

           any other party in interest, including, without limitation, any other statutory committee, any trustee,

           responsible individual, examiner with expanded powers or other representative of the Debtors’

           estates.

                          (e)     If, any Challenge is timely and properly filed during the Challenge Period,

           the Stipulations and all other waivers, releases, and affirmations contained in this Interim Order

           shall nonetheless remain binding and preclusive, as provided in this paragraph 7, on all other

           parties in interest (including any Committee), and on any other person or entity, except for the

           plaintiff or movant timely and successfully asserting such Challenge, as set forth in a final,

           non-appealable order of a court of competent jurisdiction. Notwithstanding anything to the

           contrary herein, the right to commence any Challenge under this Interim Order is preserved only

           as against any particular Prepetition Secured Obligation or against any Prepetition Secured Party

           to the extent such Challenge is commenced timely and properly prior to the Challenge Period

           Termination Date, and in respect of such Prepetition Secured Obligation or Prepetition Secured

           Party and is otherwise waived as set forth in this paragraph 7.

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                           (f)     All remedies or defenses of any party with respect to any Challenge are

           hereby preserved. Nothing in this Interim Order vests or confers on any person (as defined in the

           Bankruptcy Code) including any Committee (if any) appointed in these Cases, standing or

           authority to pursue any cause of action belonging to the Debtors or their estates, including, without

           limitation, any Challenges with respect to the Prepetition Secured Obligations and an order of the

           Court (or any other court of competent jurisdiction) conferring such standing on a Committee or

           other party in interest shall be a prerequisite for the prosecution of a Challenge by the Committee

           or such other party in interest.

                   8.      Limitations on Use of Cash Collateral. Notwithstanding anything herein to the

           contrary, no portion of the Prepetition Collateral (including Cash Collateral), the Carve Out, or the

           disbursements set forth in the Approved Budget, may be used for the payment of professional fees,

           disbursements, costs, or expenses incurred by any person in connection with (a) incurring

           indebtedness other than as expressly provided in this Interim Order and the Approved Budget

           (subject to Permitted Variance), (b) preventing, hindering, impeding, or delaying any Prepetition

           Agent’s or any other Prepetition Secured Party’s enforcement or realization upon, or exercise of

           rights in respect of, any of the Prepetition Collateral in accordance with the Prepetition Loan

           Documents, (c) seeking to amend or modify any of the rights or interests granted to any Prepetition

           Agent or any other Prepetition Secured Party under this Interim Order or the Prepetition Loan

           Documents, in a manner adverse to the Prepetition Agents or any other Prepetition Secured Parties,

           including seeking to use Cash Collateral on a contested basis, without the prior written consent of

           the Prepetition Agents (at the direction of the applicable Required Lenders), (d) directly or

           indirectly asserting, commencing, or prosecuting any claims or causes of action, including, without

           limitation, any Challenge or any other actions under chapter 5 of the Bankruptcy Code (or any

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           similar law), against any Prepetition Agent, or any other Prepetition Secured Party, or any of their

           respective affiliates, agents, attorneys, advisors, professionals, officers, directors, or employees, or

           (e) directly or indirectly asserting, joining, commencing, supporting, investigating, or prosecuting

           any Challenge, or any other action for any claim, counterclaim, action, cause of action, proceeding,

           application, motion, objection, defense, or other contested matter seeking any order, judgment,

           determination, or similar relief against, or adverse to the material interests of, the Prepetition

           Secured Parties arising out of, in connection with, or relating to the Prepetition Loan Documents

           or the transactions contemplated thereunder, including (without limitation) (i) any action arising

           under the Bankruptcy Code, (ii) any so-called “lender liability” claims and causes of action,

           (iii) any action with respect to the validity and extent of the Prepetition Secured Obligations or the

           validity, extent, perfection and priority of the Prepetition Liens, (iv) any action seeking to

           invalidate, set aside, avoid, reduce, set off, offset, recharacterize, subordinate (whether equitable,

           contractual, or otherwise), recoup against, disallow, impair, raise any defenses, cross-claims, or

           counterclaims, or raise any other challenges under the Bankruptcy Code or any other applicable

           domestic or foreign law or regulation against, or with respect to, the Prepetition Liens, in whole or

           in part, or (v) appeal or otherwise challenge this Interim Order or the Final Order; provided that

           no more than $50,000 in the aggregate of the Prepetition Collateral and the Cash Collateral

           (including any proceeds of the Prepetition Collateral or the Cash Collateral used to fund the Carve

           Out) may be used by a Committee (if any) appointed in these Cases to investigate (but not

           prosecute or Challenge, or commence, or initiate the prosecution of, any Challenge, including the

           preparation of any complaint or motion on account of, or objection to) the Stipulations before

           termination of the Challenge Period.



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                   9.      Carve Out.

                           (a)     Carve Out. As used in this Interim Order, the “Carve Out” means the sum

           of (i) all fees required to be paid to the Clerk of the Court and to the Office of the U.S. Trustee

           under section 1930(a) of title 28 of the United States Code plus interest at the statutory rate

           (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and expenses up

           to $50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to

           the notice set forth in (iii) below); (iii) to the extent allowed at any time, whether by interim order,

           procedural order, or otherwise, all unpaid fees and expenses (the “Allowed Professional Fees”)

           incurred by persons or firms retained by the Debtors pursuant to section 327, 328, or 363 of the

           Bankruptcy Code (the “Debtor Professionals”) and the Committee (if any) pursuant to section 328

           or 1103 of the Bankruptcy Code (together with the Debtor Professionals, the “Professional

           Persons”), at any time before or on the first business day following delivery by a Prepetition Agent

           of a Carve Out Trigger Notice (as defined herein), whether allowed by the Court prior to or after

           delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of Professional

           Persons in an aggregate amount not to exceed $1,500,000 incurred after the first business day

           following delivery by a Prepetition Agent of a Carve Out Trigger Notice, to the extent allowed at

           any time, whether by interim order, procedural order, or otherwise (the amounts set forth in this

           clause (iv) being the “Post-Carve-Out Trigger Notice Cap”). For purposes of the foregoing,

           “Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic

           means) by the Prepetition Agent to the Debtors, their lead restructuring counsel, the U.S. Trustee,

           and counsel to the Committee, which notice may be delivered following the occurrence and during

           the continuation of a Termination Event and upon termination of the Debtors’ right to use Cash

           Collateral by the Prepetition Secured Parties, stating that the Post-Carve Out Trigger Notice Cap

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           has been invoked.

                          (b)     Carve Out Reserves. On the day on which a Carve Out Trigger Notice is

           given by a Prepetition Agent to the Debtors with a copy to counsel to the Committee (if any)

           (the “Termination Declaration Date”), the Carve Out Trigger Notice shall constitute a demand to

           the Debtors to utilize all cash on hand as of such date and any available cash thereafter held by any

           Debtor to fund a reserve in an amount equal to the then unpaid amounts of the Allowed

           Professional Fees. The Debtors shall deposit and hold such amounts in a segregated account at

           the Prepetition Bridge Agent in trust to pay such then unpaid Allowed Professional Fees

           (the “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other claims.               On the

           Termination Declaration Date, after funding the Pre-Carve Out Trigger Notice Reserve, the

           Debtors shall utilize all remaining cash on hand as of such date and any available cash thereafter

           held by any Debtor to fund a reserve in an amount equal to the Post-Carve Out Trigger Notice Cap

           (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice

           Reserve, the “Carve Out Reserves”) prior to any and all other claims. All funds in the Pre-Carve

           Out Trigger Notice Reserve shall be used first to pay the obligations set forth in clauses (i) through

           (iii) of the definition of Carve Out set forth above (the “Pre-Carve Out Amounts”), but not, for the

           avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until paid in full, and then, to the

           extent the Pre-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the

           Prepetition Agents for the benefit of the applicable Prepetition Secured Parties unless the

           Prepetition Secured Obligations have been indefeasibly paid in full, in cash, in which case any

           such excess shall be paid to the Debtors’ creditors in accordance with their rights and priorities as

           of the Petition Date. All funds in the Post-Carve Out Trigger Notice Reserve shall be used first to

           pay the obligations set forth in clause (iv) of the definition of Carve Out set forth above

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           (the “Post-Carve Out Amounts”), and then, to the extent the Post-Carve Out Trigger Notice

           Reserve has not been reduced to zero, to pay the Prepetition Agents, for the benefit of the

           applicable Prepetition Secured Parties, unless the Prepetition Secured Obligations have been

           indefeasibly paid in full, in cash, in which case any such excess shall be paid to the Debtors’

           creditors in accordance with their rights and priorities as of the Petition Date and under this Interim

           Order. Notwithstanding anything to the contrary in the Prepetition Loan Documents, or this

           Interim Order, if either of the Carve Out Reserves are not funded in full in the amounts set forth

           in this paragraph 9, then any excess funds in one of the Carve Out Reserves following the payment

           of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be used to fund

           the other Carve Out Reserve, up to the applicable amount set forth in this paragraph 9, prior to

           making any payments to the Prepetition Agents or any of the Debtors’ creditors, as applicable.

           Notwithstanding anything to the contrary in the Prepetition Loan Documents or this Interim Order,

           following delivery of a Termination Notice, the Prepetition Agents shall not sweep or foreclose on

           cash (including cash received as a result of the sale or other disposition of any assets) of the Debtors

           until the Carve Out Reserves have been fully funded, but shall have a security interest in any

           residual interest in the Carve Out Reserves, with any excess paid to the Prepetition Agents for

           application in accordance with the Prepetition Loan Documents and in accordance with the

           priorities provided in this Interim Order and the Intercreditor Agreements.                    Further,

           notwithstanding anything to the contrary in this Interim Order, (i) disbursements by the Debtors

           from the Carve Out Reserves shall not constitute loans in the Prepetition Credit Agreement or

           increase or reduce the Prepetition Secured Obligations, (ii) the failure of the Carve Out Reserves

           to satisfy in full the Allowed Professional Fees shall not affect the priority of the Carve Out, and

           (iii) in no way shall the Initial Budget, any subsequent Approved Budget, the Carve Out, the Post-

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           Carve Out Trigger Notice Cap, the Carve Out Reserves, or any of the foregoing be construed as a

           cap or limitation on the amount of the Allowed Professional Fees due and payable by the Debtors.

           For the avoidance of doubt and notwithstanding anything to the contrary in this Interim Order or

           in any Prepetition Facilities, the Carve Out shall be senior to all liens and claims securing the

           Adequate Protection Liens, the Adequate Protection Superpriority Claims, and any and all other

           forms of adequate protection, liens, or claims securing the Prepetition Secured Obligations.

                          (c)    Payment of Allowed Professional Fees Prior to the Termination Declaration

           Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

           Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

                          (d)    No Direct Obligation To Pay Allowed Professional Fees. None of the

           Prepetition Agents or the other Prepetition Secured Parties shall be responsible for the payment or

           reimbursement of any fees or disbursements of any Professional Person, the U.S. Trustee, or Clerk

           of the Court (or any other entity) incurred in connection with the Cases or any Successor Case.

           Nothing in this Interim Order or otherwise shall be construed to obligate the Prepetition Agents or

           the other Prepetition Secured Parties, in any way, to pay compensation to, or to reimburse expenses

           of, any Professional Person or to guarantee that the Debtors have sufficient funds to pay such

           compensation or reimbursement.

                          (e)    Payment of Carve Out On or After the Termination Declaration Date. Any

           payment or reimbursement made on or after the occurrence of the Termination Declaration Date

           in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

           for-dollar basis. Any funding of the Carve Out shall be entitled to the protections granted under

           this Interim Order, the Bankruptcy Code, and applicable law.

                  10.     Reservation of Rights. The Prepetition Secured Parties reserve the right to review

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           and object to any fee statement, interim application or monthly application issued or filed by the

           Professional Persons. Notwithstanding anything to the contrary herein, the payment of any

           Allowed Professional Fees pursuant to the Carve Out shall not (i) reduce any Debtor’s obligations

           owed to the Prepetition Agents or the other Prepetition Secured Parties (whether under this Interim

           Order or otherwise) or (ii) modify, alter or otherwise affect any of the liens and security interests

           of such parties (whether granted under this Interim Order or otherwise) in the Prepetition Collateral

           or the Adequate Protection Collateral (or their claims against the Debtors).

                  11.     Section 506(c) Claims. As a further condition of the Debtors’ authorization to use

           the Cash Collateral, the Debtors (and any successors thereto or any representatives thereof,

           including any trustees appointed in the Cases or any Successor Case) shall be deemed, subject to

           the entry of the Final Order, to have waived any rights, benefits or causes of action under

           section 506(c) of the Bankruptcy Code as they may relate to or be asserted against the Prepetition

           Secured Parties, the Prepetition Liens, or the Prepetition Collateral. Except to the extent of the

           Carve Out, no costs or expenses of administration which have been or may be incurred in the Cases

           at any time shall be charged against, subject to the entry of the Final Order, the Prepetition Secured

           Parties, any of their respective claims, or the Prepetition Collateral pursuant to sections 105 or

           506(c) of the Bankruptcy Code, or otherwise. Nothing contained in this Interim Order, in the Final

           Order or in the Prepetition Loan Documents shall be deemed a consent by the Prepetition Secured

           Parties to any charge, lien, assessment or claim against, or in respect of, the Prepetition Collateral

           under section 506(c) of the Bankruptcy Code or otherwise, and no such consent shall be implied

           from any other action, inaction, or acquiescence by any such parties.

                  12.     Collateral Rights; Limitations in Respect of Subsequent Court Orders. Upon

           the entry of this Interim Order, and thereafter, unless the Prepetition Agents (at the direction of the

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           applicable Required Lenders) have provided their prior written consent, or all Prepetition Secured

           Obligations have been indefeasibly paid and satisfied in full in cash and discharged (other than

           contingent obligations not due and owing), it shall constitute a Termination Event if the Debtors

           shall seek in these Cases, or in any Successor Case, or there shall be entered in these Cases or in

           any Successor Case (or in each case any proceeding ancillary thereto), any order which authorizes

           any of the following: (i) the obtaining of credit or the incurring of indebtedness that is secured by

           a security, mortgage, or collateral interest or other lien on all or any portion of the Prepetition

           Collateral or the Adequate Protection Collateral and/or entitled to priority administrative status

           which is superior to or pari passu with the Prepetition Liens or the Adequate Protections Liens or

           (ii) the use Cash Collateral for any purpose other than as permitted in the Approved Budget (subject

           to the Permitted Variance).

                  13.     Proceeds of Financing.       Without limiting the provisions and protections of

           paragraph 12 above, if at any time prior to the indefeasible repayment and satisfaction in full in

           cash of all Prepetition Secured Obligations, including subsequent to the confirmation of any

           chapter 11 plan or plans with respect to the Debtors, the Debtors, the Debtors’ estates, any trustee,

           any examiner with enlarged powers or any responsible officer subsequently appointed, shall obtain

           credit or incur debt in violation of this Interim Order, then all of the cash proceeds derived from

           such credit or debt shall immediately be turned over to the Prepetition Bridge Agent for application

           in accordance with the relevant Prepetition Loan Documents and under applicable law.

                   14.    Cash Management.         From the Petition Date until the Prepetition Secured

           Obligations (other than contingent obligations not due and owing) have been indefeasibly paid

           and satisfied in full in cash and discharged, all cash receipts, Cash Collateral, and all proceeds

           from the sale or other disposition of, or other revenue of any kind attributable to, any Prepetition
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           Collateral or Adequate Protection Collateral that is now in, or shall hereafter come into, the

           possession or control of any of the Debtors, or to which any of the Debtors is now or shall hereafter

           become entitled, shall be subject to the Adequate Protection Liens (and shall be treated in

           accordance with this Interim Order). It shall constitute a Termination Event if the Debtors’ cash

           management system shall not at all times be maintained in accordance with the terms of the

           Prepetition Loan Documents and any order of this Court approving the maintenance of the

           Debtors’ cash management system, in each case in all material respects, and otherwise in a manner

           which shall be reasonably satisfactory to the Prepetition Agents and the Required Lenders in

           accordance with the applicable Prepetition Credit Agreements. The Prepetition Agents shall be

           deemed to have “control” over all cash management accounts for all purposes of perfection under

           the Uniform Commercial Code pursuant to this Interim Order and, if required, pursuant to control

           agreements reasonably acceptable to the Prepetition Agents. Subject to the provisions of this

           Interim Order, all financial institutions with which the Debtors maintain accounts containing Cash

           Collateral are authorized to comply with any request of the Prepetition Agents to turn over to the

           Prepetition Agents all Cash Collateral therein without offset or deduction of any kind.

                  15.     Disposition of Prepetition Collateral. It shall constitute a Termination Event if

           the Debtors shall sell (including, without limitation, any sale and leaseback transaction), transfer

           (including any assignment of rights), lease, encumber, or otherwise dispose of any portion of the

           Prepetition Collateral or Adequate Protection Collateral, except as set forth in the Approved

           Budget, or as may be agreed in writing by the applicable Prepetition Agent(s) (with the consent of

           the applicable Required Lenders).

                  16.     Termination Events; Rights and Remedies Upon a Termination Event.

                          (a)     The earliest to occur of the following shall constitute a “Termination Event”

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           and the date on which such Termination Event occurs, the “Termination Date”: (i) the date that is

           thirty-five (35) calendar days after the Petition Date, if the Final Order, in form and substance

           acceptable to the Prepetition Agents (at the direction of the applicable Required Lenders), has not

           been entered by the Court by such date, (ii) the consummation of any sale of all or substantially

           all of the assets of, or equity interests in, the Debtors, (iii) the effective date of a chapter 11 plan

           of any of the Debtors, (iv) the Debtors’ failure to make any payment under this Interim Order or

           the Prepetition Loan Documents (as modified by paragraph 17(c) of this Interim Order) to any of

           the Prepetition Secured Parties as and when due and payable hereunder or thereunder (subject to

           any applicable grace period, if any, provided for in the Prepetition Credit Agreement) or to timely

           perform or comply with any other material term, provision, condition or obligation under this

           Interim Order within three (3) Business Days of Notice from the applicable Prepetition Secured

           Parties, (v) the filing by the Debtors of any motion without the prior written consent of Prepetition

           Agents (at the direction of the applicable Required Lenders) to obtain financing under section 364

           of the Bankruptcy Code that does not provide for the immediate payment in full in cash of all

           Prepetition Secured Obligations, (vi) the occurrence of any Event of Default under the Prepetition

           Bridge Credit Agreement (e) (as modified by paragraph 17(c) of this Interim Order and excluding

           (A) any requirements of the Debtors to obtain entry and comply with the terms of the DIP Orders, 5

           (B) the failure to deliver the audited financial statements required by Section 5.01(a) of the

           Prepetition Bridge Credit Agreement, and (C) the failure to pay Prepetition OpCo Obligations and

           Prepetition PropCo Obligations on a current basis; (vii) this Interim Order (or after entry of a Final




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               Under the Prepetition Bridge Credit Agreement, the “DIP Order” means, as the context may require, the Interim
               DIP Order or the Final DIP Order, whichever is then applicable. The Debtors are not seeking entry of an Interim
               DIP Order or Final DIP Order.
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           Order, the Final Order), having been stayed, vacated, reversed, or rescinded, or, without the prior

           written consent of the Prepetition Agents (at the direction of the Required Lenders), revised,

           amended, or modified, or the Debtors having filed or supported a motion or other pleading for

           entry of an order revoking, reversing, staying, vacating, terminating, extending, rescinding, or

           seeking reconsideration of any provision of this Interim Order (or after entry of a Final Order, the

           Final Order); (viii) the provisions of this Interim Order (or after entry of a Final Order, the Final

           Order) for any reason ceasing to be valid, binding, or enforceable against any of the Debtors, or

           any of the Debtors shall so state in writing, or shall commence or join in any legal proceeding to

           contest in any manner that this Interim Order (or after entry of a Final Order, the Final Order)

           constitutes a valid, binding, or enforceable obligation and liability of the Debtors; and (ix) any

           other event that is explicitly specified as a Termination Event herein.

                          (b)     Upon the occurrence of a Termination Event, without further notice to,

           hearing, or order from the Court, the automatic stay provisions of section 362 of the Bankruptcy

           Code shall be vacated and modified to the extent necessary to permit the Prepetition Agents, acting

           at the request of the applicable Required Lenders to (i) deliver to the Debtors a Termination Notice

           (as defined below) and (ii) declare the termination, restriction or revocation of the ability of the

           Debtors to use Cash Collateral, subject to paragraph 16(c) below.

                          (c)     In addition, upon the occurrence and during the continuation of a

           Termination Event, the Prepetition Agents, acting at the request of the applicable Required Lenders

           and subject to the Intercreditor Agreements, shall provide counsel to the Debtors, counsel for any

           Committee appointed in the Cases (if any), and the U.S. Trustee, five (5) business days’ prior

           written notice (the “Termination Notice”) (which may be provided by email or other electronic

           means) of the occurrence of the Termination Event. After such five (5) business day period

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           (the “Remedies Notice Period”), subject to paragraphs 16(d)-(f) below, without further notice to,

           hearing, or order from the Court, the automatic stay provisions of section 362 of the Bankruptcy

           Code shall be vacated and modified to the extent necessary to permit the Prepetition Agents, acting

           at the request of the applicable Required Lenders, to (i) freeze all monies or balances in any deposit

           accounts of the Debtors, (ii) immediately exercise any and all rights of set-off under, and in

           accordance with, the Prepetition Loan Documents, (iii) exercise any right or remedy against the

           Prepetition Collateral, including, without limitation, the disposition of Prepetition Collateral or

           Adequate Protection Collateral for application towards the applicable Prepetition Secured

           Obligations and Adequate Protection Superpriority Claims, respectively, or (iv) take any other

           action or exercise any other right or remedy permitted under the Prepetition Loan Documents, this

           Interim Order or applicable law.

                          (d)     During the Remedies Notice Period, the Debtors and/or any Committee

           shall be permitted to request an emergency hearing before the Court (which request must be made

           prior to the conclusion of the Remedies Notice Period, and shall seek consideration of such request

           on an expedited basis); provided that the only issue that may be raised by the Debtors at such

           hearing shall be whether a Termination Event has in fact occurred and is continuing.

                          (e)     During the Remedies Notice Period, the Debtors are permitted to use Cash

           Collateral to the extent granted herein and consistent with the Approved Budget (without any

           Permitted Variance) to fund expenses necessary in the ordinary course of business to preserve the

           value of the Debtors’ business, the Prepetition Collateral, and the Adequate Protection Collateral,

           as determined by the Debtors in their reasonable discretion and to fund the Carve Out Reserves in

           accordance with this Interim Order.

                          (f)     Unless the Court has determined that a Termination Event has not occurred

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           during the Remedies Notice Period (or if the Debtors do not contest the occurrence of the

           Termination Event during the Remedies Notice Period), upon the expiration of the Remedies

           Notice Period, without further notice to, hearing or order from the Court, the automatic stay as to

           the Prepetition Agents shall automatically be vacated and modified for the purpose of permitting

           the Prepetition Agents (acting at the request of the applicable Required Lenders) to exercise all

           rights and remedies available under or pursuant to this Interim Order, the Prepetition Loan

           Documents or applicable law with respect to the Prepetition Collateral and the Adequate Protection

           Collateral.

                          (g)     The Debtors shall reasonably cooperate with the Prepetition Secured Parties

           in their efforts to enforce their liens and security interests in the Adequate Protection Collateral

           and the Prepetition Collateral, as applicable, in accordance with this Interim Order and the

           Prepetition Loan Documents and (other than the right to contest whether a Termination Event has

           occurred) the Debtors shall not take or direct any entity to take any action designed or intended to

           hinder or restrict in any respect such party from enforcing its rights or remedies in the Adequate

           Protection Collateral or the Prepetition Collateral, as applicable.

                          (h)     Nothing included herein shall prejudice, impair, or otherwise affect the

           Prepetition Secured Parties’ rights to seek any other or supplemental relief in respect of the Debtors,

           the Prepetition Collateral or the Adequate Protection Collateral.

                  17.     Applications of Proceeds of Collateral, Payments, and Collections.

                          (a)     As a condition to the authorization to use Cash Collateral, each Debtor has

           agreed that all Cash Collateral and all proceeds of Prepetition Collateral or Adequate Protection

           Collateral (including proceeds realized from a sale or disposition thereof), any amounts held on

           account of the Prepetition Collateral or Adequate Protection Collateral, all payments and

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           collections received by the Debtors with respect to all Prepetition Collateral or Adequate

           Protection Collateral, and all other collections and proceeds, whether from ordinary course

           collections, asset sales, debt or equity issuances, insurance recoveries, condemnations or otherwise,

           shall only be used and applied in accordance with this Interim Order and consistent with the

           Approved Budget (subject to the Permitted Variance).

                          (b)     Subject to the Debtors’ rights under paragraph 16(e), upon and after the

           occurrence of the Termination Date, all proceeds of Prepetition Collateral and Adequate Protection

           Collateral, whenever received, shall be paid and applied in accordance with this Interim Order

           (including Annex 2 hereto), the Prepetition Loan Documents, and the Intercreditor Agreements.

                          (c)     Notwithstanding anything in this Interim Order or any of the Prepetition

           Loan Documents to the contrary, (i) the Debtors shall not be required to comply with Section

           2.10(b)(ii) of the Prepetition Bridge Credit Agreement (i.e., the excess cash flow sweep), (ii) the

           applicable Debtors shall not be obligated to pay amounts owed to other Debtors under the Master

           Lease Agreement, and such failure to pay amounts owed or otherwise perform under the Master

           Lease Agreement shall not be a Termination Event, (iii) the Debtors’ failure to repay the

           obligations under the Prepetition Facilities that automatically became due and payable as a result

           of the maturity of the Prepetition Facilities shall not be a Termination Event (but shall remain

           outstanding obligations under the Prepetition Facilities until repaid), and (iv) no Event of Default

           occurring under any Prepetition Loan Document resulting solely from the filing of these Chapter

           11 Cases or events leading up to the filing of these Chapter 11 Cases shall be a Termination Event.

                  18.     Proofs of Claim, etc. None of the Prepetition Secured Parties shall be required to

           file proofs of claim in any of the Cases or any Successor Cases for any claim allowed herein, and

           the Stipulations shall be deemed to constitute a timely filed proof of claim against each of the

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           applicable Debtors in the Cases. Notwithstanding any order entered by the Court in relation to the

           establishment of a bar date in any of the Cases or any Successor Cases to the contrary, each of the

           Prepetition Agents, on behalf of itself and the other applicable Prepetition Secured Parties, are

           hereby authorized and entitled, in each of their sole and absolute discretion, but not required, to

           file (and amend and/or supplement, as it sees fit) a master proof of claim and/or aggregate proofs

           of claim in each of the Cases or any Successor Cases for any claim allowed herein; for avoidance

           of doubt, any such proof of claim may in each case (but is not required to be) filed as one

           consolidated proof of claim against all of the Debtors, rather than as separate proofs of claim

           against each Debtor. Any proof of claim filed by any of the Prepetition Agents shall be deemed

           to be in addition to and not in lieu of any other proof of claim that may be filed by any of the

           Prepetition Secured Parties. Any order entered by the Court in relation to the establishment of a

           bar date for any claim (including without limitation administrative claims) in any of the Cases or

           any Successor Cases shall not apply to the Prepetition Agents or any of the other Prepetition

           Secured Parties. For the avoidance of doubt, none of the Prepetition Secured Parties will be

           required to file any request for allowance and/or payment of any administrative expenses, and this

           Interim Order shall be deemed to constitute a timely filed request for allowance and/or payment

           of any Prepetition Secured Obligations constituting administrative expenses.

                  19.     Fees and Expenses.

                          (a)    To the fullest extent provided in this Interim Order and in the other

           Prepetition Loan Documents, the Debtors shall pay all prepetition and postpetition fees and

           expenses incurred by the Prepetition Agents and the members of the Steering Committee

           (including, without limitation, the reasonable and documented fees and expenses of the

           Agent/Steering Committee Professionals), including in connection with (i) the administration of

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           the Prepetition Loan Documents, (ii) the Cases or any Successor Cases, and (iii) enforcement of

           any rights or remedies under the Prepetition Loan Documents. Payment of all such fees and

           expenses, and the fees and expenses of the Prepetition Agents and the members of the Steering

           Committee that are paid as adequate protection hereunder, shall not be subject to allowance (or

           disallowance) by the Court or restricted by the Approved Budget, and the Prepetition Agents, the

           members of the Steering Committee and the Agent/Steering Committee Professionals shall not be

           required to file an application seeking compensation for services or reimbursement of expenses

           with the Court or comply with the U.S. Trustee fee guidelines, but shall provide their fee and

           expense statements or invoices, in summary form, which shall not be required to contain time

           entries but shall include the number of hours billed by the applicable professional (except for

           financial advisors compensated on other than an hourly basis) and a summary statement of services

           provided and the expenses incurred (which may be redacted or modified to the extent necessary to

           delete any information subject to the attorney-client or other privilege, any information

           constituting attorney work product, or any other confidential or otherwise sensitive information,

           and the provision of such invoices shall not constitute any waiver of the attorney-client privilege

           or of any benefits of the attorney work product doctrine) to the Debtors, with copies to be provided

           to the Office of the U.S. Trustee and counsel for the Committee (if any) contemporaneously with

           the delivery of such fee and expense statements or invoices to the Debtors. The Debtors shall pay

           in cash all such reasonable and documented fees and expenses of all Agent/Steering Committee

           Professionals (i) promptly upon the entry of this Interim Order and (ii) thereafter, within ten (10)

           days of presentment of such statements or invoices (the “Review Period”), if no written objections

           to the reasonableness of the fees and expenses charged in any such statement or invoice (or portion

           thereof) is made. Any objection raised by the Debtors, the U.S. Trustee, or the Committee (if any)

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           with respect to such fee and expense statements or invoices (with notice of such objection provided

           to the Prepetition Agents and to the respective Agent/Steering Committee Professional) may be

           made solely during the Review Period and shall specify in writing the amount of the contested fees

           and expenses and the detailed basis for such objection. To the extent an objection contests only a

           portion of an invoice, the undisputed portion thereof shall be promptly paid. If any such objection

           to payment of an invoice (or any portion thereof) is not otherwise resolved between the Debtors,

           any Committee or the U.S. Trustee and the issuer of the invoice, either party may submit such

           dispute to the Court for a determination as to the reasonableness of the relevant disputed fees and

           expenses set forth in the invoice. The Court shall retain the jurisdiction to resolve any dispute as

           to the reasonableness of any fees and expenses. Such fees and expenses shall not be restricted by

           the Approved Budget and shall not be subject to any offset, defense, claim, counterclaim or

           diminution of any type, kind or nature whatsoever.

                  20.     Credit Bid.

                          (a)      The Prepetition Agents, at the direction of the applicable Required Lenders,

           shall have the right, but not the obligation, to credit bid (either directly or through one or more

           acquisition vehicles), up to the full amount of the applicable Prepetition Secured Obligations, and

           the Adequate Protection Superpriority Claims, or any of them, in connection with any sale of all

           or any portion of the Prepetition Collateral (and Adequate Protection Collateral with respect to any

           Adequate Protection Superpriority Claims), including (without limitation) any sale occurring

           pursuant to section 363 of the Bankruptcy Code or included as part of any chapter 11 plan subject

           to confirmation under section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code, by a chapter 7 trustee

           under section 725 of the Bankruptcy Code, or otherwise, without the need for further court order

           authorizing the same.

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                          (b)     No Debtor shall object to any Prepetition Secured Parties credit bidding up

           to the full amount of the applicable outstanding Prepetition Secured Obligations (including any

           Adequate Protection Superpriority Claims), in each case including any accrued interest, fees, and

           expenses, in any sale of any Prepetition Collateral (and Adequate Protection Collateral with respect

           to any Adequate Protection Superpriority Claims), as applicable, whether such sale is effectuated

           through sections 363 or 1129 of the Bankruptcy Code, by a chapter 7 trustee under section 725 of

           the Bankruptcy Code, or otherwise.

                  21.     No Requirement to Accept Title to Collateral. Except as may otherwise be

           agreed in writing, the Prepetition Secured Parties shall not be obligated to accept title to any

           portion of the respective Prepetition Collateral or any Adequate Protection Collateral in payment

           of the indebtedness owed to such parties by the Debtors, in lieu of payment in cash or cash

           equivalents, nor shall any of the Prepetition Secured Parties be obligated to accept payment in

           cash or cash equivalents that is encumbered by any interest of any person or entity other than the

           Prepetition Secured Parties.

                  22.     Limitation of Liability. Nothing in this Interim Order, any of the Prepetition Loan

           Documents, or any other documents related thereto shall in any way be construed or interpreted

           to impose or allow the imposition upon the Prepetition Secured Parties of any liability for any

           claims arising from any activities by the Debtors in the operation of their businesses or in

           connection with the administration of these Cases. The Prepetition Secured Parties shall not,

           solely by reason of having consented to the use of Cash Collateral, be deemed in control of the

           operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with

           respect to the operation or management of the Debtors (as such terms, or any similar terms, are

           used in the United States Comprehensive Environmental Response, Compensation and Liability

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           Act, 42 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute). Nothing in

           this Interim Order, or the Prepetition Loan Documents shall in any way be construed or interpreted

           to impose or allow the imposition upon the Prepetition Secured Parties of any liability for any

           claims arising from the prepetition or postpetition activities of any of the Debtors. Except as

           explicitly provided for herein or in any credit document, this Interim Order does not create any

           rights for the benefit of any third party, creditor, equity holder, or direct, indirect, or incidental

           beneficiary. In determining to permit the use of Cash Collateral or in exercising any rights or

           remedies as and when permitted pursuant to this Interim Order, the Prepetition Secured Parties

           shall not owe any fiduciary duty to the Debtors, their respective creditors, shareholders, or estates.

                  23.     Loss or Damage to Collateral. So long as the Prepetition Agents and the other

           Prepetition Secured Parties comply with their obligations under the Prepetition Loan Documents,

           (a) the Prepetition Secured Parties shall not, in any way or manner, be liable or responsible for (i)

           the safekeeping of the Prepetition Collateral or Adequate Protection Collateral, (ii) any loss or

           damage thereto occurring or arising in any manner or fashion from any cause, (iii) any diminution

           in value thereof, or (iv) any act or default of any carrier, servicer, bailee, custodian, forwarding

           agency, or other person and (b) all risk of loss, damage, or destruction of the Prepetition Collateral

           and Adequate Protection Collateral shall be borne by the Debtors.

                  24.     Insurance Policies. Upon entry of this Interim Order, the Prepetition Secured

           Parties shall be, and shall be deemed to be, without any further action or notice, named as

           additional insureds and loss payees, as applicable, on each insurance policy maintained now or in

           the future by any of the Debtors which in any way relates to the Prepetition Collateral and

           Adequate Protection Collateral, subject to the lien priorities set forth in this Interim Order

           (including Annex 2 hereto) and the Prepetition Loan Documents. Notwithstanding the foregoing,
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           the Debtors are authorized to take any reasonable actions that any Prepetition Agent may request,

           in its reasonable discretion at the direction of the Required Lenders, to be added as an additional

           insured and loss payee on each insurance policy.

                  25.     Payments Free and Clear. Any and all payments or proceeds remitted to the any

           Prepetition Agent on behalf of the respective Prepetition Secured Parties pursuant to the provisions

           of this Interim Order or the Prepetition Loan Documents shall be received free and clear of any

           claim, charge, assessment or other liability.

                  26.     Binding Effect. The provisions of this Interim Order shall be binding upon and

           inure to the benefit of the Prepetition Secured Parties, the Debtors, and their respective successors

           and assigns (including any trustee or other fiduciary hereinafter appointed as a legal representative

           of the Debtors or with respect to the property of the estates of the Debtors) whether in the Cases,

           in any Successor Cases, or upon dismissal of any such Chapter 11 or Chapter 7 cases.

                  27.     Discharge. None of the Prepetition Secured Obligations or the adequate protection

           obligations of the Debtors hereunder shall be discharged by the entry of an order confirming any

           plan of reorganization in any of the Cases, notwithstanding the provisions of section 1141(d) of

           the Bankruptcy Code, unless such obligations have been indefeasibly paid in full in cash (other

           than contingent indemnification obligations for which no claim has been asserted), on or before

           the effective date of such confirmed plan, unless the applicable Prepetition Agent (at the direction

           of the Required Lenders under the applicable Prepetition Facility) has agreed in writing.

                  28.     No Waiver. Notwithstanding anything herein, the entry of this Interim Order is

           without prejudice to, and does not constitute a waiver of, expressly or implicitly, or otherwise

           impair any of the rights, claims, privileges, objections, defenses or remedies of the Prepetition

           Secured Parties under the Bankruptcy Code or under any other law against any other person or

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           entity in any court, including without limitation, the rights of the Prepetition Agents (i) to seek

           any other or supplemental relief in respect of the Debtors, (ii) to request modification of the

           automatic stay of section 362 of the Bankruptcy Code, (iii) request dismissal of any of the Cases,

           conversion of any or all of the Cases to cases under chapter 7 of the Bankruptcy Code, or

           appointment of a chapter 11 trustee or examiner with expanded powers in any of the Cases, (iv) to

           propose, subject to the provisions of section 1121 of the Bankruptcy Code, any chapter 11 plan, or

           (v) to exercise any other rights, claims or privileges (whether legal, equitable or otherwise) on

           behalf of the Prepetition Secured Parties. Any delay or failure of the Prepetition Secured Parties

           to seek relief or otherwise exercise their rights and remedies under this Interim Order or the

           Prepetition Loan Documents or otherwise shall not constitute a waiver of any of the Prepetition

           Secured Parties’ rights hereunder, thereunder, or otherwise.

                   29.     No Third Party Rights. Except as explicitly provided for herein, this Interim

           Order does not create any rights for the benefit of any third party, creditor, equity holder or any

           direct, indirect, third party, or incidental beneficiary.

                   30.     Intercreditor Matters. Nothing in this Interim Order shall be construed to convey

           on any individual Prepetition Lender any consent, voting or other rights beyond those (if any) set

           forth in the Prepetition Loan Documents, as applicable. Except as expressly provided herein,

           nothing in this Interim Order shall be construed to impair, modify, or otherwise affect (i) the

           Intercreditor Agreements or (ii) any other intercreditor, subordination, or similar agreement or

           arrangement in respect of the Prepetition Secured Obligations, which in each case are enforceable

           to the fullest extent provided by section 510(a) of the Bankruptcy Code and applicable law.

                   31.     No Marshaling. Subject to the entry of the Final Order, and subject to the priorities

           set forth in this Interim Order (including Annex 2 hereto), in no event shall the Prepetition Secured

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           Parties be subject to the equitable doctrine of “marshaling” or any other similar doctrine with

           respect to any of the Prepetition Collateral.

                  32.     Section 552(b). The Prepetition Secured Parties shall each be entitled to all of the

           rights and benefits of section 552(b) of the Bankruptcy Code and, subject to the entry of the Final

           Order, the “equities of the case” exception under section 552(b) of the Bankruptcy Code shall not

           apply to the Prepetition Secured Parties with respect to any Prepetition Collateral, or any proceeds,

           product, offspring or profits thereof.

                  33.     Priority of Terms. To the extent of any conflict between or among (a) the express

           terms or provisions of the Motion, any other order of the Court (other than the Final Order when

           entered), or any other agreements, on the one hand, and (b) the terms and provisions of this Interim

           Order, on the other hand, the terms and provisions of this Interim Order shall govern.

                  34.     Survival of Interim Order. The provisions of this Interim Order and any actions

           taken pursuant hereto shall survive and continue in full force and effect, and shall not be modified,

           impaired or discharged by, any order which may be entered (i) confirming any chapter 11 plan in

           the Cases, (ii) converting any of the Cases to a case under chapter 7 of the Bankruptcy Code,

           (iii) dismissing any of the Cases, (iv) terminating the joint administration of these Cases,

           (v) providing for the substantive consolidation of the Debtors’ estates, (vi) withdrawing of the

           reference of any of the Cases from the Court, or (vii) providing for abstention from handling or

           retaining of jurisdiction of any of the Cases in the Court. The terms and provisions of this Interim

           Order, including any protections granted to or for the benefit of the Prepetition Secured Parties

           (including the Adequate Protection Liens and the Adequate Protection Superpriority Claims), shall

           continue in full force and effect notwithstanding the entry of such order, or in the event any or all

           of the provisions of this Interim Order are hereafter modified, amended, reversed, or vacated by a

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           subsequent order of the Court or any other court, and such protections for the Prepetition Secured

           Parties (including the Adequate Protection Liens and the Adequate Protection Superpriority

           Claims) shall maintain their priorities as provided by this Interim Order (including Annex 2 hereto),

           and the Prepetition Loan Documents (as the case may be), and including the Intercreditor

           Agreements, as applicable, until all of the Prepetition Secured Obligations have been indefeasibly

           paid and satisfied in full in cash and discharged.            The Court shall retain jurisdiction,

           notwithstanding any such dismissal, for the purpose of enforcing the claims, liens and security

           interests referred to in this paragraph 34.

                  35.     Enforceability.      This Interim Order shall constitute findings of fact and

           conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be fully enforceable

           nunc pro tunc to the Petition Date immediately upon execution hereof.

                  36.     Waiver of any Applicable Stay.            Any applicable stay (including, without

           limitation, under Bankruptcy Rule 6004(h)) is hereby waived and shall not apply to this Interim

           Order and this Interim Order shall be immediately effective and enforceable upon its entry.

                  37.     Headings. Paragraph headings used herein are for convenience only and are not to

           affect the construction of, or to be taken into consideration in, interpreting this Interim Order.

                  38.     Final Hearing.

                          (a)     The Final Hearing to consider entry of the Final Order is scheduled for

           [____________], 2023 at [__:__] a.m. (prevailing Eastern Time) at the United States Bankruptcy

           Court for the District of Delaware. If no objections to the relief sought in the Final Hearing are

           filed and served in accordance with this Interim Order, no Final Hearing may be held, and a

           separate Final Order may be presented by the Debtors and entered by the Court.



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                          (b)     On or before [______________], 2023, the Debtors shall serve, by United

           States mail, first-class postage prepaid, notice of the entry of this Interim Order and of the Final

           Hearing (the “Final Hearing Notice”), together with copies of this Interim Order and the Motion,

           on the Notice Parties and to any other party that has filed a request for notices with the Court prior

           thereto and to any Committee after the same has been appointed, or Committee counsel, if the

           same shall have been appointed. The Final Hearing Notice shall state that any party in interest

           objecting to the entry of the proposed Final Order shall file written objections with the Clerk of

           the Court no later than [____________], 2023 at [5:00] pm (prevailing Eastern Time), which

           objections shall be served so that the same are received on or before such date by: (a) counsel for

           the Debtors, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654, Attn: Ryan Blaine

           Bennett, P.C. and Whitney C. Fogelberg; (b) local counsel for the Debtors, Young Conaway

           Stargatt & Taylor, LLP Attn: Joseph M. Barry, 1000 North King Street, Wilmington, DE 19801;

           (c) counsel for the Prepetition Bridge Administrative Agent and the Prepetition Bridge PropCo

           Collateral Agent, White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020, Attn:

           Scott Greissman, Andrew Zatz, and Lisa Feld; (d) counsel for the Prepetition OpCo Agent and the

           Prepetition Bridge OpCo Collateral Agent, Sidley & Austin, LLP, 555 West 5th Street, Los

           Angeles, CA 90013, Attn: Jennifer Hagle; (e) counsel to the Prepetition PropCo Agent, Covington

           & Burling LLP, 620 Eighth Avenue, New York NY 10018, Attn: Ronald Hewitt and Martin Beeler,

           (f) counsel selected by any successor to any agent identified in clauses (c) through (e), (g) local

           counsel for the Prepetition Agents; (h) counsel to any Committee; and (i) the U.S. Trustee.

                  39.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce

           this Interim Order according to its terms.



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                                                            Annex 1

                                                          Stipulations


                   (a)     Prepetition PropCo Facility.

                                    (i)     Wawona Farm Co. LLC (“PropCo”), as borrower, each lender party

           thereto (the “Prepetition PropCo Lenders”), and Wilmington Trust, National Association, as

           successor to Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), as administrative

           agent and collateral agent (in such capacities, the “Prepetition PropCo Agent” 1 and, collectively

           with the Prepetition PropCo Lenders and all other Secured Parties under the Prepetition PropCo

           Credit Agreement (as defined herein), the “Prepetition PropCo Secured Parties”), are parties to

           that certain Amended and Restated Credit Agreement, dated as of September 13, 2019 (as

           amended, restated, supplemented or modified, including pursuant to that certain First Amendment

           to the Amended and Restated Credit Agreement, dated April 3, 2023, the “Prepetition PropCo

           Credit Agreement” and, together with the Prepetition PropCo Security Documents, and the other

           Loan Documents, in each case, as amended, restated, supplemented or modified, the “Prepetition

           PropCo Loan Documents”), which provided for a term loan facility in the aggregate principal

           amount of $340,000,000 (the “Prepetition PropCo Facility,” and the loans thereunder

           the “Prepetition PropCo Loans”).

                                    (ii)    Pursuant to that certain Amended and Restated Pledge Agreement,

           dated as of September 13, 2019, by and between MVK Intermediate Holdings LLC (“GroupCo”)

           and the Prepetition PropCo Agent, that certain Amended and Restated Pledge and Security

           Agreement, dated as of September 13, 2019, between PropCo and the Prepetition PropCo Agent,


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               On October 12, 2023, Wilmington Trust, N.A. replaced Rabobank as Prepetition PropCo Agent.
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           the Mortgages, and the other Security Documents, and the other Prepetition PropCo Loan

           Documents, the Prepetition PropCo Obligations (as defined herein) are secured by first priority

           liens on and security interests in (the “Prepetition PropCo Liens”) the Collateral, which includes

           substantially all of PropCo’s assets, including certain real property and other assets of PropCo,

           100% of the equity in PropCo, and all proceeds of any of the foregoing and any other assets subject

           to the Prepetition PropCo Liens and in each case in accordance with the terms of the Prepetition

           PropCo Loan Documents and subject to customary exceptions and permitted liens as set forth

           therein (collectively, the “Prepetition PropCo Collateral”).

                          (iii)   PropCo Obligations. As of the Petition Date, PropCo was justly and

           lawfully indebted and liable to the Prepetition PropCo Secured Parties under the Prepetition

           PropCo Credit Agreement, without objection, defense, counterclaim or offset of any kind, in the

           aggregate principal amount of not less than $292,188,383.19 plus all accrued and unpaid interest

           and any fees, expenses, indemnification obligations, guarantee obligations, reimbursement

           obligations (including, without limitation, any attorneys’, accountants’, consultants’, appraisers’

           and financial and other advisors’ fees that are chargeable to or reimbursable by PropCo), and all

           other Obligations (including, without limitation, all Bank Product Obligations), in each case under

           (and in each case as defined in) the Prepetition PropCo Credit Agreement (collectively,

           the “Prepetition PropCo Obligations”).

                          (iv)    Validity, Perfection, and Priority of Prepetition PropCo Liens. As of

           the Petition Date, (a) the Prepetition PropCo Liens on the Prepetition PropCo Collateral are valid,

           binding, enforceable, non-avoidable, and properly perfected and were granted to, or for the benefit

           of, the Prepetition PropCo Secured Parties for fair consideration and reasonably equivalent value;

           (b) the Prepetition PropCo Liens are senior in priority over any and all other liens on the Prepetition


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           PropCo Collateral, subject only to certain liens otherwise permitted by the Prepetition PropCo

           Loan Documents (solely to the extent any such permitted liens were valid, properly perfected, non-

           avoidable, and senior in priority to the Prepetition PropCo Liens as of the Petition Date) and the

           terms of the Intercreditor Agreements; (c) the Prepetition PropCo Obligations constitute legal,

           valid, binding, and non-avoidable obligations of the Debtors enforceable in accordance with the

           terms of the Prepetition PropCo Loan Documents; (d) no offsets, recoupments, challenges,

           objections, defenses, claims, or counterclaims of any kind or nature to any of the Prepetition

           PropCo Liens or Prepetition PropCo Obligations exist, and no portion of the Prepetition PropCo

           Liens or Prepetition PropCo Obligations is subject to any challenge or defense including avoidance,

           disallowance, disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant

           to the Bankruptcy Code or any other applicable law; (e) the Debtors and their estates have no

           claims, objections, challenges, causes of action, and/or choses in action, including avoidance

           claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

           recovery or disgorgement, against any of the Prepetition PropCo Secured Parties or any of their

           respective affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees

           arising out of, based upon or related to the Prepetition PropCo Facility; (f) the Debtors have waived,

           discharged, and released any right to challenge any of the Prepetition PropCo Obligations, the

           priority of the Debtors’ obligations thereunder, and the validity, extent, perfection and priority of

           the liens securing the Prepetition PropCo Obligations; and (g) the Prepetition PropCo Obligations

           constitute allowed, secured claims within the meaning of sections 502 and 506 of the Bankruptcy

           Code.

                   (b)    Prepetition OpCo Facility.

                                  (i)     Wawona Packing Co. LLC (“OpCo”) and GroupCo, as borrowers


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           (together, the “OpCo Borrowers”), each lender party thereto (the “Prepetition OpCo Lenders”),

           and Royal Bank of Canada (“RBC”), as administrative agent and collateral agent (in such

           capacities, the “Prepetition OpCo Agent” and, collectively with the Prepetition OpCo Lenders and

           all other Secured Parties under the Prepetition OpCo Credit Agreement (as defined herein),

           the “Prepetition OpCo Secured Parties”), are parties to that certain Credit Agreement, dated as of

           September 13, 2019 (as amended, restated, supplemented or modified, including pursuant to that

           First Amendment to the Credit Agreement dated April 3, 2023, the “Original Prepetition OpCo

           Credit Agreement”), which provided for a revolving credit facility in the aggregate principal

           amount of $60,000,000 (which includes a $1,000,000 letter of credit facility) (the “Prepetition

           OpCo Revolving Credit Facility”) and a term loan facility in the aggregate principal amount

           of $335,000,000 (the “Prepetition OpCo Term Loan Facility”).

                                 (ii)    The OpCo Borrowers, certain of the Prepetition OpCo Lenders, and

           the Prepetition OpCo Agent are parties to that certain Incremental Revolving Credit Agreement,

           dated May 26, 2020 (as amended, restated, supplemented or modified and, together with the

           Original Prepetition OpCo Credit Agreement, the “Prepetition OpCo Credit Agreements”),

           pursuant to which additional revolving loans were made available to the OpCo Borrowers in the

           aggregate principal amount of up to $25,000,000 (collectively with the Prepetition OpCo

           Revolving Credit Facility and the Prepetition OpCo Term Loan Facility, the “Prepetition OpCo

           Facility,” and the loans under the Prepetition OpCo Facility, the “Prepetition OpCo Loans”).

                                 (iii)   Pursuant to that certain Subsidiary Guaranty, dated as of

           September 13, 2019 (as amended, restated, supplemented or modified, the “Prepetition OpCo

           Guaranty”), certain subsidiaries of the OpCo Borrowers party thereto (together with the OpCo

           Borrowers, the “OpCo Obligors”) guaranteed on a joint and several basis the Prepetition OpCo


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           Obligations (as defined herein), which guaranty is secured by the Prepetition OpCo Collateral (as

           defined herein).

                                     (iv)     Pursuant to that certain Pledge and Security Agreement, dated as of

           September 13, 2019, by and among the OpCo Obligors and the Prepetition OpCo Agent, that

           certain Trademark Security Agreement, dated September 13, 2019, by and among OpCo and

           Gerawan Farming LLC in favor of the Prepetition OpCo Agent, and that certain Patent Security

           Agreement, dated September 13, 2019, by and among OpCo and Gerawan Farming LLC in favor

           of the Prepetition OpCo Agent, and the other Security Documents, and the other Prepetition OpCo

           Loan Documents, the Prepetition OpCo Obligations are secured by first priority liens on and

           security interests in (the “Prepetition OpCo Liens”) the Collateral, which includes substantially all

           of the OpCo Obligors’ assets, and all proceeds of any of the foregoing and any other assets subject

           to the Prepetition OpCo Liens and in each in accordance with the terms of the Prepetition OpCo

           Loan Documents and subject to customary exceptions and permitted liens as set forth therein

           (the “Prepetition OpCo Collateral”).

                            (v)      OpCo Obligations. As of the Petition Date, the OpCo Obligors were justly

           and lawfully indebted and liable to the Prepetition OpCo Secured Parties under the Prepetition

           OpCo Credit Agreements, without objection, defense, counterclaim or offset of any kind, in the

           aggregate principal amount of not less than $281,535,545.21 2 on account of amounts outstanding

           under the Prepetition OpCo Facility plus all accrued and unpaid interest, and any fees, expenses,

           indemnification obligations, guarantee obligations, reimbursement obligations (including, without

           limitation, any attorneys’, accountants’, consultants’, appraisers’ and financial and other advisors’


           2
               The aggregate principal amount of Prepetition OpCo Loans reflects $35,992,786 outstanding on account of the
               Prepetition OpCo Revolving Credit Facility (which includes issued but undrawn letters of credit in an aggregate
               amount of $901,536) and $245,542,759 outstanding on account of the Prepetition OpCo Term Loan Facility, in
               each case after giving effect to the Prepetition Bridge OpCo Roll-Up Loans.
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           fees that are chargeable to or reimbursable by the OpCo Obligors), and all other Obligations

           (including, without limitation, all Bank Product Obligations), in each case under (and in each case

           as defined in) the Prepetition OpCo Credit Agreements (collectively, the “Prepetition OpCo

           Obligations”).

                            (vi)   Validity, Perfection, and Priority of Prepetition OpCo Liens. As of the

           Petition Date, (a) the Prepetition OpCo Liens on the Prepetition OpCo Collateral are valid, binding,

           enforceable, non-avoidable, and properly perfected and were granted to, or for the benefit of, the

           Prepetition OpCo Secured Parties for fair consideration and reasonably equivalent value; (b) the

           Prepetition OpCo Liens are senior in priority over any and all other liens on the Prepetition OpCo

           Collateral, subject only to certain liens otherwise permitted by the Prepetition OpCo Loan

           Documents (solely to the extent any such permitted liens were valid, properly perfected, non-

           avoidable, and senior in priority to the Prepetition OpCo Liens as of the Petition Date) and to the

           terms of the Intercreditor Agreements; (c) the Prepetition OpCo Obligations constitute legal, valid,

           binding, and non-avoidable obligations of the Debtors enforceable in accordance with the terms of

           the Prepetition OpCo Loan Documents; (d) no offsets, recoupments, challenges, objections,

           defenses, claims, or counterclaims of any kind or nature to any of the Prepetition OpCo Liens or

           Prepetition OpCo Obligations exist, and no portion of the Prepetition OpCo Liens or Prepetition

           OpCo Obligations is subject to any challenge or defense including avoidance, disallowance,

           disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant to the

           Bankruptcy Code or any other applicable law; (e) the Debtors and their estates have no claims,

           objections, challenges, causes of action, and/or choses in action, including avoidance claims under

           Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for recovery or

           disgorgement, against any of the Prepetition OpCo Secured Parties or any of their respective


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           affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees arising out

           of, based upon or related to the Prepetition OpCo Facility; (f) the Debtors have waived, discharged,

           and released any right to challenge any of the Prepetition OpCo Obligations, the priority of the

           Debtors’ obligations thereunder, and the validity, extent, perfection and priority of the liens

           securing the Prepetition OpCo Obligations; and (g) the Prepetition OpCo Obligations constitute

           allowed, secured claims within the meaning of sections 502 and 506 of the Bankruptcy Code.

                   (c)      Prepetition Bridge Facility.

                                     (i)      OpCo, PropCo, and GroupCo, as borrowers (the “Bridge

           Borrowers”), Rabobank, as administrative agent (in such capacity, the “Prepetition Bridge

           Administrative Agent”) and as collateral agent with respect to the Prepetition PropCo Collateral

           (as defined herein) (in such capacity, the “Prepetition Bridge PropCo Collateral Agent”), RBC, as

           collateral agent with respect to the Prepetition OpCo Collateral (as defined herein) (in such

           capacity, the “Prepetition Bridge OpCo Collateral Agent” and, together with the Prepetition Bridge

           PropCo Collateral Agent, the “Prepetition Bridge Collateral Agents”), 3 the lenders party thereto

           (the “Prepetition Bridge Lenders” and, collectively with the Prepetition PropCo Lenders and the

           Prepetition OpCo Lenders, the “Prepetition Lenders”), 4 and Rabobank and RBC, as joint lead

           arrangers and joint bookrunners, are parties to that certain Senior Secured Credit Agreement, dated

           April 3, 2023 (as amended, restated, supplemented or modified, the “Prepetition Bridge Credit

           Agreement” and, collectively with the Prepetition PropCo Credit Agreement and the Prepetition

           OpCo Credit Agreement, the “Prepetition Credit Agreements”).




           3
               The Prepetition Bridge Collateral Agents, collectively with the Prepetition PropCo Agent, the Prepetition OpCo
               Agent and the Prepetition Bridge Administrative Agent, shall be referred to herein as the “Prepetition Agents.”
           4
               The Prepetition Lenders, together with the Prepetition Agents, shall be referred to herein as the “Prepetition
               Secured Parties.”
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                                  (ii)    Pursuant to the Prepetition Bridge Credit Agreement and the other

           Loan Documents, including the Prepetition Bridge Guaranty (as defined herein) and the Security

           Documents (the “Prepetition Bridge Loan Documents” and, collectively with the Prepetition

           PropCo Loan Documents and the Prepetition OpCo Loan Documents, the “Prepetition Loan

           Documents”), prior to the Petition Date, (1) the Prepetition Bridge Lenders made new money term

           loans available in an aggregate principal amount of up to $100,000,000 (the “Prepetition New

           Money Bridge Loans”) and (2) each Prepetition Bridge Lender’s Prepetition OpCo Loans or

           Prepetition PropCo Loans (at such Prepetition Bridge Lender’s election) were to be converted into

           loans under the Prepetition Bridge Credit Agreement in an amount commensurate with the

           Prepetition New Money Bridge Loans provided by such Prepetition Bridge Lender (respectively,

           the “Prepetition Bridge OpCo Roll-Up Loans” and the “Prepetition Bridge PropCo Roll-Up Loans,”

           together, the “Prepetition Bridge Roll-Up Loans” and, collectively with the Prepetition New

           Money Bridge Loans, the “Prepetition Bridge Loans”).

                                  (iii)   Pursuant to that certain Guaranty Agreement, dated as of

           April 3, 2023 (as amended, restated, supplemented or modified, the “Prepetition Bridge

           Guaranty”), the Subsidiary Guarantors unconditionally guaranteed on a joint and several basis the

           Prepetition Bridge Loan Obligations (as defined herein), which guaranty is secured by the

           Prepetition Bridge Collateral (as defined herein).

                                  (iv)    Pursuant to that certain Pledge and Security Agreement, dated as of

           April 3, 2023, the other Security Documents, and the other Prepetition Bridge Loan Documents,

           the Prepetition Bridge Loan Obligations owed to the Prepetition Bridge Secured Parties are secured

           by first priority liens on and security interests in (the “Prepetition Bridge Liens” and, collectively

           with the Prepetition PropCo Liens and the Prepetition OpCo Liens, the “Prepetition Liens”) on all


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           of the Collateral, which includes substantially all of the Bridge Loan Parties’ assets and all

           proceeds of any of the foregoing and any other assets subject to the Prepetition Bridge Liens and

           in each case in accordance with the terms of the Prepetition Bridge Loan Documents and subject

           to customary exceptions and permitted liens as set forth therein (the “Prepetition Bridge Collateral”

           and, collectively with the Prepetition PropCo Collateral and the Prepetition OpCo Collateral,

           the “Prepetition Collateral”), subject to the terms of the Intercreditor Agreements (as defined

           herein).

                          (v)     Prepetition Bridge Loan Obligations. As of the Petition Date, the Debtors

           were justly and lawfully indebted and liable to the Prepetition Bridge Secured Parties under the

           Prepetition Bridge Credit Agreement, without objection, defense, counterclaim or offset of any

           kind, in the aggregate principal amount of not less than $104,994,305 in the aggregate, consisting

           of (1) $23,494,304.60 on account of Prepetition New Money Bridge Loans, (2) $0 on account of

           Prepetition PropCo Loans converted into Prepetition Bridge Roll-Up Loans (“Prepetition PropCo

           Bridge Roll-Up Loans”), and (3) $81,500,000 on account of Prepetition OpCo Loans converted

           into Prepetition Bridge Roll-Up Loans (“Prepetition OpCo Bridge Roll-Up Loans”), plus all

           accrued and unpaid interest, and any fees, expenses, indemnification obligations, guarantee

           obligations, reimbursement obligations (including, without limitation, any attorneys’, accountants’,

           consultants’, appraisers’ and financial and other advisors’ fees that are chargeable to or

           reimbursable by the Debtors), and all other Obligations, in each case outstanding as of the Petition

           Date under the Prepetition Bridge Credit Agreement (collectively, the “Prepetition Bridge Loan

           Obligations” and, collectively with the Prepetition PropCo Obligations and the Prepetition OpCo

           Obligations, the “Prepetition Secured Obligations”).

                          (vi)    Validity, Perfection, and Priority of Prepetition Bridge Liens. As of the


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           Petition Date, (a) the Prepetition Bridge Liens on the Prepetition Bridge Collateral are valid,

           binding, enforceable, non-avoidable, and properly perfected and were granted to, or for the benefit

           of, the Prepetition Bridge Secured Parties for fair consideration and reasonably equivalent value;

           (b) the Prepetition Bridge Liens are senior in priority over any and all other liens on the Prepetition

           Bridge Collateral, subject only to certain liens otherwise permitted by the Prepetition Bridge Loan

           Documents (solely to the extent any such permitted liens were valid, properly perfected, non-

           avoidable, and senior in priority to the Prepetition Bridge Loan Obligations as of the Petition Date)

           the terms of the Intercreditor Agreements; (c) the Prepetition Bridge Loan Obligations constitute

           legal, valid, binding, and non-avoidable obligations of the Debtors enforceable in accordance with

           the terms of the Prepetition Bridge Loan Documents; (d) no offsets, recoupments, challenges,

           objections, defenses, claims, or counterclaims of any kind or nature to any of the Prepetition Bridge

           Liens or Prepetition Bridge Loan Obligations exist, and no portion of the Prepetition Bridge Liens

           or Prepetition Bridge Loan Obligations is subject to any challenge or defense including avoidance,

           disallowance, disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant

           to the Bankruptcy Code or any other applicable law; (e) the Debtors and their estates have no

           claims, objections, challenges, causes of action, and/or choses in action, including avoidance

           claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

           recovery or disgorgement, against any of the Prepetition Bridge Secured Parties or any of their

           respective affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees

           arising out of, based upon or related to the Prepetition Bridge Loan Obligations; (f) the Debtors

           have waived, discharged, and released any right to challenge any of the Prepetition Bridge Loan

           Obligations, the priority of the Debtors’ obligations thereunder, and the validity, extent, perfection

           and priority of the liens securing the Prepetition Bridge Loan Obligations; and (g) the Prepetition


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           Bridge Loan Obligations constitute allowed, secured claims within the meaning of sections 502

           and 506 of the Bankruptcy Code.

                          (d)     Intercreditor Agreements

                                  (i)     The rights of the Prepetition Bridge Secured Parties in respect of the

           Prepetition Bridge Loan Obligations and the Prepetition Bridge Liens, on the one hand, and the

           Prepetition PropCo Secured Parties in respect of the Prepetition PropCo Obligations and

           Prepetition PropCo Liens to the Prepetition Bridge Collateral and the priority of their respective

           rights to and security interests in the Prepetition Bridge Collateral, on the other hand, are set forth

           in (1) that certain Senior Intercreditor Agreement, dated April 3, 2023, among the Prepetition

           PropCo Agent, the Prepetition Bridge PropCo Collateral Agent and PropCo and (2) that certain

           Pari Passu Intercreditor Agreement, dated April 3, 2023, among the Prepetition PropCo Agent, the

           Prepetition Bridge PropCo Collateral Agent and PropCo (in each case, as amended, restated,

           supplemented or modified, together, the “PropCo Intercreditor Agreements”).

                          (ii)    The rights of the Prepetition Bridge Secured Parties in respect of the

           Prepetition Bridge Loan Obligations and the Prepetition Bridge Liens, on the one hand, and the

           Prepetition OpCo Secured Parties in respect of the Prepetition OpCo Obligations and Prepetition

           OpCo Liens to the Prepetition Bridge Collateral, and the priority of their respective rights to and

           security interests in the Prepetition Bridge Collateral, on the other hand, are set forth in (1) that

           certain Senior Intercreditor Agreement, dated April 3, 2023, among the Prepetition OpCo Agent,

           the Prepetition Bridge OpCo Collateral Agent and the OpCo Borrowers and (2) that certain Pari

           Passu Intercreditor Agreement, dated April 3, 2023, among the Prepetition OpCo Agent, the

           Prepetition Bridge OpCo Collateral Agent and the OpCo Borrowers (in each case, as amended,

           restated, supplemented or modified and, collectively with the PropCo Intercreditor Agreements,


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           the “Intercreditor Agreements”).

                  (e)     Indemnity. The Prepetition Secured Parties have acted in good faith, and without

           negligence, misconduct or violation of public policy or law, in respect of all actions taken by them

           in connection with or related in any way to negotiating, implementing, documenting or obtaining

           requisite approvals for the use of Cash Collateral, including in respect to the granting any Adequate

           Protection Liens, any challenges or objections to the use of Cash Collateral, and all other

           documents related to and all transactions contemplated by the foregoing. Accordingly, without

           limitation to any other right to indemnification (including any and all rights of the Prepetition

           Secured Parties to indemnification under the Prepetition Credit Agreements), the Prepetition

           Secured Parties are hereby indemnified and held harmless by the Debtors in respect of any claim

           or liability incurred in respect thereof or in any way related thereto in accordance with the terms

           of the Prepetition Loan Documents. No exception or defense in contract, law or equity exists as

           of the date of this Interim Order to any obligation set forth, as the case may be, in this clause (iv),

           or in the Prepetition Loan Documents to indemnify and/or hold harmless the Prepetition Secured

           Parties, as the case may be, and any such defenses are hereby waived.

                  (f)     No Control. None of the Prepetition Secured Parties are control persons or insiders

           of the Debtors or any of their affiliates by virtue of any of the actions taken with respect to, in

           connection with, related to, or arising from the Prepetition Facilities, the Prepetition Bridge Loans,

           and/or the Prepetition Loan Documents.

                  (g)     No Claims or Causes of Action. As of the date hereof, there exist no claims or

           causes of action against any of the Prepetition Secured Parties with respect to, in connection with,

           related to, or arising from the Prepetition Loans, the Prepetition Secured Obligations, the




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           Prepetition Liens, the Prepetition Loan Documents and/or the Prepetition Facilities that may be

           asserted by the Debtors or, to the Debtors’ knowledge, any other person or entity.

                  (h)     Cash Collateral. All of the Debtors’ cash, including, without limitation, the cash

           in their deposit accounts, wherever located, whether as original collateral or proceeds of other

           Prepetition Collateral, constitutes “cash collateral” within the meaning of section 363(a) of the

           Bankruptcy Code and is Prepetition Collateral of the Prepetition Secured Parties.

                  (i)     Release. The Debtors, on behalf of themselves and their respective estates, forever

           and irrevocably release, discharge, and acquit all former, current and future Prepetition Secured

           Parties, all holders of participation interests under the Prepetition Credit Agreements, and each of

           the former, current and future officers, employees, directors, agents, representatives, owners,

           members, partners, financial and other advisors and consultants, legal advisors, shareholders,

           managers, consultants, accountants, attorneys, affiliates, and predecessors and successors in

           interest of each Prepetition Secured Party and of each of their respective affiliates, in each case in

           its respective capacity as such (collectively, the “Releasees”) of and from any and all claims,

           demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness and

           obligations, rights, assertions, allegations, actions, suits, controversies, proceedings, losses,

           damages, injuries, attorneys’ fees, costs, expenses, or judgments of every type, whether known,

           unknown, asserted, unasserted, suspected, unsuspected, accrued, unaccrued, fixed, contingent,

           pending or threatened including (without limitation) all legal and equitable theories of recovery,

           arising under common law, equity, statute or regulation or by contract, of every nature and

           description, arising out of, in connection with, or relating to the Prepetition Secured Obligations,

           the Prepetition Loan Documents and/or the transactions contemplated hereunder or thereunder

           including, without limitation, (x) any so-called “lender liability” or equitable subordination claims


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           or defenses, (y) any and all claims and causes of action arising under the Bankruptcy Code, and

           (z) any and all claims and causes of action with respect to the validity, priority, perfection or

           avoidability of the liens or claims of the Prepetition Secured Parties. The Debtors further waive

           and release any defense, right of counterclaim, right of setoff or deduction of the payment of any

           of the Prepetition Secured Obligations that the Debtors now have or may claim to have against the

           Releasees arising out of, connected with, or relating to any and all acts, omissions or events

           occurring prior to the entry of this Interim Order.

                  (j)     Sale and Credit Bidding. The Debtors admit, stipulate, acknowledge, and agree

           that the Prepetition Secured Parties shall have the right, but not the obligation, to credit bid

           (independently or together) up to the full amount of the applicable outstanding Prepetition Secured

           Obligations (including any Adequate Protection Superpriority Claims) in each case, including,

           without limitation, any accrued interest and expenses, in a sale of any Prepetition Collateral (and

           Adequate Protection Collateral with respect to any Adequate Protection Superpriority Claims), as

           applicable, and whether such sale is effectuated through sections 363 or 1129 of the Bankruptcy

           Code, or otherwise.




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                                                   Annex 2

                                                Lien Priorities




                                                              All other Prepetition   Adequate Protection
  Priority      OpCo Collateral        PropCo Collateral            Collateral        Collateral other than
                                                                                      Prepetition Collateral

 First       Prepetition Bridge Liens Prepetition Bridge      Prepetition Bridge      Adequate Protection
             securing Prepetition     Liens securing          Liens securing          Liens securing
             New Money Bridge         Prepetition New         Prepetition New         Prepetition New Money
             Loans (and related       Money Bridge Loans      Money Bridge Loans      Bridge Loans
             adequate protection      (and related adequate   (and related adequate
             liens)                   protection liens)       protection liens)

 Second      Prepetition Bridge Liens Prepetition Bridge      Prepetition Bridge      Adequate Protection
             securing Prepetition     Liens securing          Liens securing          Liens securing
             Bridge OpCo Roll-Up Prepetition Bridge           Prepetition Bridge      Prepetition Bridge Roll-
             Loans (and related       PropCo Roll-Up          Roll-Up Loans (and      Up Loans
             adequate protection      Loans (and related      related adequate
             liens)                   adequate protection     protection liens)
                                      liens)
 Third       Prepetition OpCo Liens Prepetition PropCo        PropCo Adequate        PropCo Adequate
             (and related adequate    Liens (and related      Protection Liens and Protection Liens and
             protection liens)        adequate protection     OpCo Adequate          OpCo Adequate
                                      liens)                  Protection Liens (on a Protection Liens (on a
                                                              pari passu basis)      pari passu basis)

 Fourth      Prepetition Bridge Liens Prepetition Bridge
             securing Prepetition     Liens securing
             Bridge PropCo Roll-Up Prepetition Bridge
             Loans (and related       OpCo Roll-Up Loans
             adequate protection      (and related adequate
             liens)                   protection liens)


 Fifth       PropCo Adequate          OpCo Adequate
             Protection Liens         Protection Liens




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                                                     Annex 3

                                                   Milestones


           •   On or before the date falling five (5) days after the Petition Date, the Debtors shall file a
               motion (the “Bidding Procedures Motion”) seeking approval of bidding procedures in form
               and substance reasonably satisfactory to the Prepetition Agents (at the direction of the
               applicable Required Lenders)

           •   On or before the date falling thirty-five (35) days after the Petition Date, the Final Order
               shall have been entered by the Bankruptcy Court

           •   On or before the date falling twenty-eight (28) days after the Petition Date, the Bankruptcy
               Court shall have entered an order approving the Bidding Procedures Motion, substantially
               in a form acceptable the Prepetition Agents (at the direction of the applicable Required
               Lenders) (the “Bidding Procedures Order”)

           •   The Debtors shall comply with all of their obligations under the Bidding Procedures Order,
               including any deadline described therein.




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                                                        Annex 4

                                                       Definitions

           “Approved Budget Variance Report” means a weekly report (i) provided by Borrowers to the
           Administrative Agent (a) setting forth in reasonable detail actual operating receipts, operating
           disbursements and non-operating disbursements for the applicable Budget Period and all budget
           variances, in each case, on both an individual line item basis and an aggregate basis, as compared
           to the projected amounts set forth in the then applicable Approved Budget (which budget variances
           shall be tested such that in week 1 of each then applicable Budget Period, only week 1 variances
           are tested; in week 2 of each then applicable Budget Period, weeks 1 and 2 variances are tested on
           a cumulative basis; in week 3 of each then applicable Budget Period, weeks 1 through 3 variances
           are tested on a cumulative basis; and in week 4 of each then applicable Budget Period, weeks 1
           through 4 variances are tested on a cumulative basis) and including indications as to whether each
           variance therein is temporary or permanent and an explanation, in reasonable detail, of any material
           variance, and (b) an analysis demonstrating that the Company is in compliance with the budget
           covenants set forth in Section 5.11 in the Prepetition Bridge Credit Agreement, and (ii) certified
           by a Responsible Officer of Borrowers. The Approved Budget Variance Report shall be in a form,
           and shall contain supporting information, reasonably satisfactory to the Agents (at the direction of
           the Required Lenders).

           “Bank Product Obligations” means all obligations, liabilities, reimbursement obligations, fees, or
           expenses owing by the Company or its Subsidiaries to any Bank Product Provider pursuant to or
           evidenced by a Bank Product Agreement and irrespective of whether for the payment of money,
           whether direct or indirect, absolute or contingent, due or to become due, now existing or hereafter
           arising, to any Person permitted to be a secured party in respect of such obligations under the
           applicable Junior Lien Loan Documents.

           “Bankruptcy Cases” means the Borrowers and certain of the Borrowers’ affiliates’ chapter 11
           cases commenced under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532,
           in the United States Bankruptcy Court for the District of Delaware.

           “Borrower” means MVK Intermediate Holdings LLC, Wawona Packing Co. LLC, Wawona Farm
           Co. LLC.

           “Bridge Loan Parties” means the Bridge Borrowers (as defined in the Interim Order) and the
           Subsidiary Guarantors.

           “Collateral”:

           Under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition Bridge Facility, has the meanings set forth in each Security
           Document; provided that, following the Petition Date, “Collateral” shall also mean
           “DIP Collateral” as defined in the DIP Order.

           Under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition OpCo Facility (as defined in the Interim Order) means the

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           property over which a Lien has been or is intended to be granted to Administrative Agent pursuant
           to the Security Documents.

           Under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition PropCo Facility (as defined in the Interim Order) means
           the property over which a Lien has been or is intended to be granted to Administrative Agent
           pursuant to the Security Documents.

           “Company” or “Companies” means GroupCo, Wawona, PropCo and each of their respective
           Subsidiaries.

           “DIP Order” is defined under the Prepetition Bridge Credit Agreement (as defined in the Interim
           Order) as the “Interim DIP Order” or the “Final DIP Order,” as the context may require. Currently,
           the Debtors are not seeking entry of an Interim DIP Order or Final DIP Order.

           If any of the following events (each such an event, an “Event of Default”) shall occur:

           1.     Obligors shall fail to pay any principal of any Loan when and as the same shall become
                  due and payable, whether at the due date thereof or at a date fixed for prepayment thereof
                  or otherwise;

           2.     Obligors shall fail to pay any interest on any Loan or any fee or any other amount (other
                  than an amount referred to in clause (a) of this Section) payable under this Agreement or
                  under any other Loan Document, when and as the same shall become due and payable, and
                  such failure shall continue unremedied for a period of three or more Business Days;

           3.     any information contained in any Compliance Certificate or Approved Budget Variance
                  Report or any certification, representation, or warranty made or deemed made by or on
                  behalf of any Obligor in or in connection with this Agreement or any other Loan Document
                  or in any report, certificate, financial statement, or other document furnished pursuant to
                  or in connection with this Agreement or any other Loan Document, shall prove to have
                  been incorrect in any material respect when made or deemed made (unless any such
                  certification, representation or warranty is qualified as to prove materiality or as to Material
                  Adverse Effect, in which case such certification, representation and warranty shall to have
                  been incorrect in any respect);

           4.     any Obligor shall fail to observe or perform any covenant, condition or agreement
                  contained in (i) Section 5.01 and such failure shall continue unremedied for a period of 5
                  or more Business Days, (ii) Section 5.10, Section 5.14, Section 5.15 or Section 5.20 and,
                  in each case, such failure shall continue unremedied for a period of 10 or more Business
                  Days, or (iii) Section 5.02, Section 5.03 (with respect to any Obligor’s existence), Section
                  5.05, Section 5.11, Section 5.12, Section 5.13, Section 5.16, Section 5.17, Section 5.18,
                  Section 5.19, Article VI, or Article VII, or any Obligor shall default in the performance of
                  any of its material obligations contained in any of the Security Documents;

           5.     any Obligor shall fail to observe or perform any covenant, condition or agreement
                  contained in this Agreement (other than those specified in clause (a), (b), or (d) of this

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                Section) or any other Loan Document and such failure shall continue unremedied for a
                period of 30 or more days;

           6.   except as otherwise expressly provided herein, and if the Obligors have not filed the
                Bankruptcy Cases, any Obligor shall fail to make any payment (including of principal or
                interest and regardless of amount) in respect of any Material Indebtedness, when and as the
                same shall become due and payable (after giving effect to any applicable notice
                requirement, grace period or forbearance);

           7.   any event or condition (other than any Event of Default (as defined in the Existing Credit
                Agreements)) occurs that results in any Material Indebtedness (other than the Obligations)
                becoming due prior to its scheduled maturity or that enables or permits (with or without
                the giving of notice, the lapse of time or both) the holder or holders of any such Material
                Indebtedness or any trustee or agent on its or their behalf to cause any such Material
                Indebtedness to become due, or to require the prepayment, repurchase, redemption or
                defeasance thereof, prior to its scheduled maturity (after giving effect to any applicable
                notice requirement or grace period); provided that this clause (g) shall not apply to (i)
                secured Indebtedness that becomes due as a result of the voluntary sale or transfer of the
                property securing such Indebtedness in a transaction permitted hereunder and (if
                applicable) permitted by the DIP Order and (ii) if the Obligors have filed Bankruptcy
                Cases, any defaults that occur solely as a result of the commencement of the Bankruptcy
                Cases;

           8.   an involuntary proceeding shall be commenced or an involuntary petition shall be filed
                seeking (i) liquidation, reorganization, conservatorship, bankruptcy, assignment for the
                benefit of creditors, moratorium, rearrangement, receivership, insolvency or other relief in
                respect of any Obligor or any of its Subsidiaries or debts, or of a substantial part of its
                assets, under any Debtor Relief Laws or (ii) the appointment of a receiver, trustee,
                custodian, sequestrator, conservator, liquidator, rehabilitator, or similar official for any
                Obligor or its Subsidiary or for a substantial part of its or their assets, or an order or decree
                approving or ordering any of the foregoing shall be entered;

           9.   any Obligor or its Subsidiary shall (i) voluntarily commence any proceeding or file any
                petition seeking liquidation, reorganization, conservatorship, bankruptcy, assignment for
                the benefit of creditors, moratorium, rearrangement, receivership, insolvency, or other
                relief under any Debtor Relief Laws now or hereafter in effect, (ii) consent to the institution
                of, or fail to contest in a timely and appropriate manner, any proceeding or petition
                described in clause (h) of this Section, (iii) apply for or consent to the appointment of a
                receiver, trustee, custodian, sequestrator, conservator, liquidator, rehabilitator, or similar
                official for any Obligor or its Subsidiary or for a substantial part of its assets, (iv) file an
                answer admitting the material allegations of a petition filed against it in any such
                proceeding, (v) make a general assignment for the benefit of creditors, or (vi) take any
                action for the purpose of effecting any of the foregoing; provided, however, that it shall not
                be an Event of Default if the Obligors or their Subsidiaries file the Bankruptcy Cases and
                the Interim DIP Order has been approved and entered within three Business Days after the
                Petition Date and has not, at such time been (x) stayed, vacated, reversed or rescinded, and
                any appeal of such order shall not have been timely filed and a stay of such order pending
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                 appeal shall not be presently effective or (y) without the prior written consent of the Agents
                 (at the direction of the Required Lenders), revised, amended or modified;

           10.   there is entered against any Obligor or its Subsidiary (i) one or more judgments or orders
                 for the payment of money in an aggregate amount in excess of $1,500,000 (exclusive of
                 amounts covered by insurance provided by a financially sound insurance company and for
                 which such insurer has accepted liability) or (ii) any one or more non-monetary final
                 judgments that have, or could reasonably be expected to have, individually or in the
                 aggregate, a Material Adverse Effect and, in either case, with respect to which either (A)
                 the same shall remain undischarged for a period of 30 consecutive days during which
                 execution shall not be effectively stayed (including pursuant to the Bankruptcy Code) or
                 (B) any action (if the Obligors have filed Bankruptcy Cases, that is not in violation of the
                 automatic stay applicable under Section 362 of the Bankruptcy Code) shall be legally taken
                 by a judgment creditor to attach or levy upon any assets of any Obligor or its Subsidiary or
                 otherwise enforce any such judgment;

           11.   an ERISA Event shall have occurred that, when taken together with all other ERISA Events
                 that have occurred, would reasonably be expected to result in liability of any Obligor and
                 its Subsidiaries in an aggregate amount that would have a Material Adverse Effect;

           12.   (x) any Event of Default (as defined in the Existing PropCo Credit Agreement) shall occur
                 under the Existing Credit Agreement that is not subject to a forbearance or waiver by the
                 Required Lenders under (and as defined in) the Existing PropCo Credit Agreement or (y)
                 any Event of Default (as defined in any Existing OpCo Credit Agreement) shall occur
                 under any Existing OpCo Credit Agreement that is not subject to a forbearance or waiver
                 by the Required Lenders under (and as defined in) the Existing OpCo Credit Agreement,
                 in each case, other than as a result of the filing of the Bankruptcy Cases;

           13.   a Change in Control shall occur;

           14.   the Liens created by the DIP Order (if the Obligors have filed Bankruptcy Cases) and the
                 Security Documents shall at any time not constitute a valid and perfected Liens (with the
                 priorities thereof as required under the Intercreditor Agreements) on the collateral intended
                 to be covered thereby (other than any Collateral released under Section 9.10) in favor of
                 the Collateral Agents, free and clear of all other Liens (other than Permitted OpCo
                 Encumbrances (in the case of property owned by any OpCo Obligor) or Permitted PropCo
                 Encumbrances (in the case of property owned by any PropCo Obligor)), or any of the Loan
                 Documents shall for whatever reason be terminated or cease to be in full force and effect,
                 or enforceability thereof shall be contested by any Obligor, or any Borrower or any Person
                 acting by or on behalf of any Borrower shall deny or disaffirm any Borrower’s obligations
                 under Section 10.23;

           15.   (i) any Obligor shall fail to pay Base Rent (as defined in the Master Lease Agreement)
                 when due under the Master Lease Agreement and said Base Rent remains unpaid for ten
                 (10) Business Days; (ii) any Obligor shall fail to pay any other material amount when due
                 under the Master Lease Agreement and said failure continues for thirty (30) days; or (iii)
                 any Obligor shall fail to perform any of their respective other covenants, agreements, or

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                  obligations under the Master Lease Agreement that are material to the interests of the
                  Lenders, which failure continues for thirty (30) days;

           16.    except as permitted by Section 6.03 or Section 7.03, any Obligor or any Subsidiary thereof
                  voluntarily or involuntarily dissolves or is dissolved, liquidates or is liquidated or files
                  a motion with the Bankruptcy Court seeking (or supports or consents to any Person
                  seeking) authorization to so dissolve or liquidate (including, without limitation, under
                  any Debtor Relief Law);

           17.    any of the Obligors pursues a sale under section 363 of the Bankruptcy Code or otherwise
                  for a material portion of ownership or the business of such Obligor other than pursuant to
                  the Sale Process, or any order is entered by the Bankruptcy Court approving a sale under
                  section 363 of the Bankruptcy Code or otherwise, other than a 363 Sale, without the prior
                  written consent of the Agents (at the direction of the Required Lenders);

           18.    if the Obligors have filed any of the Bankruptcy Cases, any of the following occurs:

           18.1   an order with respect to any of the Bankruptcy Cases shall be entered by the Bankruptcy
                  Court (or any of the Obligors shall file an application or motion or pleading for entry of or
                  in support of an order) (i) appointing a Chapter 7 trustee, or a Chapter 11 trustee under
                  section 1104 of the Bankruptcy Code, (ii) appointing an examiner (other than a fee
                  examiner) or receiver with enlarged powers (beyond those set forth in section 1106(a)(3)
                  and (4) of the Bankruptcy Code) relating to the operation of the business under section
                  1106(b) of the Bankruptcy Code, (iii) dismissing any of the Bankruptcy Cases or
                  converting any of the Bankruptcy Cases under section 1112 of the Bankruptcy Code or
                  otherwise to a case under chapter 7 of the Bankruptcy Code or (iv) providing for the
                  disposition without the Administrative Agent’s prior written consent of all or material
                  portion of any of the assets of any Obligor or any other Subsidiary of the Borrowers, any
                  Equity Interest of any Obligor or any other Subsidiary of the Borrowers, or any material
                  business line of the Obligors and their Subsidiaries either through a sale under section 363
                  of the Bankruptcy Code, through a confirmed plan of reorganization in the Bankruptcy
                  Cases or otherwise except (I) as permitted by this Agreement (subject to any mandatory
                  prepayment obligations) and the DIP Order; or (II) with the prior written consent of the
                  Agents (at the direction of the Required Lenders); or (III) pursuant to a transaction that
                  provides for the Full Satisfaction of all Obligations and the payment in full in cash of all
                  obligations under the Existing Credit Agreements;

           18.2   any Obligor or any Subsidiary of the Borrowers fails to comply in all respects with any
                  provision of the DIP Order;

           18.3   the period pursuant to section 1121 of the Bankruptcy Code during which the Obligors
                  have the exclusive right to file a plan of reorganization or solicit acceptance thereof expires
                  or an order shall have been entered by the Bankruptcy Court terminating or reducing such
                  period, unless such termination or reduction is consented to by the Administrative Agent
                  (or in each case any of the Obligors shall seek to, or shall support (whether by way of
                  motion or other pleadings filed with the Bankruptcy Court or any other writing executed


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                  by any Obligor) any other Person's motion to, have such an order entered, in each case
                  unless the Administrative Agent consents to such action);

           18.4   an order with respect to any of the Bankruptcy Cases shall be entered by the Bankruptcy
                  Court, or any of the Obligors or any other Subsidiary of Borrowers shall have filed or
                  supported a motion or other pleading for entry of an order, (i) to revoke, reverse, stay,
                  vacate, terminate, extend, rescind or seek reconsideration of any provision of the Cash
                  Management Order, (ii) to revoke, reverse, stay, vacate, terminate, modify, supplement or
                  amend any provision of the Interim DIP Order, the Final DIP Order or this Agreement
                  without the prior written consent of the Administrative Agent and the affected Lenders, or
                  (iii) to permit any administrative expense or any claim (now existing or hereafter arising,
                  of any kind or nature whatsoever) to have administrative priority as to any of the Obligors,
                  equal or superior to the priority of the Lenders in respect of the Obligations, subject only
                  to the Carve-Out, or (iv) to grant or permit the grant of a Lien on the Collateral (other than
                  a Permitted OpCo Encumbrance (in the case of property owned by any OpCo Obligor) or
                  a Permitted PropCo Encumbrance (in the case of property owned by any PropCo Obligor)),
                  (v) to permit charging of any of the Collateral under section 506(c) of the Bankruptcy Code
                  against the Secured Parties or the Existing Secured Parties, (vi) without the prior written
                  consent of the Required Lenders, to authorize the use of Cash Collateral under Section 363
                  of the Bankruptcy Code or to obtain financing for any of the Obligors under Section 364
                  of the Bankruptcy Code (other than the transactions contemplated by the Loan Documents
                  or any such financing that provides for the payment in full in cash of the Obligations and
                  the obligations under the Existing OpCo Credit Agreements and the Existing PropCo
                  Credit Agreement); or (vii) to take any other action or actions materially adverse to any of
                  the Secured Parties or the Existing Secured Parties or their rights and remedies hereunder
                  or under any of the Loan Documents, the Existing Credit Agreements or the DIP Order, or
                  any Secured Party’s or Existing Secured Party’s interest in any of the Collateral;

           18.5   an order shall be entered by the Bankruptcy Court confirming a plan of reorganization or
                  liquidation in any of the Bankruptcy Cases (or an order shall be entered by the Bankruptcy
                  Court approving a disclosure statement related to such plan) other than an Acceptable Plan
                  or a chapter 11 plan that contemplates the payment in full in cash of the Obligations and
                  all obligations under the Existing OpCo Credit Agreements and the Existing PropCo Credit
                  Agreement, or any of the Obligors or any of their Subsidiaries shall file, propose, support,
                  or fail to contest in good faith the filing or confirmation of such a plan;

           18.6   the Bankruptcy Court shall enter an order or orders granting relief from the automatic stay
                  applicable under section 362 of the Bankruptcy Code to a holder or holders of any Lien
                  (other than a holder or holders of a Lien ranking senior in priority to the Liens securing the
                  Loans) or a Lien on any part of the Collateral securing the Loans to permit foreclosure (or
                  the granting of a deed in lieu of foreclosure or the like) on any such Collateral or the Equity
                  Interests in any Obligor or any Subsidiary whose Equity Interest (or portion thereof) has
                  been pledged as security for the Obligations (unless constituting a sale or other disposition
                  permitted by Section 6.04 and Section 7.04) or permit any such third parties to exercise
                  other remedies that would have a Material Adverse Effect);

           18.7   any termination of the use of Cash Collateral pursuant to the DIP Order;
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           18.8   any material provision of the DIP Order shall for any reason cease to be valid or binding
                  or enforceable against any of the Obligors, or any of the Obligors or any other Subsidiary
                  of the Borrowers shall so state in writing; or any of the Obligors or any other Subsidiary of
                  Borrowers shall commence or join in any legal proceeding to contest in any manner that
                  the DIP Order constitutes a valid and enforceable agreement, or to assert that it has no
                  further obligation or liability under the DIP Order;

           18.9   any of the Obligors or any other Subsidiary of Borrowers shall seek to, join or support
                  (whether by way of motion or other pleadings filed with the Bankruptcy Court or any other
                  writing executed by any Obligor or by oral argument) any other person in seeking to: (i)
                  contest or disallow in whole or in part any of the Obligations arising under this Agreement
                  or any other Loan Document (or any such order is entered), or any Existing Credit
                  Agreement or (ii) challenge the validity, enforceability or perfection of the Liens or
                  security interests granted or confirmed herein or in the Interim DIP Order or the Final DIP
                  Order and the other Security Documents in favor of the Secured Parties or the Liens of the
                  Existing Secured Parties in respect of the Obligors’ obligations under the Existing Credit
                  Agreements;

           18.10 any of Borrowers or any of their Subsidiary shall make any payment (as adequate
                 protection or otherwise), or application for authority to pay, on account of any claim or
                 debt arising prior to the Petition Date other than payments expressly authorized by the
                 Bankruptcy Court in the Interim DIP Order, the Final DIP Order or by any other orders
                 entered by the Bankruptcy Court in amounts consistent with the Approved Budget (subject
                 to variances permitted under Section 5.11(c));

           18.11 if any Obligor is enjoined, restrained or in any way prevented by an order of a court of
                 competent jurisdiction (other than an order of the Bankruptcy Court approved by the
                 Required Lenders) from continuing to conduct all or any material part of its business or
                 affairs for a period exceeding five (5) consecutive Business Days;

           18.12 any Obligor or any other Subsidiary of Borrowers shall consolidate or combine with any
                 other Person except to the extent expressly permitted by Section 6.03 and Section 7.03 or
                 pursuant to a confirmed Acceptable Plan; or

           18.13 the Bankruptcy Court does not approve in the Interim DIP Order or Final DIP Order, as
                 applicable, or any determination is made by the Bankruptcy Court at any time, that it will
                 not approve the “roll-up” of any of the Existing Loans into Roll-Up Term Loans under this
                 Agreement in accordance with Section 2.01(b);

           19.    the resignation of the Borrowers’ interim Chief Executive Officer;

           20.    the resignation or termination of AlixPartners as financial advisor to the Company; or

           21.    the termination of an Acceptable Third Party APA (if any);

           then, in every such event (other than an event described in clause (h) or (i) of this Section 8.01),
           and at any time thereafter during the continuance of such event, the Administrative Agent may
           with the consent of the Required Lenders, and at the request of the Required Lenders shall, take
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           any or all of the following actions, at the same or different times: (i) terminate the New Term
           Loan Commitments, and thereupon the New Term Loan Commitments and obligations shall
           terminate immediately, (ii) declare the Loans then outstanding to be due and payable in whole (or
           in part, in which case any principal not so declared to be due and payable may thereafter be
           declared to be due and payable), and thereupon the principal of the Loans so declared to be due
           and payable, together with accrued interest thereon and all fees and other obligations of the
           Obligors accrued hereunder and under the other Loan Documents, shall become due and payable
           immediately, without presentment, demand, protest, notice of intent to accelerate, notice of
           acceleration or other notice of any kind, all of which are hereby waived by each Obligor, and (iii)
           subject to the provisions of the DIP Order if the Bankruptcy Cases are filed, exercise (or direct the
           relevant Collateral Agent to exercise) on behalf of the Agents and the Lenders all rights and
           remedies available to the Agents and the Lenders under the Loan Documents and applicable law;
           and, in case of any event described in clause (h) or (i) of this Section 8.01, the New Term Loan
           Commitments shall automatically terminate and the principal of the Loans then outstanding,
           together with accrued interest thereon and all fees and other obligations of the Obligors accrued
           hereunder and under the other Loan Documents, shall automatically become due and payable,
           without presentment, demand, protest, notice of intent to accelerate, notice of acceleration, or other
           notice of any kind, all of which are hereby waived by each Obligor. In addition, if any Event of
           Default shall exist, Administrative Agent may (or may direct the relevant Collateral Agent to)
           foreclose or otherwise enforce any Lien granted to the Agents (including any Lien granted in the
           DIP Order), for the benefit of the Secured Parties, to secure payment and performance of the
           Obligations in accordance with the terms of the Loan Documents and exercise any and all rights
           and remedies afforded by applicable law, by any of the Loan Documents, by equity, or otherwise.
           “Loan Documents”:

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition Bridge Credit Agreement, means, collectively, the
           Prepetition Bridge Credit Agreement, the Guaranty Agreements, the Security Documents, the
           Environmental Indemnity Agreements, all Assignments of Crop Insurance, the Fee Letters, each
           Notice of Acceptance, all Borrowing Requests, all Interest Election Requests, the Post-Closing
           Letter Agreement, the Lease Subordination Agreement, each Approved Budget, each Approved
           Budget Variance Report, the Interim DIP Order (if applicable) (and, on and after the Final DIP
           Order Date, the Final DIP Order (if applicable)) and all other documents, instruments, certificates,
           and agreements executed, delivered, or acknowledged by an Obligor (other than Organizational
           Documents) in connection with or contemplated by this Agreement.

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition PropCo Credit Agreement (as defined in the Interim Order),
           means, collectively, the Prepetition PropCo Credit Agreement, the Guaranty Agreements, the
           Security Documents, the Environmental Indemnity Agreements, the Fee Letter, the Lease
           Subordination Agreement, the Post-Closing Letter Agreement, the Intercreditor Agreements, the
           First Amendment, all Borrowing Requests, all Interest Election Requests, all Incremental Facility
           Notices, and all other documents, instruments, certificates, and agreements executed, delivered, or
           acknowledged by an Obligor (other than Organizational Documents) in connection with or
           contemplated by this Agreement.


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           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition OpCo Credit Agreement (as defined in the Interim Order),
           means, collectively, the Prepetition OpCo Credit Agreement, the Letter of Credit Documents, the
           Guaranty Agreements, the Security Documents, the Environmental Indemnity Agreements, all
           Assignments of Crop Insurance, the Fee Letter, all Borrowing Requests, all Interest Election
           Requests, all Incremental Facility Notices, the Post-Closing Letter Agreement, the Intercreditor
           Agreements, the First Amendment, all requests for the issuance of Letters of Credit, all Collateral
           Access Agreements, and all other documents, instruments, certificates, and agreements executed,
           delivered, or acknowledged by an Obligor (other than Organizational Documents) in connection
           with or contemplated by this Agreement.

           “Master Lease Agreement,” means that certain Amended and Restated Master Lease Agreement
           between Wawona, the Maverick Entities (as defined in the Prepetition Bridge Credit Agreement)
           and PropCo, dated as of September 13, 2019, as amended or supplemented prior to the Effective
           Date and as further amended or supplemented from time to time in accordance with Section 6.09
           of the Prepetition Bridge Credit Agreement.

           “Mortgages,” as defined in the Prepetition PropCo Credit Agreement, means each mortgage, deed
           to secure debt, deed of trust, and similar agreement executed by any Obligor on or after the
           Effective Date, for the benefit of the Administrative Agent and the Secured Parties, providing to
           Administrative Agent, subject to the Senior Intercreditor Agreement, a first priority Lien on the
           Mortgaged Property and the rents, leases and rights of Borrower under the Master Lease
           Agreement, in each case in form and substance reasonably satisfactory to Administrative Agent,
           including any such mortgage, deed to secure debt, deed of trust, or similar agreement delivered by
           any Obligor in connection with the Existing Credit Agreement.

           “Obligations” means all of the obligations, indebtedness and liabilities of the Obligors to the
           Lenders and Administrative Agent under this Agreement or any of the other Loan Documents,
           including principal, interest, fees, prepayment premiums (if any), expenses, reimbursements and
           indemnification obligations and other amounts, and including interests, fees and expenses that
           accrue after the Effective Date.

           “Prepetition Agents” means The Prepetition OpCo Agent and the Prepetition PropCo Agent,
           together.

           “Prepetition Bridge Agents” means the Administrative Agent, the OpCo Collateral Agent and the
           PropCo Collateral Agent.

           “Prepetition Bridge Facility” means the credit facility provided under the Prepetition Bridge
           Credit Agreement.

           “Prepetition Facilities” means, collectively, the Prepetition PropCo Facility (as defined in the
           Interim Order), the Prepetition OpCo Facility (as defined in the Interim Order), and the Prepetition
           Bridge Facility.

           “Prepetition Loans” means, collectively, the Prepetition Bridge Loans (as defined in the Interim
           Order), the Prepetition PropCo Loans, and the Prepetition OpCo Loans.

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           “Prepetition OpCo Loan Documents” means, collectively, the Prepetition OpCo Credit
           Agreements, the Prepetition OpCo Guaranty, the Prepetition OpCo Security Documents, and
           the other Loan Documents under (and as defined in) the Prepetition OpCo Credit Agreements, in
           each case, as amended, restated, supplemented, or modified.

           “Prepetition Secured Parties” means the Prepetition PropCo Secured Parties and the Prepetition
           OpCo Secured Parties, together.

           “Required Lenders”:

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition Bridge Credit Agreement, means, at any time, Lenders
           having more than 50% of the sum of the (a) total outstanding Loans at such time and (b) aggregate
           unused New Term Loan Commitments; provided the portion of the outstanding Loans and unused
           New Term Loan Commitments held, or deemed held, by any Defaulting Lender shall be excluded
           for purposes of making a determination of Required Lenders.

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition OpCo Credit Agreement, means, at any time, Lenders
           having Revolving Credit Exposures, outstanding Term Loans, and unused Commitments
           representing more than 50% of the sum of the total Revolving Credit Exposures, total outstanding
           Term Loans and unused Commitments at such time; provided that the Commitments of, and the
           portion of the Revolving Credit Exposure and outstanding Term Loans held or deemed held by,
           any Defaulting Lender shall be excluded for purposes of making a determination of Required
           Lenders.

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) Prepetition PropCo Credit Agreement, means, at any time, Lenders having
           outstanding Term Loans and unused Commitments representing more than 50% of the sum of the
           total outstanding Term Loans and unused Commitments at such time.

           “Responsible Officer” means the chief executive officer, president, chief financial officer,
           principal accounting officer, treasurer, vice president of finance or controller of any Person. Any
           document delivered hereunder that is signed by a Responsible Officer of any Person shall be
           conclusively presumed to have been authorized by all necessary corporate, partnership and/or other
           action on the part of such Person.

           “Security Documents”:

           as defined in the Prepetition Bridge Credit Agreement, means, and in each case as amended,
           restated, supplemented, or modified (and unless otherwise defined in the Interim Order or any
           Annex thereof (including this Annex 4), as defined in Prepetition Bridge Credit Agreement), (a)
           the Security Agreement, (b) the Intercreditor Agreements, (c) the Pledge Agreement, (d) from and
           after the Petition Date, the DIP Order, (e) each other agreement, instrument, mortgage, deed of
           trust or document that creates or purports to create a Lien securing the Obligations in favor of any
           of the Collateral Agents pursuant to or in connection with the Security Agreement, the Pledge
           Agreement and/or this Agreement and all UCC financing statements and fixture filings, or such
           other agreement, instrument, or document to be filed with respect to the Liens created pursuant
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           thereto and each other security agreement or other document executed and delivered on or after
           the Effective Date to secure any of the Obligations and (f) any amendments, supplements,
           modifications, renewals, restatements, replacements, consolidations, substitutions and extensions
           of any of the foregoing in accordance with their respective terms.

           as defined in the Prepetition PropCo Credit Agreement, means, in each case as amended, restated,
           supplemented, or modified (and unless otherwise defined in the Interim Order or any Annex
           thereof (including this Annex 4), as defined in Prepetition PropCo Credit Agreement), the Security
           Agreement, the Pledge Agreement, each Mortgage, the Control Agreements, and each other
           agreement, instrument, or document that creates or purports to create a Lien securing the
           Obligations in favor of Administrative Agent and all UCC financing statements and fixture filings
           required by the Security Agreement or any Mortgage, or such other agreement, instrument, or
           document to be filed with respect to the Liens created pursuant thereto and each other security
           agreement or other document executed and delivered after the Effective Date to secure any of the
           Obligations.

           as defined in the Prepetition OpCo Credit Agreement, means, in each case as amended, restated,
           supplemented, or modified (and unless otherwise defined in the Interim Order or any Annex
           thereof (including this Annex 4), as defined in Prepetition OpCo Credit Agreement), (a) the
           Security Agreement, each Mortgage, the Control Agreements, and each other agreement,
           instrument, or document that creates or purports to create a Lien securing the Obligations in favor
           of Administrative Agent pursuant to or in connection with this Agreement and all UCC financing
           statements and fixture filings required by the Security Agreement or any Mortgage, or such other
           agreement, instrument, or document to be filed with respect to the Liens created pursuant thereto
           and each other security agreement or other document executed and delivered after the Effective
           Date to secure any of the Obligations and (b) any amendments, supplements, modifications,
           renewals, restatements, replacements, consolidations, substitutions and extensions of any of the
           foregoing in accordance with their respective terms.

           “Secured Parties”:

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition OpCo Credit Agreement means the Administrative Agent,
           the Lenders, Issuing Lender, Swingline Lender, and each Bank Product Provider.

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition PropCo Credit Agreement means the Administrative
           Agent, the Lenders, and each Bank Product Provider.

           under (and unless otherwise defined in the Interim Order or any Annex thereof (including this
           Annex 4), as defined in) the Prepetition Bridge Credit Agreement means the holders of the
           Obligations from time to time and shall include (i) each Lender in respect of its Loans, (ii) the
           Administrative Agent, the Collateral Agents and the Lenders in respect of all other present and
           future obligations and liabilities of Borrowers and each Obligor of every type and description
           arising under or in connection with the Prepetition Bridge Credit Agreement or any other Loan
           Document, (iii) each indemnified party under Section 10.03 of the Prepetition Bridge Credit
           Agreement in respect of the obligations and liabilities of Borrowers to such Person hereunder and

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           under the other Loan Documents, and (iv) their respective successors and (in the case of a Lender
           and the Agents, permitted) transferees and assigns.

           “Steering Committee” or “SteerCo” means Rabobank, RBC, Compeer Financial, PCA,
           Metropolitan Life Insurance Company, and AgCountry Farm Credit Services.

           “Subsidiary Guarantors,” as defined in the Prepetition Bridge Credit Agreement, means each
           Subsidiary that has executed a Guaranty Agreement.

           “Tested Net Cash Flow” shall mean, in each case referring to the respective line item in the in the
           applicable Approved Budget, Receipts, less Total Operating Disbursements, less Debt Service less
           Debtor Restructuring Fees Reserve.

           “Variance Testing Date” means the third Friday following the Petition Date and the Friday of
           each calendar week thereafter.

           “Variance Testing Period” means the periods commencing on the first calendar day of the period
           covered by the applicable Approved Budget and ending as of any Variance Testing Date. By way
           of example: (i) the first Variance Testing Period shall cover the period commencing with the
           Petition Date through the Variance Testing Date occurring on November 3, 2023; (ii) the second
           Variance Testing Period shall cover the period commencing with the Petition Date through the
           Variance Testing Date occurring on November 10, 2023; (iii) the third Variance Testing Period
           shall cover the period commencing with the Petition Date through the Variance Testing Date
           occurring on November, 17, 2023; (iv) the fourth Variance Testing Period shall cover the period
           commencing with the Petition Date through the Variance Testing Date occurring on November 24,
           2023; (v) the fifth Variance Testing Period shall cover the period commencing with the Petition
           Date through the Variance Testing Date occurring on December 1, 2023; (vi) the sixth Variance
           Testing Period shall cover the period commencing with the Petition Date through the Variance
           Testing Date occurring on December 8, 2023; and (vii) the seventh Variance Testing Period shall
           cover the period commencing with the Petition Date through the Variance Testing Date occurring
           on December 15, 2023.




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                                     Exhibit A

                               Initial Approved Budget




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Prima Wawona
Cash Collateral Budget
$'s in 000's


  ($000s)                                                                        Q4         Q4         Q4        Q4         Q4         Q4         Q4        Q4        Q4
  Week #                                                                       Week 1     Week 2     Week 3    Week 4     Week 5     Week 6     Week 7    Week 8    Week 9
                                                            Week Beginning   10/14/2023 10/21/2023 10/28/2023 11/4/2023 11/11/2023 11/18/2023 11/25/2023 12/2/2023 12/9/2023
                                                              Week Ending    10/20/2023 10/27/2023 11/3/2023 11/10/2023 11/17/2023 11/24/2023 12/1/2023 12/8/2023 12/15/2023
  Receipts
    Total Receipts                                                               6,313        5,186      3,952       8,124     6,484     5,839     5,487     4,612     3,180

  Disbursements
    Payroll Disbursements                                                        2,465        3,067      1,379         994     1,556      699      1,881     1,081     2,005
    Operating Disbursements                                                      4,480        2,952      3,472       2,042     1,192      918      3,034     2,221     4,953
  Total Operating Disbursements                                                  6,945        6,019      4,851       3,035     2,748     1,617     4,916     3,302     6,958
      Debt Service                                                                 -            -         -           -          309      -         -         -         309
      Debtor Restructuring Fees Reserve                                            -          4,284       534         458        128      458       458       458       631
      Other Restructuring Fees                                                     305          105       105         105      1,045      105       105       105       105
    Non-Operating Disbursements                                                    305        4,389       639         563      1,482      563       563       563      1,045
  Total Disbursements                                                            7,250       10,408      5,490       3,598     4,230     2,180     5,479     3,865     8,003
  Net Cash Flow                                                                   (937)       (5,222)   (1,538)      4,525     2,254     3,659         8      747     (4,823)

  Cash Rollforward
    Beginning Cash1                                                             22,000        21,063    15,842      14,304    18,829    21,082    24,741    24,749    25,496
      Receipts                                                                   6,313         5,186     3,952       8,124     6,484     5,839     5,487     4,612     3,180
      Disbursements                                                             (7,250)      (10,408)   (5,490)     (3,598)   (4,230)   (2,180)   (5,479)   (3,865)   (8,003)
  Ending Cash                                                                   21,063        15,842    14,304      18,829    21,082    24,741    24,749    25,496    20,673

  Cumulative Net Cash Flow Subject to Variance Testing                            (632)       (5,748)   (7,181)     (2,551)     747      4,511     4,624     5,476      758

    Memo: Restructuring Fees Reserve                                               -          4,284      4,818       5,276     5,404     5,862     6,320     6,778     7,409

  Note:
   1. Week 1 beginning cash balance is estimated




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